Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 1 of 88




      Exhibit 37
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 2 of 88


                                      T H E




     STATUTES OF CALIFORNIA
                                         AND




                 AMENDMENTS TO TILE CODES,
                                    PAS8EI) AT TlE




        TWENTY-FIFTL SESSION OF TIE LEGISLA'URE,


                                   1883.

     BEGAN    ON MONDAY, JANUARY EIGIHTI, AND ENDED ON TUESDAY, MARCIH
                TI[IRTIEENTI1, EIGHTEEN HUNDRED AND EIGHTY-THREE.




                              SA CRA MENTO:
             STATE OFFICE   ... JAMES J. AYERS, SUPT. STATE PRINTING.

                                      1883.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 3 of 88

                               TWENTY-FIFTII SESSION.

          law to be elected in corporations of the class to which such
          new corporation shall belong, which election shall be held
          within six months thereafter. Such election shall be called Mti""e"'l
          and conducted in all respects in the manncr prescribed or ti,. ,oecti, .
          that may hereafter be prescribed by law for municipal elec-
          tions in corporations of such class, and shall be canvassed
          by the legislative body so calling the same, who shall
          immediately declare the result thereof, and cause the same
          to be entered Ul)On their journal. From and after the (late
          of such entry, such corporations shall be deemed to he con-
          solidated into one corporation under the name and style of
          the City and County (or City, or Town, as the case may be),
          of          (naming it), with the powers conferred or that may
          hereafter be conferred by law upon municil)al corporations
          of the class to which the same shall so belong; and the
          officers elected at such election shall be entitled immediately
          to enter upon the duties of their respective offices, upon qual1-
          ifying in accordance with law, and shall hol such offices,
          respectively, only until the next general munici)al election
          to be held in such city and county, city, or town, and until
          their successors arc elected any( qualilied. All the provi-
          sions of sections five and six of this Act shall apply to such
          corporation and to the officers thereof; provided, that no
          property within either of the former corporations so con-
          solidated, shall ever be taxed to pay any portion of any
          indebtedness of either of the other of such former corpo-
          rations contracted prior to or existing at the.date of such
          consolidation.
                                   CHAPTER I.
                MUNICIPAL CORPORATIONS OF THE FIRST CLASS.
                         (Cities ihaving a lOpulatilon of 11ore than 100,000.)

                                           ARTICLE I.
                                        GENERAL      POWERS.


             SEC. 19. Every municipal corporation of the first class rt .....
          shall be entitled the City and County of -,       or the City
          of    -   (naming it), as the case may be, and by such name
          shall have perl)etual succession, may sue and be sued in all
          Courts and places, and in all proceedings whatever; shall
          have and use a common seal, alterable at tlo pleasure of the
          city authorities, and may purchase, lease, receive, hold, an(d
          enjoy real and personal property, and control and dispose of
          the same for the common beneft.
                                          ARTICLE II.

                        (ENEILA I   PtOVISIONS     ItitIATINUt   TO   IFICE1tS.


            SiEc. 20. Thecoe shall be elected by the qualified voters of Niu"e,
          such city or city and county, at the general State election, tr,,,,or
          to be held on the first Tuesday after the first Monday of the
          month of November in each even numbered year, the follow-
          ing officers, viz.: A Mayor, Sheriff, Auditor, Tax Collector,
          Treasurer, County Clerk, Recorder, District Attorney, City,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 4 of 88

        100                           STATUTES OF CALIFORNIA,

                    or City and County, Attorney, Coroner, Surveyor Superin-
                    tendent of Streets, twelve School Directors, six Justices of
                    the Peace Public Administrator, and two Police Judges who
                    shall hold office for two years. The terms of such oicers
                    shall commence on the first Monclay after the first day of
                    January next following their election. Also, twelve Alder-
                    men, in the maier, and who shall hold office as provided
                    in section forty-one of this chapter, and twelve Assistant
                    Aldermen, who shall hold office as provided in section forty-
                    three of this cha ter.
        Whntofflio.   SEc. 21. The MNIay'or, Sheriff, County Clerk, County Recor-
        kopt oio.   der, Treasurer, District Attorney, Auditor, Tax Collector,
                    Assessor, City, or City and County, Attorney, Superintendent
                    of Streets, and Surveyor, shall keep publie offices, which
                    shall be kept open for the transaction of business every day
                    in the year except Sundays, Christmas, New Year's, Fourth of
                    July, Tlianksgiving, the twenty-second of February and on
                    any days during which a general election shall to held,
                    between the hours of nine o'clock A. At. and five o'clock i,. i.
        Manner of     SEC. 22. W1henever vacancies occur in any of the elective
        va'?,cie,.   offices of such city, or city pnd county, and provision is not
                  otherwise made in this or some other Act for filling the same,
                  the Mayor shall appoint, subject to the confirmation of the
                  Board of Aldermen, a person to discharge the duties of such
                  office until the next election, when the vacancy shall be filled
                  by election for the unexpired'term. All persons so appointed
                  shall, before entering upon their duties, take the oath of
                  office, and give bonds as required by law.
       What fee      SEC. 23. No fees or compensation to be paid out of the
        ,'d "t or treasury, other than those expressly allowed in this chapter,
                  shall be allowed or received by any officer of such city, or
                  city and county, or of any district, or' other subdivision
                  thereof; nor shall any allowance or provision be made for
                  them, or any of them, at the )ublic expense, beyond the
                  fixed compensation herein provided under the name of office
                  rent, fuel, lights, stationery, contingencies, extra services or
                  otherwise, except the compensation or percentage allowed to
                  the Tax Collector and to the Assessor in the collection of
                  poll taxes, and except that the necessary and proper books,
                  stationery, and official blanks may, at the discretion of the
                  Municipal Council, be purchased and supplied for all the
                  Courts of such city, or city and county, its officers, Municipal
                  Council, and other Boards, atd officers, the expense ic hereof,
                  when the amount in each particular case shall have been
                  previously authorized.and fixed by the Municipal Council,
                  may be paid out of the General Fund, upon demand upon
                  the treasury duly audited, as iii this chapter provided.
       gine, how     SEC. 24. All officers of such city, or city and county, must
       glv"'      before they can enter upon their oficial *duties,give' a bend
                     as required by law. The bonds and sureties of such officers
                     must be approved by the President of the Board of Alder-
                     men, Auditor, and a Judge of the Superior Court, in and for
                     such city and county, or in and for the county in which
                     such city may be situated. When the amount of such official
                     bond is not fixed by law, it shall be fixed by the Municipal
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 5 of 88

                            TWENTY-FIFTH SESSION.

         Council. No banker, residing or doing business in such city, 11ljnlsofi-
         or city and county, nor any such banker's partner, clerk, ,ee.
         employ 6 , agent, attorney, father, or brother, shall be received
         as surety for the Treasurer, Mayor, Sheriff, Auditor, or any
         officer having the collection custody, 6r disbursement of
         money. No person can be adlmitted as surety on any such
         bond, unless lie be worth, in fixed )roperty, including mort-
         gages, situated in such city or city and county, the amount
         of Tis undertaking.over anA above all slims for which he is
         already liable, or in any manner bound, whether ,s prin.
         cipal, indorser, or security, or whother such prior obligation
         or liability be conditional or absolute, liquidated or unliqui-
         dated, certain or contingent, due or to become due. All per-
         sons offered as sureties on official bonds must be examined
         on oath touching their qualifications. The official bond of
         the Auditor shallbe filed and kept in the office of the Clerk
         of such city or city and county. All other official bonds
         shall be filed and kept in the office of the Auditor; provided, B-0s,,by
         that the bonds and sureties of the Mayor must be approved ,'q,'')r'o",vd.
         by the Chairman of the House of Assistant Aldermen, Au-
         ditor, and a Judge of the Superior Court in and for such city
         and county, or in and for the county in which such city may
         be situated; and that the bonds and sureties of the Auditor
         must be approved by the President of the Board of Alder-
         men, the Chairman of the House of Assistant Aldermen
         and a Judge of the Superior Court in and for such city and
         county, or in and for the county in which such city may be
         situated.
            SEc. 25. The compensation or salary of any officer pro- co,,ie,.
         vided for in this chapter shall not be increased or reduced U011'
         after his election or during his term of office.
            SEc. 26. The salaries of the officers, clerks, deputies, or
         employ6s of such city and county, except as otherwise in this
         chapter provided, shall be as follows, and payable in monthly
         installments at the end of each and every month, viz.:
            First-The salary of the Mayor shall be four thousand         as
                                                                            anyord
         dollars pcr annum; he may appoint a clerk, to be known
         the Mayor's Clerk, whose salary shall be one thousand eight
         hundred dollars per "annum.
            Second-The salary of the Sheriff shall be six thousand             ,
         dollars per annum; he may appoint one Under Sheriff, attorneyotc.
         wliu,,. salary shall be two thousand four hundred dollars
         per annum; one bookkeeper, whose salary shall be two thou-
         sand four hundred dollars per annum; lie may appoint
         twenty-five deputies, each of whom shall receive a salary of
         one thousand six hundred dollars per annum, one of which
         said deputies shall be assigned to and perform the duties of
         assistant bookkeeper; sixteen deputies, whose salaries shall
         be one thousand five hundred doilars ger annum; one coun-
         sel, who shall be an attorney of the Supreme Court of the
         State, whose salary shall be one thousand eight hundied
          dollars per annum; one matron, whose salary shall be nine
         hundred dollars per annum; one driver of prison wagon,
          whose salary shall be nine hundred dollars per annum.
            Third-The salary of the Auditor shall be four thousand
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 6 of 88



       1U2                              STATUTES OF CALIFORNIA,

       Auditor,.,l,    dollars per amnum; he may appoint one deputy, whoso salary
       depu""e
             slihall be twenty-four hundred dollars per annum, and two
                    clerks, at a salary of one thousand six hundred dollars per
                    annum each.
       'P,~,,,r,         uLo'th-The salary of the Treasurer shall be four thousand
       I,, ,,I,, dollars per amnm; he may appoint one chief deputy, whose
                    salary shall be twenty-four hundred dollars per annum, and
                    one (el)uty, whose salary shall be two thousand one hun-
                    dred dollars per annum.
       Tax C0'         FilUrth-he salary of the Tax Collector shall be four thou-
               , t,.sand dollars per annum; he may appoint one chief deputy,
                    one cashier, each of whom shall receive itsalary of two
                    thousand dollars per ain1u1, and ten permanent deputies,
                    whose salary shall 1)e one thousand six hundred dollars per
                    annum each.
       Ae.......       Sidl--The salary of the Assessor shall be four thousand
                    dollars per annum; lie may q)oinlt one chief office deputy,
                    one chief field (eputy, and one head draughtsman, each
                    of whom shall receive a salary of two thousand dollars per
                    annum; an assistant draughtsmian, who shall receive a sal-
                    ary of eighteen hundred dollars per annum ; and eleven
                    office deputies, each of whom shall receive a salary of one
                    thousand eight hundred dollars per annum. He may also
                    appoint such additional deputies as may be allowed by the
                    Municipal Council, at salaries not to exceed live dollars per
                    day each, for such time as they may be employed.
        ,ictiordtr.    8evcnth-The salary of the Recorder shall be three thou-
           .... sand dollars per annum; he may appoint one chief deputy,
                       whose salary shall be twenty-four hundred dollars er annum,
                       and two deiuties, each of whom shall receive a sa Iary of one
                       thousand eight hundred dollars per annuim ; also, two por-
                       ters, who shall perform the duties of watchmen; each of
                       whom shall receive a salary of nine hundred dollars per
       Co,,n1ty   Eifltl -The
       ('lork, dela-             salary of the County Clerk shall be four
                          dollar.he.ma
          etc. thousand dollars per annum ; he m .al)oit deputies as
       tiem,
               follows: one chief deputy, whose salary shall be two thousand
               four hundred dollars pter annulnl; twelve Court-room clerks,
               twelve registry clerks, each of whom shall receive a salary of
               eighteen hunlred dollars per annum; twelve assistant regis-
               try clerks, each of whom shall receive a salary of one
               thousand live hundred dollars per annum ; aind twelve
               copyists, each of whom shall receive a salary of one thousand
               si.x hundred dollars per annum; and such County Clerk,
               when the exigencies of his office sh'all require, may, in his
               discretion, employ such additional copyists as shall 1)e nec-
               essary, at a compensation not to exceed three dollars per day
               for thle days of actual service; provided, said number shall
               not exceed 'atany one time three copyists for each Judge of
               the Superior Cotrt, to be paid from the treasury in the saine
               manner as the salaries herein provided for aire to l)e paid.
         l ,,
         ......     iath-The salary of the District Attorney shall be five
       At,, thousand dollars per annum ; lie may al)l)oint
                                                                   two assist-
       etc.. ants, who shall be attorneys of the Supreme Court of thi,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 7 of 88

                           TWENTY-FIFTJ[    SESSION.

        State, each of whom shall receive a salary of twenty-four
        hundred dollars per annum, and two clerks, who shall be
        attorneys of the Supreme Court of the State, each of whom
        shall receive a salary of fifteen hundred dollars per annum.
           'J'cth-The salary of the City, or City and County, Attorney, "ity ,ild
                                                                       SI   ounlty At-

        shall be four thousand dollars per annum;In    he may al)loint t.ly ,,,,
        two assistants, who shall be attorneys of tile Supreme Court ,,tits.
        of this State, each of whom shall receive a salary of twenty-
        four hundred dollars per annum; and one copyist, who shall
        receive a salary of nine hundred dollars per annum.
           Elecivfh-The salary of the Coroner shall be three thou- ",,,',,,',,,l
        sand dollars l)er annum ; he may appoint two deputies, one ,li.
        to act as first deputy, whose salary shall be one thousand
        six hundred dollars per annum, the other to act as second
        deputy, and whoso salary shall be one thousand live hun-
        dre(l (lollars per annum ; and one messenger, to take charge
        of the dead wagon, and perform such other duties as are
        required by the Coroner or his d(iCuties. The salary of the
        messenger shall he nine hundred (1ollars per annuin.
           '_lUclftli-The salary of Superintendent of Streets shall be         of
        four thousand (lolla's pier annum'; he may appoint twenty S..rt       ad
        deputies; three of said dep~uties shall receive a salary of two i,,v.
        hundred dollars per month each, and seven of said depu-
        ties shall receive a salary of one hundred and fifty dollars
        per month each, and ten of said dep~uties shall receive a
        salary of one hundred and tW'enty-five dollars per month
        each.
           Thirtcel-h-The salary of the City, or City and County,.5ire.,o,
         Surveyor, shall be four thousand dollars per amnnum; he
        may appoint as many deputies, not to exceed four, as time
        Municipal Council shall from time to time deterinilie are
        necessary, who shall receive such compensation as suchi
        Municipal Council shall provide, not to exceed the sum of
        five dollars per day when actually eml)loye(l.
           1'ourtceenth-The" salary of the Superinten(lent of Schools s,,i,p   i,,.
        shall be three thousand dollars per annui.                      sch,ol,.
           1Fflcnlth--The salary of each of the Police Judges shall
        be four thousand dollars per annum.                              .J,,dge.
           Sixtce tlh-The salary of the Prosecuting Attorney of the Ir-eiutin,
        Police Court shall Ibe twenty-four hundred dollars l]er annU m1t,..;
        and his two assistants shall each receive a salary of one
        thor, mid five hundred dollars per annum.
           Sei'ca'eeil-Thme salar'y of the Presiding Justice of the Jus-.,, ..... ce
        tices' Court shall be three thousand dollars per annum ; and tie ......
        each of the other Justices of the Peace shall receive a salary
        of two thousand four hundred dollars per annum.
           Eighleet/i-The salary of the Clerk of tile ,Justices' Court ,i, f.
        shall be two thousand four hundred (lollars per annum; his ' "t
        two deputies shall receive a salary of one thousand two
        hundred dollars per annum.
           -Ninceccth-The salary of the Collector of licenses shall Ct            .i
        be three thousand dollars per annum. lie may apptoiut
        one chief deputy, who shall receive one thousand eight
        hundred dollars'per annum, and twelve deputies, who shall
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 8 of 88

    ]U4                         STATUTES OF CALIFORNIA,

                 receive a salary of one thousand five hundred dollars per
                 annum each.
    to hoIn,ot      SEC. 27. Any officer or Commissioner of such city, or city
    e,.,,,l In and county, or any officer or member of any House, Board,
    et0.         or department of the government thereof, who shall be
                 directly or indirectly interested in, or a beneficiary or par-
                 ticipant of the profits of any contract made with or for such
                 city, or city and county, or any Board or department thereof,
                 or who shall participate in the profits made by any person or
                 persons upon services, labor, purchases, sales, subsistence,
                 supplies, materials, or any article or thing furnished to or
                 done for such city, or city and county, or any institution, pub-
                 lie work, or branch, or department of the government thereof,
                 or sold by the same, which contract, profit, purchase, sale, or
                 supply is made, or could have been made, influenced, or
                 brought about through or by means of the official action or
                 conduct of such officer, Commissioner, or member of such
                 Board, except the official salary or compensation of such
                 officer, Commissioner, or member of such Board or depart-
     ',,,lty.    ment provided expressly by law, shall be deemed guilty of
                 a felony, and, on conviction by any Court of competent juris-
                 diction, punished accordinigly. Any Commissioner, officer,
                 clerk, or other person iaving custody of or access to any bids
                 or proposals, whether scaled or otherwise, for supplying or
                 furnishing any goods, provisions, subsistence, labor, material,
                 printing, or other thing of any nature, or constructing,
                 cleaning, repairing any work or thing, or doing or furnish-
                 ing anything whatsoever to such city and county, or any
                 department, Board, Commissioner, or officer thereof, who
                 shall open or examine into any one or more of such bids
                 or proposals, or change, interline, alter, or otherwise tamper
                 witi the same, or shall purposely find out the contents
                 thereof, or who shall aid, abet, assist, or permit another so
                 to do before or in advance of the time prescribed by law for
                 the opening thereof, or any lawful 1postponement of such
                 time, shall be deemed guilty of a felony, and on conviction
                 by any Court of competent jurisdiction, shall be punished
                 accordingly.
    Q,,estions.f    SEc. 28. All questions of difterences between the officers
          .      Of such city, or city anid county, as to their relative duties,
                 may be referred by either of them to the City, or City and
                 County, Attorney, who shall examine and determine such
                 questions, and his decision shall be final as between such
                 officers.
       officers. SEc. 29. Time following officers, and the heads of the fol-
    oiiic, ,     lowing departments of such city, or city and county, shall
             report to the Municipal Council on or before the first day of
             August of each year, the condition of their respective depart-
             ments during the fiscal year ending June thirtieth, previous
             thereto, embracing all their operations and expenditures:
             Auditor, Assessor, Tax Collector, County Clerk, Superintend-
             ent of Streets, Fire Dcpar~ment, Hospital, Alnshouse, Park
             Commissioners, Treasurer, Sheriff, County Recorder, City, or
             City and County, Surveyor, License Collector, Public Schools
             Fire Alarm and Police Telegraph, Poundkeeper, Board of
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 9 of 88

                          TWENTY-FIFTH          SESSION.

       Health, City, or City and County, Attorney, Industriai _hool
       Police, Coroner, Health Officer, Justices; Court, City Hali
       Commissioners, Home for the Care of the Inebriate, Board Qf
       Election Directors, Commissioner of Elections, House of Cor-
       rection, City Cemetery, Free Public Library, and the Build-
       ing Committee of the Municipal Council. Immediately after
       the first Monday in February, the Mayor and Municipal
       Council shall make up and publish an extract from these
       several reports, and other sources, of the operations, expendi-
       tures, and condition of all departments of government of
       such city, or city and county.
                                    ARTICLE II.
                                LEGISLATIVF DEPARTMENT.

         SEC. 40.   The legislative power of such city, or city and L            .egisIMvo
                         •~~                                 €€     .
                                                                    o* .   |tt   hlow

       county, shall be vested in a body to be styled the "Munci.- .      st,.
       pal Council," which shall be composed of two Boards or
       Houses of legislation, one to be called the "Board of Alder-
       men," and the other the "House of Assistant Aldermen."
          Sic. 41. The Board of Aldermen shall consist of twelve.
                         •~~~                               .,        ~ 1,ardof
                                                                           A
                                                                           ,ldermenl',

       persons, to be elected by general ticket, from the city, or city h,,, ctd.
       and county, at large, the members of which shall hold office
       for the term of four years, to commence on the first Monday
       after the first (lay of January next following their election,
       except that of the Aldermen, who are elected at the first
       election under this chapter; the six receiving the smallest
       number of votes shall hold their office for two years only; so
       that thereafter only six shall be elected every two years. In
       case of a tie vote at such first election, the question of which
       Alderman shall hold the full and which the short term shall
       be determined between the candidates so tied by lot. The
       Aldermen shall receive each a salary of twelve hundred
       dollars a year, payable in monthly installnents, out of the
       General Fund.
          SEC. 42. The Board of Aldermen shall appoint a Secre- Secretary.
       tary, with a saltry not to exceed two hundred dollars a
       month, who shall k-eep the records of said Board. He shall
       hold office during the pleasure of the Board. He shall have
       power to administer oaths and affirmations in all cases, and
       to certify and authenticate copies of all records, papers, find
        documents in his official custody, and shall perform any
       other services required by the Board.
          SEc. 43. The House of Assistant Aldermen shall consist .Astait
       of twelve persons, to be elected every two years, one each by 'Alderme.
        the qualified electors of the respective wards, into twelve of
        which such city, or city and county, shall be divided for
       such purpose. -The Assistant Aldermen shall hold office for
        thu, terhi of two years, to commence on the first Monday after
        the first day of January next following their election, and
        shall rceiv e each a salary of twelve hundred dollars a year,
        payable monthly out of the General Fund.
          SEC. 44. The House of Assistant Aldermen may appoint Salaryof
        a clerk who shall keel) their records fnd hold office during erk.
        their pleasure. He shall have a salary not to exceed two
                     140
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 10 of 88
       1u0                             STATUTES   OF CALIFORNIA,

                     hundred dollars a month; shall have power to administer
                     oaths and affirmations and to certify and authenticate all
                     records, documents, and papers in his official custody. Ile
                     sfmll perform any other service required of him by the
                     House.
       v,1C,,,,Cy,      SEC. 45. Any vacancy occurring in either Board shall be
       how fllhd.    filled by the Mayor; and tie l erson appointed to fill such
                     vacancy shall hold office till the next election by the peo)le,
               e "   and until his successor is qualified.
        uI",,i. ll      SEc. 46. Every member of the Board of Aldermen shall
                     be a qualiied voter, at least twenty-five years of age, and
                     shall have been a citizen of the United States and of this
                     State, and a resident of such city, or city and county, for three
                     years next before his election or appointment.
       4Juif,.,-        SEc. 47. Every member of the House of Assistant Alder-
                     men shall be a qualified voter, at least twonty-five years of
                     age, shall have been a citizen of the United States and of this
                     State, and a resident of such city, or city and county, at
                     least two years, and of the ward from which lie is elected or
                     appointed at least one year next before his election or appoint-
                     ment.
                        Sic. 48. Every member of either branch of the Munici-
                     pal Council shall, at all times during his incumbency of said
                     oflice, possess the following qualifications: Ie shall not be
                     directly or indirectly interested in any contract with such
                     city, or city and county, or any department or institution
                     thereof. Ile shall not 'have been convicted of malfeasance
                     in oflice, bribery, or other corrupt )ractices or crimes. Any
                     member who fails to possess, or who shall at any time during
                     his term of office cease to possess, any of the qualifications
                     mentioned in this Act as a qualification, slall thercbv forfeit
                     his seat in the Board or House to which lie belongs, and the
                     vacancy shall be filled as in other cases. If any member of
                     either branch absent himself from the State, or neglect to
                     attend tile meeting of the Board or House to which he belongs,
                     for a period of thirty days, his office shall be declared vacant
                     by said Board, and a successor must be appointed, to hold
                     till the next election by the people, as provi(led in other
                     cases.
       "1"' of
       hioiiseS of     Sie. 49. Each Board or I-louse shall elect its own oflicers,
       Alderm,,n.    except as to the presiding oflicer of the Board of Aldermen.
                     The Mayor shall preside at all the sessions of the Board of
                     Aldermen without the right to vote. [ his absence, during
                     any session, the Board shall appoint one of its members as
                     President pro tem pore, who shall, however, have the sane
                     right to vote as otier members. Each House slhll be the
                     judge of tile election returns and qualifications of its own
                     members, and may determine the rules of its own proceed-
                     ings, except as herein provided. Each House shall 'keep a.
                     record of its acts, and allow the same to be published, and
                     tile yeas mind nays on any question shall, at thme request of any
                     mmciber, be entered on the Journal of tile House; may arrest
                     and punish by line, not exceeding live hundred dollars, or
                     imprisonment as provided by ordinance, not exceeding thirty
                     days, or both, any person not a member who shall be guilty
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 11 of 88

                           TWENTY-FIFTII SESSION.

        of disrespect to the Board or House by disorderly or con-
        temptuous behavior in its presence during its session; may
        punish its members for disorderly conduct, and, with thc
        concurrence of two thirds of all the members elect, may expel
        a member.
          Si,:c. 50. The House of Assistant Aldermen shall elect , ,,o,".
        one of their own number presiding officer of said .House,
        who shall be (lesignated as the "Chairman" thereof. A
        majority of the members of either House shall constitute a
        quorum to do business; and no regulation, resolution, ordi-
        nance, or order of either House can pass withoutthe concur-
        rence of a majority of all the members elected or appointed
        to such House; blut a smaller number may adjourn from day
        to day, and may compel the attendance of absent mnembers,
        in such manner and under such penalties as the Iouse or
        Board may provide.
           Sc. 51. All sessions, acts, and resolutions of each House
        shall be public. Neither House shall, without the consent ,uwimic.
        of the other, adjourn for more than seven days at any one
        time, nor to any other place than that in which the two
        houses may be sitting.
           Sm. 52. No member of the Municipal Council shall, during N" "",
                            .     ..             ,   .          .to        ally "lt P

        the time for which lie is elected, be eligible or appointed to ofico.
        any other office under the city, or city and county, except
        such offices as may be filled by election by the pcolple; nor
        shall any member, while such, be an employt of such city,
        or city and county, or any Board or department thereof, or
        of either branch of the Municipal Council, in any capacity
        whatever; and no compensation shall be audited or paid for
        services as such officer or employ6; and no act, ordinance, or
        resolutions shall ever be passed whereby any member of
        either House shall become the disbursing officer of such city,
        or city and county, or any Board or department thereof, or
        pay out any of its money upon any pretense whatever.
           ,Ec. 53. No member'of the Municipal Council, or of the 1,1,,lta,,,,s
                                                                        ... ntdeth.
        Board of Education, or any ollicer of such city, or city and
        coluny, or of any ward thereof, slall have any power to
        contract any debt or liability whatsoever against such city, or
        city and county, nor shall 'the people, or taxpayers, or any
        property therein, ever be liable to be assessed for, or on
        account of any debt or liability hereafter contracted, or
        attempted to be contracted, in contravention of this chapter.
         Smc. 54. The Municipal Council slall appoint a joint co-i,,           e.
        mittee of five, three from the Board of Aldermen, and twvo
        from the House of Assistant .Aldermen, to be delolninated
        the "Finance Committee," which committee may, at any
        time, and slall, whenever required by the Municipal Council
        or either branch thereof, investigate the transactions and
        accounts of any andtall officers appertaining to the govern-
        ment of such city, or city and county, having the collection,
        custody, or disbursemenit of public money, or having the
        power to approve, allow, or audit demands'on the reasurer,
        and report thereon to tle Municipl Council. Said commit-
        tee shall have full powr to send for all persons aild pal)ers,
        and enter into, examine, inquire, and investigate all offices
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 12 of 88


       108                              *STATUTES OF CALIFORNIA,

                       and places, to administer oaths and affirmations, to examine
                       witnesses, and compel their attendance by subpoena and
                       attachment for contempt, and the production of records,
                       books, and papers, and may imprison in the city or county
                       jail any person refusing to appear or testify, as well as any
                       officer or person failing or refusing obedienice to the orders to
                       show records, papers, or books, or to testify when required so
                       to do. The Sieriff or any 1oliceman of such city, or city
                       and county, shall enforce all orders of said committee, and
                       attend upon it in like manner as upon Courts of record. The
                       Mayor may be present and participate in such investigations.
                          SEC. 55. The Municipal Council shall meet on the first
             1
       ¢'c  :'"        Monday after the first day of January, and on the first Mon-
       811,1,,,leet.   days of April, July, and October, of each year, and at such
                    other times as required by law, and may be specially con-
                    voked by the Mayor as herein provided.
         'a-ngo of    SFc. 56. No ordinance shall be passed except by bill, and
                    no bill shall be so amended in its passage as to change its
                    original object. 'Nobill shall contain more than one subject,
                    which shall be expressed by its title. On the final passage
                    of all bills the vote shall be by "yeas" and "nays" upon each
                    bill, separately, and the names of the members voting for and
                    against the same shall be entered on the Journal. Bills may
                    originate in cit--r House, and no bill shall be passed by
                    either I-louse except by a majority vote of all the members
                    elected or appointed to either House.
       Ae,1%.          SEC. 57. No amendments to bills by either House shall be
       corcur , in concurred in by the other except by a vote of a majority of
                    all the members elected or appointed thereto, taken by yeas
                    and nays, and the names of those voting for and against
                    recorded upon the Jou'nal thereof; and reports of commit-
                    tees of conference shall be adopted by either House only by
                    the voe of a majority of all the members elected thereto,
                    taken by "yeas" and "nays," and the names of those voting
                    recorded upon the Journals.
       Ite,,,mcting    SEC. 58. No ordinance shall be revived, reenacted, or
         ( umiece " amended, by mere reference to its title, but such ordinance
                    or section shall set forth at length, as if it revived, reenacted,
                    or amended.
           otiodr.     SEC. 59. When a bill is put upon its final passage     in either
        ttiOH.      house,   and failing to pass, a motion is made to reconsider the
                       vote 5y which it was defeated, the vote upon such motion to
                       reconsider shall be taken up, and the subject finally dis)osed
                       of at the next meeting of the Council, unless such House,
                       by a two-third vote, decides to act upon such reconsideration
                       at the same meeting.
                         SEC. 60. No bill shall become an ordinance
                       shall have been signed by the presiding officer until the same
       signt,
       1,115                                                            of each of the
                       two Houses in open session, in authentication of its adoption
                       by such House. In signing such bill for authentication, the
                       presiding officer shall call the attention of the House to the
                       bill, and that he is about to sign it, and if any member
                       request, the bill shall be read at length for information as
                       to its correctness as enrolled. If any member object that the
                       bill is not the same in substance and form as when consid-
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 13 of 88

                            TWENTY-FIFTH SESSION.

         ered and passed by the House, such objection shall be passed
         upon, and, if sustained, the presiding officer shall withhold
         his signature, and the bill shall then be corrected,and finally
         disposed of, and signed, before the House proceeds to any
         other business.
            SEC. 61. No general appropriation Act, or authorization, .,rori-
         shall ever be passed, but all appropriations shall be for the
         specific amount of the claim to be paid, and no more; and
         each ordinance or resolution, authorizing the payment of
         money, shall contain one claim only, which shall be expressed
         in the title. Every ordinance or resolution of the Municipal
         Council providing for any specific im provement, the granting
         of any privilege, or involving the lease or appropriation of
         public property, or the expenditures of public moneys,
         except for sums less than five hundred dollars, or levying
         tax, or assessment, and every ordinance or resolution imnpos-
         ing a ne1 duty .or penalty, shall, after its introduction in
         either House, be published, with the "yeas" and "nays " in ,,hll',t,,.
         the neowspaper doing the city and county printing, at least
         five successive days before final action upon the same by the
         House in which it was introduced; and in case such ordi-
         nance or resolution shall be amended before final passage in
         said House, then the bill, as amended, shall be so )ublished,
         in the same manner, before final action by such House there-
         on; and every such ordinance, after the same shall have passed
         both Houses, shall, before it takes effect, be presented to the
         Mayor for his approval. If lie approves, lie shall sign it; if .I~ro,,,.
         not, lie shall return it within tell lays to the House in which
          the same originated, with his objections in writing. Said
          House shall then enter the objections on the journal, and
          publish them in the newspaper doing the city printing. At
          the next stated meeting thereafter said House shall proceed to
          reconsider such bill. If, after such reconsideration, it again
         passes both Houses by the votes of nine of the members
          elected orap pointed to each House voting therefor, it shall
          become a law, notwithstanding the Mayor's objections.
          Should any such ordinance or resolution not be returned by
          the Mayor within tell days after he receives it, it shall become
          valid, the same as if it had received his signature. Where
          a claim against the treasury amounts to more than five hun-
          dred dollars, it shall not be lawful to divide or break up the
          same into several sums of less than that amount so as to
          evade the provisions of this section concerning claims; and
          any effort or attempt to accomplish such unlawful division,
          or breaking up a claim, shall be deemed, as to every mnem-
          ber of the Municipal Council or other officer consenting
          thereto, or aiding the same, a misdemeanor in office, anI
         be cause for his removal. All ordinances authorizing the lf,,,,.,t
         payment of any mnoney out of the treasury, or any claim c,,,,tt .
         thereon, shall be referred to the appropriate standing com-
         mittee of the House where the bill is introduced, who shall
         present the same to the Auditor, in order that lie may certify
         that there is sufficient money in the proper fund out of
         which such claim can lawfully be paid, anid that such
         appropriation can be made without violating the provisions
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 14 of 88


       lu                          STATUTES OF CALIFORNIA,

                  of this chapter; and until the Auditor certifies in writing,
                  signed by his name, that there is sufficient money in the
                  proper fund, and that the authorization can be made with-
                  out violating the provisions of this chapter, no further pro.
                  ceodings shall be had with such bill. It shall be tho (uty
                  of the Auditor, with reasonable promptness, to ascertain the
                  facts, and to give the certificate when the facts warrant him
                  in doing so, and not otherwise.
       P'owers.     SEC. 62. The powers of the Municipal Council, and all
                  other Boards, Commissioners, and officers, are those specially
                  named inl this chapter, and they are prohibited from exer-
                  cising any other.
       ,fi,,,.       Sic. 63. The enacting clause of ordinances shall be in
                  the following terms: " The Municipal Council of the City
                  and County of          , or City of  -,   (as the case may be),
                  hereby ordains as follows."
       I',,,t,,,     SEC. 64. The Municipal Council shall further have power
       j","""r'.    y regulation or ordinance:
       selling ad    First-To provide for the security, custody, and admninis-
       a,,        tration of all property of such city, or city and county, and
                  to purchase land required for mnunicipal purposes without
                  any power to sell or incumber the same, or lease any part
                  thereof for more than three years; except, however, that
                  such personal property belonging to the fire, street, or other
                  departments, as they deem unsuited to the uses and lur-
                  poses for which the same was designed, or so much worn
                  and dilapidated as not to be worth repairing, may be sold or
                  exchanged.
       oU,,,I,,g     Sccond-To provide for cases omitted in this chapter, and
                  in conformity with the principles adopted in it, for opening,
                  altering, extending, constructing, repairing, or otherwise
                  improving public streets and highways at the expense of
                  the property benefited thereby, without any recourse in any
                  event upon such city, or city and county, or the public
                  treasury, for any portion of the expense of such work, or any
                  delinquency of the property holders or owners.
        treets.      Third-To provide for lighting the streets. But no con-
                  tract for lighting streets or public buildings shall ever be
                  made for more than one year in duration- nor shall any
                  contract to pay more for gas or other illuminating material
                  than is legally charged to ordinary consumers, or than the
                  usual market rates, be valid.
       'T'opovlhe    lrth-To provide water for all municipal purposes, and
       ma.te.r.   to pay for the same where lawful and necessary. In cas6
                  water is supplied to such city, or city and county, for munic-
                  ipal purposes, any person, corporation, or association holding
                  a vlid franchise under the laws of this State to collect
                  water rates for the use of water, then such city, or city and
                  county, when it is lawful and necessary, shall pay the lawful
                  rates, and no more, as established each year for water sup-
                   )lied for other than municipal purposes; and it slall not be
                  lawful to make any special contract with such person, cor-
                  poration, or association for water so as to vary from the rates
                  fixed by law.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 15 of 88

                          TWENTY-FIFTII SESSION.

           Fifth-To regulate market houses and market places.             'V
                                                                           ,,,,,,
           Sixth-To )rovide for inclosing, improving, and regulating ,,.
        all public grounds of such city, or city and county.
           Seventh-To prohlbit the erection of wooden builngs or
        structures within any fixed limits where the streets havo fire,it,,
        been established and graded, or ordered to be graded, or to t
        restrict and limit the height of such buildings or structures;
        to regulate the sale, storage, and use of gunpowder, and to
        restrict the limits within which may be manufactured or
        kept giant powder, dynamite, nitro-glycerine, or other
        explosive or combustible materials and substances, and
        the maintenance of acd works; and make all useful
        regulations in relation to the manufacture, storage, and
        transportation of all such substances, and the nainte-
        nance of acid works, slaughter houses, brick burning,
        tanneries, and all other manufactures and works of every
        description that may jeopardize the public safety, and to
        exclude them from the city, or city and county, when neces-
        sary, or to restrict them, or any of them, to t district. To
        mako all necessary regulations for protection against fire, as
        well as such rules and regulations concerning the erection
        and use of buildings as may be necessary for the safety of the
        inhabitants.
           Eighth-To permit the laying down of railroad tracks and lw,,,,t
        the running of cars thereon along any, street, or portion of , nwwi
        street, for the sole purpiose of excavating and filling in a ......
        street, or a portion of a street, or adjoining lots, and for such
        limited time as may be necessary for the purpose aforesaid,
        and no longer.
           Ninth-To determine the fines, forfeitures, and penalties i-"xI-,1,,
        that shall be incurred for the breach of regulations estab- ....
        lished by the said Municipal Council, and also for a violation
        of the provisions of this chapter, where no penalty is attixed
        thereto or provided by law; but no penalty to be imposed shall
        exceed the amount of one thousand dollars, or six months
        imprisonment, or both. And every violation of any lawful
        order or regulation, or ordinances of the Municipal Council,
        is hereby declared a misdemeanor or public offense, and all
        prosecutions for the same shall be in the nanie of the people
        of the State of California.
           Tenh-To regulate and provide for the employment of £ii"'Io"
        l)risoners sentenced to labor on the public works of such city, o,,,.
        or city and county, and to maintain and regulate city, or
        city and county, jails and prisons, with manufacturing or
        other laboring establishments or al)l)liances connected there-
        with.
           Elleventh-To provide a suitable office and jury room, and To i,',ho
        dead house or morgue, with the furniture necessary to enable ofl.....
        the Coroner to etticiently discharge the duties of his office,
        and to make the necessary aplpropriation therefor; and to
        audit and pay for the necessary expenses of maintaining the
        morgue and offices attached, such sum as may be necessary,
        not to exceed seventy-five dollars per month, out of the Gen-
        eral Fund.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 16 of 88

        112                         STATUTES OF CALIFORNIA,
         log, "ato     velfth-To maintain and regulate a Home of the Inebri-
        iio,,ioe. ate, in its discretion.
        City pron,.  Thirteenth-To provide and maintain a city prison.
        Iinjrovoe    Fourteeth-To maintain and improve the city cemeteries,
                  and to pay out of the General Fund a keeper thereof, to be
                  appointed by the Board of Health, at a salary not to exceed
                  one hundred dollars a month.
        HO,,        Fifteenlh-To license and regulate hackney carriages and
                  other public passenger vehicles,' and to fix the rates to be
                  charged for the transportation of persons, baggage, goods,
                  merchandise, and property, or either thereon; and to license
                  and regulate all vehicles used for the conveyance of mer-
                  cbandise, eartb, aid ballast, or either; and also to license and
                  regulate persons and parties employed in conveying baggage,
                  property, and merchandise, or either, to or from any of the
                  wharves, slips, bulkheads, or railroad stations, within the
                  limits of such city, or city and county; to fix and establish
                  the amount of every license paid into the city, or city and
                  county, treasury for city, or city and county, purposes; to pro-
                  vide for the summary removal and disposition of any or all
                  vehicles found in the streets, highways, and public squares
                  during certain hours of the day or night, to be designated by
                  the Council; and in addition to all other remedies, to pro-
                  vide, by regulation, for the sale or other disposition of such
                  vehicles; to protect the public from injury by runaways, by
                  punishing persons who negligently leave horses or carriages
                  in the street; to prescribe the width of the tires of all drays
                  trucks, and carts, in accordance with the weight to be carried
                  thereby, for the preservation of the streets and highways.
        HeesN.t     Sixtecn th-To regulate, license, and control the business of
                  keeping intelligence offices, prescribe the method of conduct-
                  ing said business, and to enforce, by fines and penalties, the
                  payment of the license, and any violation of the regulation
                  touching said business. To license and regulate pawnbro-
                  kers and to enact regulations to protect the public in dealing
                  with them.'
        Fix foo.     Sevententh-To fix the fees and charges to be collected by
                  the Surveyor of such city, or city and county, for certificates
                  of surveys for buildings or other purposes, and to provide
                  for a sufficient corps of deputy surveyors to perform such
                  work, to be paid friom such fees only; aiso to regulate the fees
                  to be charged by the Superintendent of Streets, the County
                  Recorder, and any and all other municipal officers where
                  their fees are not otherwise fixed by law, and compel the
                  payment of all such fees and charges into the city and county
                  treasury into the proper fund, in accordance with the provi-
                  sions of this Act.
         etio,"oor Eighteih-To license and regulate, for the purposes of
        crtit,    city, or city and county, revenue, all such call ings, trades, and
         1101y.    .mployments as the public good may require to be licensed
                 and regulated, and as are not prohibited by law; to provide
                 for and enforce, with penalties, or otherwise, the collection
                 and due payment into the city, or city and county, treasury
                 of all moneys so due or raised, and to make all needful rules
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 17 of 88


                            TWENTY-FIFTII SESSION.

         and regulations to govern the official conduct and duties of
         the Collector of Licenses.
           Nineteenth-To provide and pay for the construitien and C.,tr,,tio.,
         repair of hydrants, fireplugs, cisterns, and pumps in the of,,ydful,.
         streets.
            Twvcntith-To allow and order paid out of the General P"y    lot
         Fund a sum not to exceed three thousand dollars in any
         year, for the celebration in such city, or city and county, of
         the anniversary of our National Independence.
           Thenty-first-To allow and order paid out of the General          e .tioj
         Fund for the election expenses of such city, or city and .
         county not to exceed forty dollars for each election precinct
         for each election in said city, or city and county.
           Twenty-second-To provide ways and means for the prose- Prosocuto
                                                                         ....
         cution of the claim s of such city, or city and county, to any
                                                                        '""
         land or other prol)erty or right claimed by such municipality.
           Twventy-third-jo provide for the appointment by the Apol"it
         Mayor of a Weigher of Coal, without salary, and to regulate c-a,.
         and define his duties, and establish rates of charges to be
         collected from persons requiring his services, and for his
         compensation from such rates and charges alone, and with
         no claim upon such city, or city and county.
            'Tventy-fourth-To authorize and direct the summary al)ate- AI-ittnlent
         ment of nuisances; to make aill regulations which iay beOf ,Inces.
         necessary or expedient for the preservation of the public
         health and the prevention of contagious diseases; to provide
         fines and penalties against inlividuals who may be guilty of
         maintaining any nuisances, and enforcing the same until
         such nuisance be removed orabated; to provide by regulation
         for the prevention and summary removal of all nuisances
         and obstructions in the streets, alleys, highways, and public
         grounds of such city, or city and county, and to prevent or
         regulate the running at large of dogs, and to authorize the
         destruction of the same when at large contrary to ordinance.
            Tivcdty-fifth-To prohibit, suppress, regulate, or exclude litgI,,to
                                                                              t or
                                                                       I'lohil.
         from certain limits all houses of ill-fame, prostitution, and h,,,....r
         gaming; to prohibit, suppress, regulate, or exclude from cer-
         tain limits all occupations, houses, places, pastimes, amuse-
         ments, exhibitions, and practices which are against good
         morals, contrary to public order and decency, or dangerous
         to the public safety.
            D enly-sixth-To require, by ordinance, all contractors for ,,,t'"
         street work, or other persons lawfully undertaking to improve, ,,,,ti'v
                                                                               ,ork.
         grade, or alter streets or public highways, to erect fences or
         barriers, to keep lights at night, and to take other necessary
         precautions to protect the public from damage, loss, or acci-
         dent by reason of such grading, alteration, or improvement,
         and to fix and prescribe penalties for the violation of the
         provisions of such ordinance.
                                                                            kov'i|,
            'lventy-seventh-To provide for the safe keeping and dispo- of.,,ro
                                                                          lost
         sition of lost, stolen, or unclaimed property of every kind, po,,,,y.
         which may at any time be in the possession or under the
         control of the police of such city, or city and county.
            'Dventy-eighth-To regulate, and, when necessary, to sup-
                    15°
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 18 of 88

       114                              STATUTES OF CALIFORNIA,
       S,,pro     press all public demonstrations and processions which inter-
        ubic dema
                  fore with public traffic.
       ,,,tIti,..s.
       Roegu tl,,  lven   ty-ninth-To appoint a Fire Marshal. Such appoint-
        o       m    oet shall be made on the nomination of the Board of Fire
                      Underwriters of such city, or city and county, if such Board
                      shall exist therein. If more than one such Board shall exist
                      therein, then upon the nomination of the Board which shall
                      have been longest organized. His salary shall be fixed and
                      paid by such Board of Fire Underwriters. Such Fire Mali-
                      shal shall, before entering upon the office, take and subscribo
                      the oath of office, and execute a bond to the State of Cali-
                      fornia in the sum of five thousand dollars, with two or more
                      sureties, to be approved by a Judge of the Superior Court, for
                      the faithful discharge of his duties. Any person aggrieved
                      by any misconduct of such Marshal, or his deputy, may
                      bring an action in his own name upon such official bond,
                      which bond shall be filed in the oflice of the County Clerk.
                      It shall be the duty of such Fire Marshal to attend all fires
                      which may occur in such city, or city and county, with a
                      badge of office conspicuously displayed.          le shall take
                      charge of and protect all property which may be imperiled
                      at any such fire, and safely keel) the same under his posses-
                      sion and control until satisfactory proof of ownership be
                      made thereto; and shall, as far as practicable, prevent such
                      1 )roperty from being injured at such fire, and direct, when
                      in his opinion it shall be necessary, the removal of goods,
                      merchandise, and other property, to a place of safety. He
                      shall be authorized and empowered to exercise the functions
                      of a peace officer of such city, or city and county. Any per-
                      son who shall willfully hinder or obstruct such officer in the
                      lawful discharge of his duties, shall be deemed guilty of a
                      misdemeanor; provided, however, that nothing heroin con-
                      tained slall be so construed as to authorize such Fire Mar-
                      shal to interfere in any manner with the proper discharge of
                      the lawful duties and authority of any Chief Engineer of any
                      fire department of such city and county. It shall be the duty
                      of such Fire Marshal to institute investigations into the cause
                      of such fires as occur in such city, or city and county; and
                      for this purpose he shall have power to issue subponas and
                      administer oaths, and coml)el the attendance of witnesses
                      before him by attachment or otherwise. All subponas issued
                      by him shall be in such form as lie may prescribe, and shall
                      be directed to and served by any police officer, or by any peace
                      oflicer of such city, or city and county. Any witness who
                      refuses to attend or testify in obedience to such ;ublma, shall
                      be deemed guilty of contempt, and 1)e punisable by him as
                      in cases of contempt in Justices' Courts in civil cases. ie
                      shall make a written report of the testimony to the District
                      Attorney, and institute criminal prosecutions in all cases in
                      which there appears to him to be a reasonable and probable
                      cause for believing that a fire has been caused by design.
                      It shall be the duty of such Fire Marshal to aid in the
                      enforcement of the liire ordinances of such city, or city and
                      county, and for this purpose le is duly authorized to visit
                      and exaniine all buildings in process of erection or under-
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 19 of 88

                             TWENTY-FIFT11 SESSION.

         going repairs, and to institute prosecutions for all violations Jg.,Itl,,,
         of the ordinances of such city, or city and county, w1hich relate '
         to the erection, alteration, or repairs of buildings, and for the
         prevwition of fires. ie shall exercise such additional pow-
         ers as mnay be conferred upon him by the ordinances of such
         city, or city and county, to enable him fully to carry out the
         object and purpose of his appointment, and(for the lrevention
         of fires. 11c shall have power to appoint a deputy, who may
         exercise all the powers and perform all the duties of such
         Marshal. The salary of such deputy shall be paid in the same
         manner as the Fire Marshal. Any personi who saves from
         fire, or from a building endangered by fire, any property, and
         who willfully neglects for two days to give notice to sifeh Fire
         Marshal, or to the owner of such property, of his possession
         thereof, shall be deemed guilty of granld or petty larceny, as
         the case may be, according to the value of said prol)erty;
         and any person who shall be guilty of false swearing in any
         investigation under this subdivision, shall be deemed guilty
         of perjury, and, upon conviction thereof shall le punished
         therefor as in other cases of perjury. Such Fire Marshal
         may be removed at any time by the same power or powers
         that appointed him. And in case of the removal, resigna-
         tion, or death of such Fire- Marshal, his successor shall be
         appointed in the same manner as hereinbefore provided.
         Such Fire Marshal is hereby authorized and empowered to
         appoint one or more persons, during the time of fire, for the
         purpose of saving and protecting property at such tire, and
         until it shall be delivered to the oWner or claimant thereof,
         and such person or persons so appointed shall have, during
         such period, the authority and power of a policerian of such
         city, or city and county, and shall lie known as the Fire
         Marshal's Police; and each of such persons shall wear, while
         in the discharge of his duty, conspicuously displayed on
         his person, such badge or device as such Fire Marshal shall
         designate. No person slall be entitled to any property in
         the hands of such Fire Marshal, saved from fire, until sat-
         isfactory proof of ownership be made, and until the actual
         expenses incurred by such officer for the p)reservation and
         keeping of the same shall be paid to him by the owner or
         claimant of said property; and in case of dispute as to the
         amount of such expenses, said dispiute to be determined by
         the Justices' Court of such city, or city and county. Such
         Fire Marshal is lhereby duly authorizel and empowivered to
         hold and sell, or cause to be sold, at 1 ublic auction, all prop-
         erty in his possession, saved from it fire or fires, for which
         no owner can be found, after advertising the same in two
         daily newspapers published in such city, or city and county,
         for the perlod of thirty days; provided, howcuvr, that if, upon
         application of such Fire Marshal to the Police Judge it shiall
         ap)ear that such 1property is perishable, such Judge may
         order such Fire Marshal to make sale thereof lpoan sucll
         notice as in the olinion of such Judge may be reasonable.
         The proceeds of all such sales, together with an account
         thereof, after deducting all expenses, shall be by lhin depos-
         ited with the Treasurer of such city, or city and county, to
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 20 of 88


        116                                STATUTES OF CALIFORNIA,

                         be lheld by such Treasurer, subject to the claim of the owner
                         of such property. Such Fire Marshal shall, from time to
                         tine, file with the Clerk of such city, or city and county.
                         under oath, a statement and description of all property in
                          iis possession, or under his control and sold by hii, togetier
                         with the amount of money by hiin deposited with tie Treas-
                         urer of such city, or city and county.
        fireirm.            '1'hiridtl--Tomaintain a fire alarn and police telegraph
        fir,     dlll,   in such city, or city and county.
        t1i1tIng of         Vvirty.-i st-To require the owners of lots to prevent sand
        bilil.           from drifting, being blown, or otherwise moved therefroi,
                         into or deposited upon any paved, llanked, or nacadanized
                         street, alley, place, park, thoroughfare, or other public prop-
                         erty, and to enforce all such regulations by sufficient fines
        , t,,,,t,,1,,    and penalties.
        i,1 of              Thiry-secovd-To maintain, regulate, govern, manage, and
        turrect,,o.      carry on a House of Correction, and to utilize therein and
                         thereby the lilbor of till prisoners connitted to the jail or
                         House of Correction of such city, or city and county, by the
                         Police Courts and the Superior Courts; to prescribe rules of
                         conmmitnent and detention of prisoners, hours of labor,
                         and all necessary rules, regulations, and restrictions, for
                         the proper operation of said institution. All prisoners sen-
                         tenced to a term in the County Jail, or House of Correction,
                         shall be decemed to have been sentenced to labor during such
                         term. The Judges of Police Courts and of the Superior
                         Courts, in such city, or city and county, may sentence crim-
                         inals to the House of Correction w hen, in the judgment of
                         such Judge, the criininal is too young to be sentenced to the
                         State Prison, or when it is deelned better for the well being
                         of the )risoner. No person slall be sentenced to imprison-
                         ment in the house of Correction for a shorter or longer
                         term than that for which lie might be sentenced in the
                         jail of such city, or city and county or in the State Prison;
                         and in no case whatever for a shorter term than three
                         months nor for a longer term than three years. No person
                         who might be sentenced to iml)risonmlit in the State Prison,
                         shall be sentenced to imprisonment in the House of Correc-
                         tion if lie is more than twenty-live years of age, if lie hasbeen
                         once before convicted of a feloiy, or, twice before convicted of
                         petit larceny, nor unless, in the opinion of the Court, impris-
                         onment in the House of Correction will be more for his inter-
                         est than imprisonnent in the State Prison, and equally for
                         the interest of the l) lic. The fact of a previous conviction
                          nay be found by the Court. upon evidence introduced at the
                         time of sentence. The Board of Aldermen of the city or
                         city and county, shall appoint a competent Superinte4ient
                         of the House of Correction of such city and county, who
                         slall also be Treasurer of said house of Correction, and who
                         shall give good and sufficient bonds, in it sum, and with
                         sureties, to be approved by said Board of Aldernen, for the
                         faithful discharge of his duties, and to whom shall be paid a
                         salary, to be fixed by them, not to exceed two hundred and
                         fifty dollars per month, payable montlhly. Said Superin-
                         tendent sliall only be removed for just and sufficient legal
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 21 of 88

                           TWEN PY-FIFTII SESSION.


         cause, after a fair and inpartial investigation of his case by .,,,,,
         said Board of Aldermen. He shall, immediately after his ',r.c,,.
         a)pointment, and when authorized by said Board of Alder-
         men, appoint, subject to the approval thereof, such subordi-
         nates as may be deemed necessary by the Board of Aldermen;
         and the pay of such slborlinates shall be fixed 1my said
         Board of Aldermen, not exceeding one hundred dolhrs per
         month to each party so al)pointe(l. The Superintendent shall
         manage the general interests of the institution; see that its
         affairs are conducted in accordance with the requirements of
         this chapter atnd of such bylaws as the Board of Aldermen
         may from time to time adol)t for the orderly and economical
         management of its concerns; to see that strict discipline is
         maintained therein; to provide emlployment for the inmates;
         adjust and certify ill claims against the institution. And
         all bylaws made hy said Boarl of Aldermen for the manage-
         mnent of said institution, and not contr ry to the laws of this
         State, shall le binding, in all respects, upon said Superin-
         tendent, ofhicers, and inmates; and said SuperiI itemidentsIal1
         each year prepare and submit, under oath, to the Board of
         Aldermen, a report of the concerns of said institution. The
         Sul erintenmdent shall reside at the ouse of Correction, have
         charge of its inmates and lroperty, and le its Treasurer; keep
         accounts of all his receipts and expenditures, and of all such
           )rol)erty, and account in such manner as the said Municipal
          Council may require, and hold all books in1( papers open
          to their inspection.
             Tlrirl-third-To maintain and regulate nn Industrial Wh"w" n'it
          School for tie detention, management, reformation, educa- ,',
          tion, and maintenance of such children, under thw age of
          eighteen years, as shall be committed or surrendered thereto
          by the Courts of such city, or city and county, as v-1granlts,
          living an idle or dissolute life, or who shall be convicted by
          the Police or Superior Court of any crime or misdemeanor,
          or who, being tried for any crime or misdemeanor in such
          Court, shall be found to be under fourteen years of age, and
          to have done an act which, if (lone by a person of full age,
          would be a crime or misdemeanor; and said Council is
          em*powered to regulate tie commitment, detention, and
          discharge of such children,       (ndto designate and I)rescribe
          the causes, terns, and conditions thereof; and the said Police
          Court and Superior Court shall have power to ahjudge that
          such persons so convicted shall be so iml)risone; and per-
          sois s0 convicted shall remain at said I ndustrial School until
          le or she shIll attain majority, unless a shorter time shall be
          fixed by said Court in the commitment. Such ehildren shall
          be kept at such employments and be instructed in such
          branchies of useful knowledge as may be suitable to their age
          andt capacity. The Municipal Council may )rovide for bind-
          ing out such children as apprentices during their minority,
           tolearn proper trades and emploilentcts. There shall be a
          Superintdnent of said Industrial 'School, to be appointed by
           the Board of Aldermen. lie shall be deenmed a public otieer,
           whose salary shall not exceed two humired and ifty dollars
           per month, and such other elnlloy6s as may be necessary,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 22 of 88


      118                            STATUTES OF CALIFORNIA,

                    with salary not to exceed ce hundred dollars per month
                    each. Such Police and Superor Court, or either of .thmci,
                    upon the application of the Board of Aldermen, and upon its
                    certificate that it is expedient to do so, shall have power to
                    discharge any child committed to said Industrial School, and
                    who is not bound out as an ap rentice, or adopted, and may
                    in like manner discharge suci child upon the application
                    in writing of the parents or guardian of such child, who shalf
                    not have been bound out or adopted, and after ten days
                    notice, in writing, to the Board of Aldermen, if, upon the
                    hearing of the application,'such Police Court or Superior
                    Court shall consider that such discharge is expedient.
      Mi,n,,tail,     Thirty i'tha-To establish and maintain an Alshouse,
      t..           a City and County Hospital, a Smallpox Hospital, and such
                    other institutions of the same character as are or may be
                  necessary, and to perpetuate such institutions as may have
                  been heretofore established in such cities, or cities and coun-
                  ties, heretofore incorporated.
      P,,ent of '     Trthi-fifth-To order paid out of tie General Fund any
                  final ju(gmnent against such city, or city and county.
      1,,i.ic,        Tb irlt-sixth-To mnaintain, regulate, and govern a Public
      Ioit'""     Pound, fix the limits within which animals shall not run
                  tit large, anl appoint Poundkeepers, who siall be paid for
                  out of the tines imposed and collected of the owners of
                  imnpounded animals, and from no other source.
      1,1141tof-      ThirtIj-seventh-To allow and order paid out of the Street
      waterfront. Department Fund such sums as may be deemed necessary
                  for improvement of streets bordering on the water front,
                  and iml)rovement of sewers and streets in front of public
                  p~roperty.
       l,,rial of     Thirify-eiqhth-To allow and order paid out of the General
      indigent
      , ,.ti
      1
                  Fund such sums as may be necessary for burying the indi-
                     gent dead.
      Pay ofsp-
      C1111
                            ;Thirty-vindh-To allow and
            Counsel. Fund such sums, not to exceedorder        paid out of the General
                                                          live thousand dollars in any
                     one fiscal )car, as may be deemed necessary for the employ-
                     ment of spccial counsel.        -
      ,.na,,,t          ],ortieh  -- To enact such gnemical an(l special police regula-
      reguation. tions for such city, or city and ,'ounity, as shall secure the
                     health, comfort, and security of the inhabitants, the safety
                     and security of property and life, and to enforce the same
                     therein.
      ,Rgulation         ,orty-firs-To make needful rules and regulations for the
        eprtient, admnai straulon, care, and maintenance and conduct of all
                     dle)artnlents and oftices of such city, or city and county, when
                     not otherwise in this chapter provided for, so as to secure
                     more perfect safety of the public funds, and greater etliciency
                     in till (lelpartmnents of the service, and to enforce the observa-
                     tion of such rules and regulations, and to authorize the
                     appointment of such additional clerks, assistant deputies, and
                     employ6s as in their judgment may be necessary for the
                     proper discharge of the duties of such offices and depart-
                     Ints.
                        1olrt-seconm---To appropriate the moneys derived from the
                     revenue of such city, or city and county, to a General Fund,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 23 of 88


                            TWENTY-FIFTIH SESSION.

        and such funds as have been heretofore or slhall be hereafter Couora,
                                                             be nces- v1,,,.
        established by law or the said Council, and as shall
        sary for the proper and economical administration of such
        city, or city and county.
          Forty-third-To estal)lish, maintain, and regulate free I)ub- Fro Iibr ry.
        lic libraries and reading rooms, and to perpetuate such free
        libraries and reading rooms as may have been heretofore
        established in such cities, or cities and counties, heretofore
        incorporatcd.
           1FrtyzlL1't.h-To provide, fit up, and furnish, and provide L ,,.liby.
        with fuel, lights, stationery, and all necessary attendanec,
        conveniences, and care, rooms convenient all(l accessible to
        the Courts, suflicient for the use and accommodation of a law
        library and those who have occasion to use it, and approved
        by the oflicers having the government of said library, and
        to perpette and in the same manner provide for any law
        library now existing in such city, or city and county, the use
        of which has been secured by law to the Courts, the Bar, and
        the city, or city and county, government. The Municipal
        Council shall have power, and it shall be their duty, to tip-
        propriate, allow, and order paid out of the proper fund, such
        sums as may be necessary therefor.
           Forty-fiJfth-To establish and maintain t free Medical Dis- mo1c-0
        pcnsary, and to perpetuate any such heretofore existing ill
        such city, or city and county.
           Forty-sixth-To appoint a committee of five, three from the.
        Board'of Aldermen and two from the House of Assistant C"""i"
        Aldermen, to be denominated the " Building Committee," to
        superintend the construction of buildings hereafter to 1)o
        constructed for such city, or city and county, or now in
        progress of construction therefor, and to appoint a Secretary
        for such committee, and to fix his compensation, and, if
        necessary, also to appoint a, Superintendent and Architect
        ilherefor, fix their respective compensation, and require of
        such Superintendent and Architect to execute bonds, with
        two sureties, conditioned for the faithful l)e'formnance of
        their duty, in such sums as may bc deemed necessary.
           Forty-sccth-To divide the city, or city and county, by Dlivision,     of
        ordinance, into twelve wards, to lix the boundaries thereof, cIty   int.
                                                                       ... ds.
        and to change the same, from time to tine; proridcd, that no
        change in the boundaries of any ward shall be made within
        sixty days next before the date of said general election, nor
        within tw nty months after the same shall have been estab-
        lished or altered.
           Forty-ighth-To provide for the levy, collection, and ap- Levy and
        propriatioin of revenue heretofore by law provided to be 1L. ,.
        collected for the erection and completion of any public build-
        ing in and for such city, or city and county, in the manner
        as hcretofore provided by any law of this State for the levy,
        collection, and aplpropriation of the same.
           SEc 5. The Municipal Council shall constitute a Board ( o
        of Equalization for such city, or city and county, and as          Ltalon
        such shall have the powers conferred by the general laws
        regulating the assessment and collection of taxes, when not
        inconsistent with the provisions of this chapter.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 24 of 88
       IZU                            STATUTES OF CALIFORNIA,

       Dofinitlo,,,    SEC. 66. All the streets, lanes, alleys, places, or courts, as
       streets.     laid down on the official map of such] city, or city and
                    county, and all other streets, lanes, alleys, )laces, or courts,
                    now dedicated or o)en to public use, are hereby declared to
                    be open public streets, lanes, alleys, places, or courts, for the
                    purpose of this chapter; and the Municipal Council is in-
                    vested with jurisdiction to order any of the work mentioned
                    in section sixty-seven of this Act to be done on any of said
                    streets, lanes, alleys, places, or courts, when the grade and
                    wiidth of said streets, lanes, alleys, places, or courtshave been
                    officially established; and for the purposes of this chapter
                    the grade of all intermediate or intersecting streets, lanes,
                    alleys, places, or courts in any one block shall conform to
                    the grades as established of the crossings of the main streets.
        streets. Sc. 67. The Municipl Council is hercby authorized and
                    empowered to order the whole or any portion of the said
                    streets, lanes, alleys, places, or courts, graded or regraded to
                    the olficial grade, planked or replanked, paved or repaved,
                    macadamized or remacadamized, piled or repiled, capped or
                    recapped, and to order sidewalks, sewers, cesspools, manholes,
                    culverts, curbing, and crosswalks to be constructed, and to
                    order any streets and sewers cleaned, and to order any other
                    work to le done which shall be necessary to make and com-
                    plcte the whole or any portion of said streets, lanes, alleys,
                    places, or courts, and they may order any of the said work to
       Construction be improved; and when any street, or portion of a street,
       ofRowers.      has been or shall hereafter be constructed to the satisfac-
                 tion of the Municipal Council and the Superintendent of
                 Streets, and shall have a brick sewer, or cement or iron-
                 stone pipe constructed therein, under such regulations as said
                 Municipal Council shall adopt, the same shall be accepted by
                 it, and thereafter shall be kept elpon and improved by such
                 city, or city and county, the expense thereof, together with
                 all work done in front of city, or city and county, property, to
                 be paid out of the Street Department Fund, or other proper
                 fund; provided, that the Municipal Council shall not accept
                 of any portion of the street less than the entire width of the
                 roadway (including the curbing and one block in length, or
                 one entire crossing); and providcdfjo'tlicr,that it may, partially
                 or conditionally, accept any street, or portion of a street, with-
                 out a sewer or pil)e therein as above stated, if a sewevr or pipe
                 therein shall be deemed by them unnecessary; but the lots
                 of land previously assessable for the cost of construction of a
                 sewer or pipe shall still remain and be assesqable for such
                 cost, and for the cost of repair and restoration of the street
                 damaged in the said construction, whcn thereafter a sewer
                 or pipe shall be deemed necessary, the same as if no partial
                  or conditional acceptance had ever been had. The said
        ,,ogt,r" Superintendent of Streets shall keep in his office a register
        of tet,, of all accepted streets, the same to be indexed so that refer-
                 ence may be easily had thereto.
                    Sic. 68. The Municipal Council may order work author-
                  ized by this chapter, the cost and expense of which is made
                  chargeable, or may be assessed upon private prol)erty by
                 special assessment, to be done, after notice of its intention so
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 25 of 88

                            TWENTY-FIFT1 SESSION.

         to do in the form of a resolution describing tie work, and s,,CIR,
         signed by the Clerks of both branches of the Municipal Count- ',r",rko,
         cili has been published for the period of five (lays inl tile paper lrp.,ty.
         doing the printing for such city, or city and county, I11(d also
         in two dally newspapers, one of which newspapers shall be
         published as a morning edition and one as al evening edition,
         printed and )tIblishied in such city, or city and county, for
         five (lays,Sundays an1(1 non-judicial days Cxcepted; provided,
         that no such notice shall be given or order made for the grad-
         ing of any street, unless the majority of the frontage of the lots
         and land fronting on the work proposed to be done, al1(1 d-
         scribed in said resolution, or which is to be made liable for
         such grading, except lublic property, shall have been repre-
         sented by the owners thereof or by their agents, in a petition
         to the said Municipal Council, stating that they arc the owners
         and in possession or agents of the lots liamled inthe petition,
         a( also requesting that such improvements or street work
         shall be doe. All owners of lands, or lots, or portions of lots,
         who may feel aggrieved or have objection to the ordering of
         tle work described in said notice, or who may have objection
          to any of the subsequent proceedings of the Municipal Coun-
         cil in relation to the work mentioned in such notices of inten-
         tion, or may have any objections to any of the acts of the
         Superintendent of Streets, and the City, or City and Counity,
         Surveyor of such city, or city and county, in the discharge of
         any of tile obligations or duties imlposed upon him or them
          by virtue of their offices, shall file with the Clerk of either
          branch of the Municipal Council a petition or remonstrance,
          wherein they shall setforth in what respect they feel aggrieved,
          or the acts or plroceedings to which they object, which peti-
          tion or remonstrance shall be l)assed l)On by the Munic-
          ipal Council, and its decisions thereon shall be final and
          conclusive; but the Municipal Council shall not order the
          work described in said notices to be done unless all objections
          and protests that may have been )resented and filed as afore-
          said shall have been by them disposed of. Should the owners
          or agents of more than one half in frontage of the lots and
          lands fronting on the work proposed to be done, and (esig-
          nated in said notice or resolution, or liable to be assessed for
          work, file with the Clerk of either branch of the Municipal
          Council written objections against any grading described in
          said notice, at any time before the expiration of the publica-
          tion of said notice of intention, and the publication thereof,
          as hereinbefore provided, then andi therepllon thie Municipal
          Council shall bebarred from proceeling further for tie period
          of six months, and shall not renew the notice of intention
          for doing any street work so protested against within six
          months, unless the owners or agents of a majority of the
          frontage of the lots and land fronting on said street work, or
          liable to be assessed therefor as aforesaid, shall petition anew
          for the work to be done. At the exl)iration of any notice of
          intention, the Municipal Council shall be deemed to have
          acquired jurisdiction to order any work to be done which is
          authorized by this chapter; and it is 'rl/her provlCd, that
          where any )ublic street shall have been graded, or graded
                      160
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 26 of 88

      122                        STATUTES O     CALIFORNIA,
     Spcial    and macadamized, or graded and paved, for the distance of
     t, ,i,k .. one or two blocks upon each side thereof of any one or two
      ,.l,.,blocks or crossing of a street which is not improved, it shall
      ~ru'rty be the duty of the Municipal Council, upon the recomnienda-
                tion of the Superintendont of Streets, to order the notice
                provided in this section to be given without the petition pro-
                vided first aforesaid; and if the owners of three fourths of the
                frontage of the land and lots fronting on such portions of said
                streets to be graded or improved shall, within the time pro-
                scribed in said notice, file written objections to the improve-
                ment of the said street, such objection shall be a bar for six
                months for the doing of said work or making said imni )rove-
                ment, except when the work or imlrovement propose(I to be
                done is the construction of sewers, manholes culverts cross-
                walks, and sidewalks, the Mlfunicipal Council' shall duly con-
                sider said ol)jections before ordering said work; and if it
                shall decide and declare by an entry in the minutes of both
                branches thereof, that the objections so made are not good,
                thereupon it shall be deemed to have acquired jurisdiction
                to order any such street work to be done that is described
                in said notice; provided .fttrthcr, that when one half or more
                of the grading, planking, maeada mi Zing, paving, sidewalk-
                ing, or sewering of any one street, lying between two meain
                street crossings, has been already performed, the Municipal
                Council may order the remainder of such grading, planking,
                macadamizing, paving, sidewalking, or sewering to be done,
                notwithstanding the objections of any or all of the property
               ownors.
     3ntor r     S.c. 69. The owners of more than one half in frontage of
     c"11,o,,    lots and lands fronting on any street, lane, alley, place, or
     mtroet work            "one insc ionorthi
     tobedone. court, mentioned in section sxt-six of this Act, or their
               duly auiorized agents, may petition the said Municipal
               Council to order any of the work mentioned in section sixty-
               seven o" this Act to be done ; and the said Board may order
               the wo -k mentioned in said petition to be done, after notice
               of thei. intention so to do has been published, as provided
               in section sixty-eight of this Act. No order or permission
               shall be given to grade, or pile and cap, any street, lane,
               alley, place, or court, in the first instance, or any portion
               thereof, without extending or conpleting the same through-
               out the whole width of said street, lane, alley, place, or court.
               When any such work has heretofore been done, or when any
               such work shall hereafter be done, in violation of this sec-
               tion, neither the lots or portions of lots in front of which
               such work has been or may be doile hereafter, nor the own-
               ers thereof, shall be exemlt from assessments made for the
               1)aymnent of the work afterwards done to complete said street,
                ane, alley, place, or court to its full width, as provided in
               this chapter.
                  SEc. 70. At the expiration of publication of such notice,
               the Clerk of either branch of the Municipal Council shall
               cause to be transmitted to the City, or City and County, Sur-
               veyor, and to the Superintendent of Streets of such city, or
               city and county, a copy of the resolution, order, or ordinance
               authorizing the said street work. The said Surveyor shall
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 27 of 88

                            TWENTY-FIFTH     SESSION.

                                                                   the M ptoh,.
        thereupon, within fifteen days from tile completion toof said  trimi, itt,d.
           lblicatio nlmentioned in the last section, transmit
        Municipal Council a map of the district to be benefited by
        said street improvement; which map shall show the rela-
        tive location of each lot to the work proposed to be done, and
        be signed by said Surveyor.     The Superintendent of Streets 1:,thiat-,,
        shall also thereupon, within fifteen days from the completion ....
        of said )ublicatlon, transmit to the Municipal Council an
        estimate of tile cost and eXlpense of said improvement, which
        said estimate shall contain the items composing the gross
        sum estimated, and shall be signed by said Superintendent.
           6EC. 71. Tihe Municipal Council shall, at the first meet- Adopto or,
        ing after the receipt of such ma p and estimate, or as soon ,,f,,,ap.
        as may be practicable, either at o)t, motdify, or reject tile
        same, and after its final action upon said miap and estimate,
        the same shall be transnjitted to said Su)erintendent of
        Streets, who shall record the same in a book to be kept by
        him for such purpose; and the said Superintendent shall
        forthwith prepare plans anti specifications for such street
        work, and the Clerk of either branch of the Municipal. 11,,ti'g"l,,
                                                                         bli110hig

        Council shall cause to be conspicuously posted in fhe olhice afutice.
        of said Superintendent, and also pul;lislhcd for live days
        (non-jutlicial days excepted) in the newspapers iereinbefore
        mentoned, a notice inviting sealed plroposals to contract for
        the work conteml)lated to be pierformed; such work not to
        be performed, nor any contract for the same maJ - or entered
        into, until after the moneys sufficient for the payment of the
        costs and expenses thereof shall have been levied, collected,
        and paid into the treasury of such city, or city and county, as
        hereinafter provided; which notice shall substantially con-
        tain the plans and slecifications above mentioned; and all
        notices, resolutions, and orders required to be )Osted or pub-
        lished under the provisions of this chapter, shl1 be posted or
        published, or both posted and published, as the law may
        require, by said Clerk, as a matter of course, and without
        any special direction or authority from said Municipal Counl-
        cil. rhe said Superintendent shall furnish specifications for
        the performance of al-y atll all street work ordered by the
        MUlnicipal Council anld authorized by this chapter, an'd the
        time within which said work must be comlleted after enter-
        ing into the contract for dloing the sale. All l)rOl)osals ,h11vr of
        shall be delivered to the Clerk of either branch of the Munie-
        ipal Council, and the I-louse of which lie is the Clerk shall,
        in open session, open, examine, aid pulblielydeclare the same;
        and all proposals shall be for a price, pava'ble in gold coin of
        the United States; provided, said Mtmiicipal Council may
         reject any and all proposals, should they deem it for the pub-
        lie good, and also mayi reject the prol)osals of any party who
        may be proved tlelinquent or unfaithful with any'former con-
         tract with such city, or' city and county; ant if all pro)osals
        shall be rejected, the Municipal Council shall direct the
        Clerk of either House thereof, to again post said notice, and
         publish the same as ill time lirst imstance. All proposals
        shall be accompanied with a bond to such city, or city and
         county, to be approved by the Clerk of either House of said
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 28 of 88


       124                         STATUTES OF CALIFORNIA,
       Bond.      Mfunicipal Council, in the sum of one thousand dollars, and
                  in such additional amount as may be fixed by said Superin-
                  tendent of Streets, with two good and sullicient sureties, who
                  must be freeholders of such city, or city and county, said
                  sureties to justify in double the amount, conditioned that the
                  party making such proposal shall, or will, within ten dlays
                  after notice from said Sulperintendent that the moneys for the
                  cost and expenses for such work have been paid into the treas-
                  ury, enter into a contract with such city, or city and county,
                  in pursuance of such proposal, and to commence such work
                  within five days after the execution of such contract, and
                  complete the same within the time mentioned in the said
                  plans and specifications, or either of them, or within any
                  extended time; it isfarther provided, that all persons l)ro-
                  posing, owners included, who shall fail to enter into any
                  contract as herein provided, or to complete the contracts
                  entered into, are hereby l)rohibited from proposing a second
                  time for the same work; and in case of owners, they are
                  hereby prohibited from electing to take the same work a
                  seconl( time, and from entering into any contract concern-
                  ing the same. At any time within five days after such
       riecti,,of money has been paid into the treasury, the owners of a ma-
       ,m",ri odo jority of the frontage of lots and lands ';ae to he assessed
       ,o,., for said work, or their agents, and who shall make oath that
                  they are such owners, or the agents of such owners, may
                  elect to do the said work, and to enter into a written con-
                  tract to do the whole work at the price for which the same
                  is awarded, Ul)On giving the bond as hereinafter provided;
                  and they shall commence said work within five days after
                  the execution of such contract, and shall prosecute it dili-
                  gently and continuously, a'd complete it within the time
                  limited iin the contract, or within any extended time; but
                  should the said contractor, or the property owners, fail to
                  prosecute the same diligently or continuously, in the judg-
                  ment of said Superintendent, or complete it within the time
                  prescribed in the contract, or within the extended time, then
                  it shall be the duty of said Superintendent to report the same
                  to the Municipal Council, who shall immediately order the
                  Clerk of either branch of the Municipal Council to advertise
                  for proposals as in the first instance, and relet the contract
                  in the manner hereinbefore provided ; an(d it is'*rther pro-
                   .idcl, that all contractors for street work shall, at the time of
                  entering into said contract, execute a bond. payable to such
                  city, city or county, with two or more sureties, in the sum
                  of not less than one thousand dollars, all(d in such additional
                  amount as may be fixed by said Su )erintendent, conditioned
                  for the faithful performance of said contract ; an( said sure-
                  ties shall justify in double the amount of the penalty fixed in
                  said bond ; such sureties to justify before said Superintend-
                  ent or his deputy and the qualifications and responsibility of
                  such sureties shall be the same as prescribed for sureties on
                  the official bonds of the officers of such city, or city and
                  county ; and 'it is f*o'ther provided, that in case of the non-
                  fulfillment by the' obligor in either of the bonds mentioned
                  in this section, of the conditions thereof, it shall bd the duty
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 29 of 88


                          TWIENTY-FIFTII SESSION.

       of the City, or City and County, Attorney to sue for and collect
       the sum in said bond mentioned, in any Court of competent
       jurisdiction, and pay the same into the city and county
       treasury, to the credit of the proper fund.
         SEc. 72. After the proposal shall have been received and A..ie,,,nt.
       considered by the Municipal Council, the Superintendent of
       Streets shall make an assessment in proportion to the ben-
       efit upon all the land in tile district shown upon said map.
       Said assessment shall show the work proposed to be done,
       the estimated cost thereof, the rate per front foot assessed
       against each lot within the assessment district, the amount
       of each assessment, the name of the owner of each lot, or
       portion of lot, if known to the Superintendent, and if such
       owner be unknown, the word unknown " shall be written
       ojiposite the number of the lot (but an assessment made to t
       person not the owner, shall not render such assessment ille-
       gal), and the amount assessed thereon, the number of each
        ot, or portion of lot, assessed, and shall have attached thereto
       a diagram showing the assessment district, and the relative
       location of each lot assessed to the work l)roposed to be dlone,
       each lot being numbered in said assessment and diagram;
       and when completed shall be signed by said Superintend-
       cet, and transmitted to the Board of Aldermen.
          Sme. 73. At the first meeting of the Board of Aldermen, NoI,.,f
       after the receipt by it of the assessment made by said Super- ,. to
       itlendiet, as soon thereafter as may be practicable, it shall      it.......
       cause notice of tho time and place of the hearing of all ob-
       jections to said assessment to be publishied for at least five
       days (Sundays and non-judicial days excepted), prior to tle
       time of such'hearing, in two daily newspapers, one published
       as a morning edition and one as an evening edition, in such
       city, or city and county. All objections shiall be heard in
       open session of said Board of Aldermen. At said hearing
       said Board of Aldermen may alter, modify, or confirm said
       assessment, as it shall deemi proper; and ',aid Superintend-
       ent shall thercu )on record said assessment and diagram in a
        book to be kept by him for that purpose. When so recorded,
        the several amounts assessed shall be deemed a tax levied
        upon the lands described in said assessment and diagramn,
        ulpon which they are respectively assessed, and shall be a lien
        upon such parcels of land. Said Superintendent slhall give
        to each assessment a number by which tm fund collected for
        said work shall be known, and shall immediately after the
        record of said assessment as hereinbefore provided deliver
        the said assessment and diagram to the r'ax Collector of
        such city and county, who shaill thereupon cause to be pub- .,7""
        lished for ten successive days (SundaVs and non1-judicial j, ,'r"e.
        days excepted), in two newspapers of general circulation, one paymit,
        of which shall be published as a morning edition and one
        as an evening edition, published in such city, or city and
        county, a notice containing a descripition of the proposed
        improvement, and of the portion of street or streets upon
        which the same is proposed to be done, that the same is inl
        his hands for collection; that if said assessment is not paid
        within fifteen days from the date of the last publication
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 30 of 88

     126                           STATUTES OF CALIFORNIA,

               of such notice, that the same will be delinquent; that
               the property assessed, and Upoln which the assessmcnt
               remains unpaid, will be sold by said Tax Collector for said
               assessment, a brief description of the property assessed, the
                  amount assessed thereon, and the time and place of sale,
                  which shall be not less than five nor more than ten days after
                  such delinquency.
     sio fur ,,lri SEc. 74. On the day fixed for tho sale, said Tax Collector,
     erty
     ,1i,,,,ubtxA between the hours of ten A. At. an( three i'. At., must corn-
                  mence the stle of the property advertised, upon which the
                  assessment    ,mais unpaid, and sell the same at public veii-
                  (ue, in the office of said Tax Collector, to the person who
                  will take the least quantity of tle respective parcels of land
                  assessed, and pay the assessment thereon, together with two
                  dollars to said Tax Collector for the duplicate certificate of
                  sale. If the purchaser does not forthwith pay the amounts
                  of the assessment and costs by Iim bid, the Tax Collector
                  shall immediately proceed to sell such parcel or parcels
                  again, in the same manner, for the amount of said assessment
                  and costs.
      I,,,llii°     SEc. 75. After receiving tile amount of the assessment
                  and costs, said Iax Collector must make out in duplicate a
                       certificate, dated on the day of sale, showing the name of
                       the person assessed, when known, a brief description of
                       the property sold, the street improvement for which the
                       assessment was levied, the number of the assessment, that it
                       was sold for an assessment, the anount thereof, that the
                       same is subject to redemption at any time within one year
                       after sale, and specifying the date when the purchaser will be
                       entitled to a deed; and upon payment to said Tax Collector
                       of the fee for recording the same, said Tax Collector shall
                       deliver one of such duplicates to the purchaser, and the
                       same (lay file the other in the office of the Recorder of the
                       county, or city and county, who shall record the same.
         ,1t,,Ig
           1     if      SEc. 76. Upon filing the said duplicate in the office of
      Ii,,             said Recorder, the lien aforesaid is vested in the purchaser,
                       and is only divested by payment to him, or to the Treas-
                       urer of such city, or city and county, for his use, of the
                       purchase money and costs, and two per cent per month and
                       fraction of a month up to date of redemption thereon. A
      Itoiiiilitii.... redemption of the property sold may be made by the
                       owner, or any party in interest, within twelve months from
                       the date of )urchase.
      D,.i I, .1r. S,c. 77. If )roperty is not redeemed within twelve
        ,,,.it,        months from the (late of such sale, the Tax Collector must
      ,,i Ii,..        lnake to the purchaser, or his assignee, a deed, reciting Sitl)-
                       stantially the matters contained in tile certificate, and that
                       no person redeemed the property during tile time allowed
                       by law for its redemption.        ile matters recited in the
                       certificate of sale mustbe recited in tile deed, and such deed,
                       duly acknowledged, shall be prima facie evidence that:
                          1. Tlhe property was assessed as required by law.
                          2. That the assessment was not paid.
                          3. That the property was sold at thle proper time and l)lace,
                       and by the prol)er officer.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 31 of 88

                            TWENTY-FIFTI1 SESSION.

          4. That the person who executed the deed was the )roper
        officer therefor.
          5. That tile title to the prol)crty therein described is vested
        in the purchaser, his heirs, or assigns, free from all incum-
        brances, except taxes for purposes of revenue.
          Sm 78. Said T.x Collector shall daily pay into th. trcas- !'1. ,,n,
        ury of such city, or city and county, to the credit of the proper by Tax C,,I.
        Street Improvement Fund, all moneys collected by him on                 •et.,.
        account of such fund, and shall, upon the receipt of any
        assessment, mark the same paid upon the assessment roll,
        and shall receipt to the person paying the same therefor,
        which receipt shall show the number of the Street Improve-
        ment Fund, the work done, the number of the lot upon
        which the assessment is paid, and the amount thereof.
         SEc. 79. When the full amount of such assessment has .',toaf
        been collected by said Tax Collcctor, the said Collector shall I,,,t 7r, -asuy
        certify to the Superintendent of Streets that the same has
        been collected and paid into the treasury of such city, or city
        and county. Upon the receipt of such certificate from the
        Tax Collector, the said Superintendent shall forthwith notify N,,tifca,,..
        the person whose proposal shall have been accepted by the t
        Municipal Council, is aforesaid, of the payment of such
        money into the treasury, and that such city, or city and
        county, is ready to enter into a contract with such person
        for such work, in pursuance of said 1)roposal; and said Super-
        intendent shall hold himself in readiness to execute said
        contract on behalf of such city, or city and county. Tile h.,:xt,l     o,,of
        Board of Aldermen may extend the time of performance of .
        the contract, as fixed by the contract of specifications, upon
        the recommendation of said Superintendent; but the time
        of the l)erformance shall in no event be in any manner
        extended beyond sixty days after the time fixed in such
        specifications or contract for the completion of said work.
           Smc. 80. Whenever any contract shall have been con- Crtife|,tt,
        pleted to the satisfaction and acceptance of the Superintend- :1,14traetor
        ent of Streets, he shall deliver to the contractor a certificate ...    "1

        to that effect, and shall also notify said Board of Aldermen notc.
        that said work and improvement, and the contract therefor,
        have been completed to his satisfaction and acceptance,
        and that he has given to said contractor his certificate to
        that effect. Thereupon said Board of Aldermen shall direct
        the Clerk of said Board to give notice by publication for
        live days, in a newspaper published and circulated in such
        city, or city and county, that said work and improvement,
        and the contract therefor, have been completed to the satis-
        faction and acceptance of tme Superintendent of Streets of
        such city, or city and county.
           SEc. 81. Any person owning )ro)erty which has been 'P'" 1 |"
        assessed to pay the cost and expenses of such work and,,
        improvement, feeling aggrieved at the manner in which such
        work and improvement shall have been done, or feeling
        aggrieved at any act or determination of said Superintend-
        cnt of Streets in relation to said work and improvement sub-
        sequent to the date of the execution of the contract therefor,
        shall, within five days from the first publication of said
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 32 of 88

     126                         STATUTES OF CALIFORNIA,

                   notice, appeal to said Board of Aldermen by briefly stating
                   their objections in writing, and by filing the same with the
     Acceptanc     Clerk of said Board. At the meeting of the Board next ensu-
     of,,or,.      ing after the expiration of said five days allowed above
                                                                                for
                   filing said ol)jections, the said Board, ii no objections have
                   been filed, shall, by resolution, ratify aind confirm all said
                   acts of said Superintendent of Streets, and shall accept such
       ,learing or work and improvement. But if any such objections last
     ,,,, ti"t,,.. aforesaid shall have been filed within said five dazys, then
                   said Board shall fix the tin-e for hearing such objections,
                   and shall direct the Clerk of said Board to notify all persons
                   desirous of being heard upon said objections of the time and
                   place when and where said Board will hear all parties desir-
                   ing to be heard upon the s'me. Said notice shall be in writ-
                   ing, and shall be given by posting the same in three of tie
                   most conspicuous public places in such city, or city and
                   county, and published five days in two dally newspapers
                   (one morning and one evening edition), at least five days
                   before the time set for said hearing. At the time and place
                   fixed for said hearing of said objections, said Board shall
                   proceed to hear all parties present and desiring to be heard
                   upon the matters specified in such objections. And when-
                   ever said Board shall have (etermined, by personal inspec-
                   tion or otherwise, that said work and improvement objected
                   to have been completed in all respects according to the con-
                   tract therefor, they shall, by resolution, accept said work and
                   imjiroveient, and ratify and confirm till said acts of said
                   Superintendent of Streets in relation thereto.
     Notice to
     Soiwrin-       SEc. 82. If, upon such hearing, said Board of Aldermen
     t,,ht Of shall determine, by personal insl)ection or otherwise, that
     stret,.       said work and improvement have not )een performed accord-
                   ing to the contract therefor, then they shall notify the said
                   Superintendent of Streets to that effect, specifying in said
                   notice to him the particulars in which said contract has not
                   been performed. And said Superintendent of Streets shall
                   thereupon at once cause said contractor to complete said
                   work and improvement under the contract therefor in those
                   particulars specified by said Board in said notice to said
                   Superintendent of Streets. Whenever said Board shall ascer-
                   tain that said work and improvement have been completed
                   in all respects according to the terms of the contract therefor,
                   they shiall by resolution, accept such work and improve-
                   meont. All acts and determinations of said Board of Alder-
                   men upon apleals, under thl provisions of this and the next
                   preceding section, shall be final and conclusive upon all per-
                   sons entitled to an appeal thereunder.
               t,,
     ',,y,,,,.,,t     Sc. 83. Whenever any work or improvement shall have
       o,tic,.,.. been so completed upon any street, lane, alley, court, or place

                   in such city, or city and county, for the payment of costs and
                   expenses, of which an assessment shall have been levied and
                   collected under the provisions of this Act, the said Board of
                   Aldermen shall, by resolution, direct the Treasurer to pay
                   out of the appropriate fund, at the expiration of fifteen days
                   from the passage of such resolution, to the contractor who
                   shall have so completed said work and improvement, the
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 33 of 88

                           TWENTY-FIFTII     SESSION.

        amount to which he is entitled under the terms of his con-
        tract ; provided, howevcr, that such payment by the Treasurer
        shall be made subject to the following provisions, tc, wit:
        That any person or persons who have performed lalo, tqtpon, co,,dition..
        or furnished materials for the construction of said wo ,:. or
        iml)rovemcnt, may file within said fifteen days, with the
         Irrcasurer, any written claim or claims he or they mar have
        on account of such labor performed or materials furnished ;
        and, at the expiration of said fifteen days, said Treasurer
        shall pay to said contractor the amount sp~ecified in said last
        named resolution, less the aggregate amount of all such
        claims, if any, theretofore filed in accordance with the pro-
        visions of this section. Should any money be retained by
        said Treasurer on account of such claim or claims, lie shall
        pay over the amount of each claim only upon the order
        tllercfor of said contractor, indorsed by the claimant entitled
        thereto, or upon the order therefor of any Court of competent
        jurisdiction.
            Sic. 84. And when all moneys required to be paid by the
        said Treasurer, under the last preceding section, shall have
        been by him paid, as required in said section, if there is any
        money remaining in the fund out of which said payments
        shall have been made as aforesaid, it shall be the duty of
        said Treasurer immediately to report the amount of said
        remaining mone's to said Board of A\hdermnen. Thereulon 1(ip,,.,,,
        it shall be the duty of said Board to empower and direct said            '
        Treasurer to distribute and relpay such remaining moneys,
        and in the proportion of the amounts of the original assess-
        ments, to the persons by or for whom said original assess-
        ments were paid, or to their legal representatives. And it
        shall be the duty of said Treasurer, in, each instance of such
        repayment, to require, receive, and file away a receipt of said
        proportionate amount from said persons or their legal rep-
        resentatives. And in no case shall a contractor, who has
        failed to fulfill the terms and conditions of his contract, be
        entitled to receive any portion of the contract price therefor,
        and lie shall be deemed to have forfeited all right to recover
        or receive any compensation whatever under said contract.
            Sic. 85. &o contract to do any work upon any accepted            oi
        streets, other than cleaning streets and sewers, shall be let, ,.,It,.l
        but such work shall be done under the direction of the 8trt"'b'
        Superintendent of Streets, by laborers employed by such
        city, or city and county, through said Sulperintenldent, at
        such wages as may be, froml time to time, fixed by the Munic-
        ipal Council. All contracts for materials necessa'ry to be used
        for work on accepted streets must be given by the Municipal
        Council to the lowest bidder offering adequate security, after
        due public notice, for not less than live days, in at leaIst two
        newspa)pers published in such city, or city am county.
            SEc. 86. Ill case of urgent necessity, the Superintendent N.I,,,,,g
        of Streets may, and it shall be his duty to, repair any of the ... ,,,,te.
        unaccepted public streets, sewers, or crossings cornering
        thereon; and the expense of the same shall be paid out of
        the Street Department Fund, ill the same manner as pro-
        vided for the improvement of accepted streets ; and all such
                     17'
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 34 of 88

      130                         STATUTES    OF CALIFORNIA,

                  repairs shall be made in uniformity with the work to be
                  repaired, but such repairs between two main streets shall not
                   exceed in cost the sum of two hundred dollars, and the
                   relpairs of any crossings shall not exceed in cost the sum of
                   one hundred dollars; provided, the sums so ex)ended sliall
                   not exceed the sum of two thousand dollars in any one month.
                   Such work, and the material therefor, shall be performed and
                   provided in tie same manner as provided in the foregoing
                  section concerning labor and material for accepted streets.
       illr ,,fin,.
         clty for    SE. 87. No recourse shall be had against such city, or city
           , fr and county, for danago to person or property suffered or sus-
      .eeit,"      taied by or by reason of the defective condition of any street
      sri,.t,     or l)ublic higlway of such city, or city and county, whetlor
                  originally existing or oceasioned by construction, excavation,
                  or ellbankmient, or want of relair of said street or public
                   highway; and whother such daiage be occasioned by acci-
                   dent oil said street or public highway, or by falling from or
                   upon the same; but if any person while carefully using any
                  street or public highway of such city and county, graded, or
                   in course of being graded, or carefully using ally other street
      Damage, or public highway leading into or crossing the sano, be
      ,<,it        injured, killed, lost, or destroyed; or any horses, animals, or
               other lroperty be lost, injured, or destroyed, through any
               defect in said street or public highway, graded, or in course
               of being gradted, as aforesaid, or by reason of any) excavation
               or embankment in or of the same, or by falling from or upon
               such embankment or excavation, then the person or persons
               upon whom tie law may impose the duty either to repair
               such defect or to guard the public from the excavation,
               embankment, or grading aforesaid, and also the officer or
               oflicers through whose ollicial neglect such defect remained
               unrelaird, or said excavation or embankment remained
               unguarded as aforesaid, shall be jointly and severally liable
               to the person or pCrsons injured for the damages sustained.
      mentor     Sm. 88. Tlie Superintendent of Streetj may require, at
      ,,.t, ,y his option, by notice in writing, to lie delivered to them per-
        ,      sonally or left on the premises, the owners, tenants, or occu-
               pants of lots or portions of lots liable to be assessed for work
               done under the provisions of this chapter, to improve forth-
               with any of the work mentioned in section :dxty-seven of this
               Act in front of the property of which ]he is tie owner, tenant,
               or occupant, to the center of thie street or otherwise, as the
               case May require, or to reiove all filth, sand, earth, or dirt
               front the street in front of the prolises; and, by it like notice,
               to be served personally upon the President -)r any officer of a
               railroad corporation or company, or to be left at the oflice of
               said corporatioii or company, to require such corpioration or
               complany to improve forthwith any work mentioned in this
               chaptor, which said corlioration or company are required by
               law to do and perform ; said notice to specify what improve-
               menit is requirel, or work is to be done. After the expiration
               of five (lays, if such notice shall not have been complied
               with, such l)roceedings shall be taken by the l)ropor author-
               ities to cause the moneys necessary for the doing of suich work
               to be paid into the treasury, as is lhereinbefore provided in
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 35 of 88

                            TWENTY-FIFTIh   SESSION.

         reference to work and improvements upon unaccepted streets,
         and to be paid for in tile sainc manner.
           SEC 89. Notices in writing, which are required to be given Noticr, hw
         by the Superintendent of Streets, under the provisions of this
         chapter, may be served by any police officer, or by any male
         citizen over the age of twenty-one years, and the fact of such
         service shall be verified by the oath of tile person making it,
         taken before the Superintendent (who is hereby authorized
         to administer oaths), or any other person authorized to
         administer oaths. The Superintemlent of Streets shall keep
         a record of the fact of giving such notices and proof of ser-
         vice, and shall keel) the original proof thereof.
            SEc. 90. 1irst-On or before tile fourth Monday of July, ,,,or
         annually, the Municipal Council of such city, or city aid '
         county, shall levy the amount of taxes for city, or city and
         county, purposes,required by law to be levied upon all prop-
         erty not exempt from taxation; said amount to be such as
         the said Council may deem suflicient to provide for the pay-
         ment of all demands upon the treasury authorized by law to
         be paid out of the same; protuidcd, that such taxation, exclu-
         sive of any andtall special taxes, now or which hereafter
         may be authorized by law, shall not ill   the aggregate exceed
         the rate of one dollar upon each one hundred dollars valua-
         tion of the property assessed; provided fother, that the said P4bt~it
         Municipal Council shall, in making the said levy of taxes, ..    l,,to
         apportion and divide the taxes so levied, and to be collected f,,,ti
         and applied to the several speciic funds known as the Cor-
         poration Debt Fund, General Fund, School Fund, Street
         Light Fund, Street Department Fund, or other fund pro-
         vid ed for by law, or by the said Council, according to the
         estimate of said Council of the necessities of the said funds,
         except that the rate for the School Fund shall not exceed
         thirty-five dollars for each pupil who shall have attended
         and been taught tile preceding year; and providcdf rlthcr,
          that the said Municipal Council shall authorize the disburse-
         ment of said money for the purposes hereafter mentioned;
         and at the close of each fiscal year tile said Council shall
          direct the Treasurer to transfer all surplus moneys of all
          funds, excepting the School Fund, after liquidating or pro-
          viding for all outstanding demands upon said funds, to the
          General Fund; but no money shall be transferred from
          either of the said funds to another, nor used in paying any
          demands upon such other fund, until all the indebtedness
          arising in any fiscal year, and pa'able out of said funds so
          raised for said fiscal year, shall have been paid and dis-
          charged.
             &coml-The Corporation Debt Fund shall be applied to
          and used for the payment of the interest, and to extinguish
          or )rovide for the extinguishment of the lawfully contracted
          funded debts of such city, or city and county in"accordance
          with laws in force at the tine'of the organization of such
          city, or city and county, under this Act.
             T/hi'd-ie General Fund shall be apl)lied and used for '""
          the payinent of all suns authorized by law to be paid out Fund.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 36 of 88

     132                         STATUTES OF CALIFORNIA,

                    of the General Fund, and not otherwise provided for in this
                    chapter.
    schoolFund.        Jburth-The School Fund shall be applied and used for
                    the pay ment of all sums authorized by law to be paid out
                    of the School Fund.
    Stre"t Liht Fifth-The Street Light Fund shall be a plied and used in
    Fu,             the payment for lighting the streets of suchcity and county,
                    and for the repair of lamps and posts, in pursuance of any
                    existing or future legal contract of such city and county.
     Ilt,,i, ent Sixth-The Street Department Fund shall be applied and
    Fund.           used for repairing ant. improving all streets, lanes, and the
                    crossings thereof, which shall have been or hereafter may
                    be accepted, so as to become a charge upon such city and
                    county; for cleaning streets, lanes, crossings, and sewers; and
                    for the expense of imnprovem ents of streets in front of school
                    lots; for all street work in front of or assessable upon prop-
                    erty belonging to such city and county; for all street work
                    on the water front of such city and county, not by law
                    assessable upon private property; for all work authorized by
                    the said Council, upon the recommendation of the Superin.
                    tendent of Streets, as immediately essential for the safety
                    of life, limb, or property, or necessary for public health, or
                    which cannot be by law assessed upon private property, and
                    for such other objects relating to streets and highways as
                    shall be directed by law or said Council to be paid there-
                    from. All moneys received from licenses on vehicles, from
                    the income from street railroads, from fines and penalties
                    for violation of any law or ordinance regulating vehicles on
                    the public streets, shall be paid into the Street Department
                    Fund.
          lr ,emt      Sic. 91. No payment can be made from the treasury or
    awt ,, ..uofle out of the public funds of such city," or city and county,"
            rized"'
     by, 111,,.unless the same be specifically authorized by law, nor unless
             the (lemnand which is paid be duly audited, as in this chapter
             provided, and that must appear upon the face of it. No
             demand upon the treasury shall be allowed by the Auditor
             in favor of any person, officer, company, or corporation, in
             any manner indebted thereto, without first deducting the
             amount of such indebtedness, nor to any person or officer
             having the collection, custody or disbursement of public
             funds, unless his account has b)een duly presented, passed,
             approved, and allowed, as required by law; nor in favor of
             any officer who shall have neglected to make his official
             returns or his relorts, in writing, in the manner and at the
             time required by law, or by the regulations established by
             the Municipal Council; nor to any) officer who shall have
             neglected or refused to comply with any of the provisions
             of this or any other Act of the Legislature regulating the
             duties of such olicer, on being required in writing to comply
             therewith by the President of the Board of Aldermen, or any
             member of the Final ice Committee of the Municipal Council
             nor in favor of any oficer for the time lie shall have absented
             himself, without lawful cause, from the duties of his office,
             during the oflice hours prescribed in this chapter; and the
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 37 of 88


                         TWENTY-FIFTH SESSION.

         Auditor may examine any officer receiving a salary from the
         treasury, on oath, touching such absence.
           SimC. 92. The term "audited," as used in this chapter, 11,11,of
         with refcrcnce to demands upon the treasury, is to be under-".,.lt"
         stood their having been presented to and plssed upon by
         every officer and Board of officers, and finally allowed as
         required by law; and this must appear upon the face of the
         paper representing the demand, or else it is not audited.
            lice. 93. Every (lemand upon the treasury, except the 'h,,
         salary of the Auditor, and including the salary of the Treas- j.,
         urer, must, before it can be paid, be presented to the Auditor
         for such city, or city and county, to be allowed, who shall
         satisfy himself whether the money is legally due and remains
         unpaid, and whether the payment thereof from the treasury
         of such city and county is authorized by law, and out of what
         full. If he allow it, lie shall indorse upon it the word
         "Allowed," with the name of the fund out of which it is pay- I,,wM,.,,
         able, with the dte of such allowance, and sign his nano
         thereto; but the allowance or approval of the Auditor, or
         the Municipal 'Jouncil, or either branch thereof, or any
         Board, committcI or officer, of any demand which, upon the
         face of it, appears not to have been exl)ressly made by law
         payable out of the treasury or fund to be charged therwith,
         shall afford no warrant to the Treasurer or other disbursing
         officer for paying the same. No demand can be approved,
         allowed, au dited, or paid, unless it specify each several item,
         date, and value composing it, and refer to the law, by title,
         date, and section, authorizing the same.
            SiC. 94. The demand of the Auditor for his monthly ","mul'so,
         salary shall be audited and allowed by the President of the .awd.
         Board of Aldermen. All other monlthlydemands on account
         of salaries, allowances, or compensations fixed by law or this
         Act, and made payable out of the treasury of such city, or
         city and county, may be allowed by the Auditor without
         any approval. All demands payable out of the School Fund ,ti,'
         must, before they can be allowed by the Auditor, or paid, be
         previously approved by the Board of Education, or by the
         President thereof, and Superintendent of Schools, acting
         under express authorization of said Board. Demands for
         teachers' wages, or other expenses appertaining to any school,
         cannot be approved, allowed, or audited to any amount
         exceeding the share of school money which such school will
         be entitled to have apportioned to it during the current fiscal
         year. All other lawful demands payable out of the treas-
         ury, or anyl) public funds of such city, or city and county,
         ald not hereinbefore in this section specified, must, before
         they can be allowed by the Auditor in any mannier, or
         recognized, or paid, be first approved by the Municipal Coun-
         cil, except, if the demand be under two hundred dollars, by"
         the Mayor and two members of time Board of Aldermen,
         appointed by the said Board for that purpose, with power to
         act under and subject to its instructions and regulations
         during recess of the said 3oard. The Auditor must number
         aud keep a record of all demands on the treasury allowed
         by him, showing the number, date, amount, and name of the
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 38 of 88

     134                        STATUTES   OF CALIFORNIA,

              original and present holder, on what account allowed, out of
              what fund payable, and, if previously approved, by what
              officer, officers, or Board it has been so approved; and it shall
              be deemed a misdemcanor in office for the Auditor to deliver
              any demand with his allowance thereon until this requisite
              shall have been complied with.
     Wio,,,,,y   Si.X. 95. The Mayor, Mayor's Cll| , Auditor, Auditor's
     o,,,1,.Clerk, Chief of Pofice. Police Commi .ioners, President of
              the Board of Education, each member of the Municipal
              Council, and every other officer required by law or ordinance
              to allow, audit, or certify demands upon the treasury, or to
              perform any other official act or function, shall have power
              to administer oaths and affirmations, and take and bear tes-
              timony concerning any matter or thing concerning any
              demand upon the treasury, or otherwise relating to their
     ill,,ity official duties. Every officer who shall approve allow, or
     ileill   pay any demand on the treasury not authorized by law, or
                by a valid ordinance of the Municipal Council, passed in
                accordance with the same, or in case it is the act of a
                Board, who shall, as a member th( eof, vote for the same,
                shall be liable to the city, or city and county, individually,
                and on his official bond, for the amount of the demand
                so illegally approved, allowed, or paid. E'very citizen shall
                have the right to inspect the books of the Auditor, Treas-
                urer, Secretary of the Board of Aldcrman, and Clerk of the
                House of Assistant Aldermen, at any time during business
                hours. Copies or extracts from said books, duly certified,
                shall be given by the officer having the sane in custody, to
                any citizen demanding the same and paying fifteen cents
                per folio of one hundred words for such copies or extracts.
     I',y,mt,,f    Sm.c. 96. Every lawful demand upon the treasury, duly
     dl,,,n,~,. audited as in this chapter required, shall in all cases be
                paid on presentation, and canceled, and the proper entry
                thereof be made, if there be sufficient money in the treasury
                belonging to the fund out of which it is payable; but if there
                be not sufficient money belonging to said fund to pay such
                demand, then it shall be registered in a book to be kept by
                the .rileasurer for that purpose, showing its number, wvhen
                presented, date, amount, name of the original holder and ol
                what account allowed, and out of what fund payable, and
                being so registered, shall be returned to the party present-
                ing it? ivith an indorsement of the word 'Registered," dated
                and signed by the Treasurer.
     i,,,.,..      SEC.
                   &c. 97. Whenever any audited demand has been pro-
                sented to the Treasurer and not paid, and it be made known
       tN,,,,t,,,
     ....  t"', to the1President of the Board of Aldermen, hie slhll )ro-
                ceecd immediately to investigate the (!ause for such non-
                payment, and if it be ascertained that the demand has been
                illegally and fraudulently apl)roved or allowed, he shall cause
                the olicer guilty of such illegal and fraudulent approval or
                allowance to be suspended and l)rocceded against for mis-
                conduct in oflice. If he ascertains that theldemand has
                been duly audited, and that the Treasurer has funds appli-
                cable to the payment thereof, which, without reasonable
                grounds for doubt as to the legality of such payment, lie
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 39 of 88

                            TWENTY-FIFT]IT   SESSION.

        refuses to apply thereto, he shall proceed against him as a
        defaulter. If it be ascertained that the demand was not paid
        for want of funds, then Ihe shall cause the TaLx Collector, or
        other officer or person who ought to have collected or to have
        paid the money into the treasury, if they have been grossly
        negligent therein, to be proccede(d against according to law
        and without dlay.
           SEc. 98. The Treasurer, for all money received into the IlecIt, for
        treasury, and all other officers of suehi city, or city and county, mce,,s.
        receiving money from the treasury for disbursement, sha'll
        give receipt for all moneys by them received, which receipt
        shall be presented to and countersigned by the Auditor.
         whe Auditor, before countersigning any such receipt, shall Numbeicrinig
                                                                            iftid
                                                                                coult ,.

        number it and make an ontry ill a book of record, to be kept sig,,,,g
        in his oftice for that purpose, of the number, date, and ,ilts.
        amount, by whom and in whose favor given, and on what
        account. No such receipt shall be valid as evidence in favor
        of the person or officer receiving it till lresented to the
        Auditor and countersigned as aforesaid; and any person or
        olicer using or offering to use such receipt as evidence in
        favor of such person or officer, of the )aymcnt specified in it,
        without being first countersigned as above required, shall
        forfeit to such city, or city and county, double tile amount of
        money specitied in such receipt.
           SEc. 99. If any lperson feel aggrieved by the decision of up,,ty
        the Auditor, or other proper officer or officers of such city, or aii,,tT
        city and county. excelit the l3Oard of Elucation, in thle rejec-          tIcr.
        tion of or refusal to approve or allow any denand upon tile
        treasury lresented by such person, he may appeal and have
        the same passe(l upon by the Municipll Council, whose
        decision thereon shall be tinal; and if the said Council shall
        al)prove and allow tile demand, it shall afterwards he pre-
        sented to the Auditor, and entered in the proper book, in
        like manner as other demands allowed by him, and an
        indorsement must be made of its having been so entered
        before it can be paid; but nothing herein contained shall be
        construed to bar the party presenting the claim from prosv-
        cuting the same in any Court of competent jurisdiction;
        provided, that from tile decision of the President of the Board
        of Education and Superintendent of Schools, refusing or not
        aigreeing to allow any demand payable out of the School
         S.und, the a)leal shall be taken to the Board of Education,
        whose decision shall be final; but nothing herein contained
        shall be construed to bar the party presenting the claim from
        prosecuting the s1ac in any Court of competent jurisdiction.
           Sic. 100. In all eases of such appeals to tile Mulnicilpal Oinio ,I
        Council, or the Board of Education, if, in the opinion of said ,.
        Council or of said Board demed expeldient, tile opinion of
        the City or City and County, Attorney shall he required, and
        obtained ill wr iting, read, and tiled; and upoln such appeal,
        and in all other cases upon the alpproval or allowance of any
        demand upon the treasury or School Fund, the vote shall be
        taken by "yeas" and "nays," and entered upon tile records.
           SEc. 101. The President of the Board of Alderlen, in
        conjunction with the Auditor and the Chairman of tile
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 40 of 88


       136J                             STATUTES OF CALIFORNIA,
       Ex,,,,.      House of Delegates of such city, or city and county, shall,
         'renir
       ofr          every month, examine the 1)ooks of th Treasurer and other
       offi lr      officers of such city, Or city and county, having the collection
                    and custody of the public funds, and shall 1)e permitted, and
                    it slall be their duty, to see and count over all the moneys
                    remaining in the hands of such rllreasurer, or other officer
                    after having plreviously ascertained the amount which
                    should be remaining in his hands. The Finance Committee
                    shall, also, twice a year, viz., on the first Monday in July and
                    January, make the same examination of books, count said
                    money, and report the result to the Municipal Council. If
                    they ascertain clearly that such Treasurer, or other officer, is
                    a defaulter, they shall forthwith take possession of all funds,
                    books, and papers belonging to such office, and the President
                    of the Board of Aldermen shall appoint a person to fill the
                    same until the said defaulting oflicer can be proceeded
                    against according to law, which shall be done without delay,
                    and until the said officer shall be restored to duty or office
                    or until his successor shall be appointed, or elected and
                    qualified. Theperison so apploinited shall give bonids aldtake
                    the oath of office in the samec manner as was required of the
                    officer whose p~lace lhe is appointed to fill. If the Trreasuirer,
                    or other ollicer so diseha rged as defaulter, be acquitted
                    thereof, he shall resume his (uties.
       0o twelfth      SEC. 102. Neither the Municipal Council, the Board of
       itw.         Education, nor any other Board, commission, committee,
                    officer, or person, shall have power to authorize, allow, con-
                    tract for, pay, or render payable, and they are prohibited
                    from authorizing, allowing, contracting, paying, or rendering
                    payable, in present or future, in any one month, any demand
                    or demands, liability or liabilities, against the treasury of
                    such city, city and county, or the funds thereof, which shall,
                    in the aggregate, exceed one twelfth part of the amount
                    allowed by laws existing at the time of such contract, author-
                    ization, allowance, payment, or liability, to be expended
                    within the fiscal year of which said month is a part; provided,
                    however, that if, at the beginning of any month, any money
                    remains unexpended in any of the funds set apart for main-
                    taiming the municipal government of such city, or city and
                    county, and which might lawfully have been expended the
                    prece~ling month, such unexl)ended sul or sums may be
                    carried forward and expended by order of the Municipal
                    Council, for the same purpose allowed by law in any suc-
                    ceeding month of the fiscal year. All contracts, authoriza-
                    tions, allowances, )avments, and liabilities to pay, made or
                    attempted to l)e ma(le, in violation of this section, shall be
                    absolutely void, and shall never be the foundation or basis
                    of a claim against the treasury of such city, or city and
                    county ; and all oflicers of such city, or city and county, are
                    hereby charged with notice of the condition of the treasury
                    of such city, or city and county, and the extent of the claims
                    against the same.
                      Smcc. 103. It is the duty of the Superintendent of Streets
                    to keel) an exact account of all street and sewer work upon
                    accepted streets, and it shall be the duty of the Building
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 41 of 88


                           TWENTY-FIFTII SESSION.

       Committee to keep an account of all work done on all public ,,ui'of
                                                                        ,idr
       buildings, and every other expenditure chargeable against the v.,m,
       treasury in any of the departments under charge of said                    law.

       Building Committee and officers; and it is the duty of the
       Superintendent of Schools the President of the Board of
       Edfication, the President o? the Board of Fire Commission-
       ors, the President of the Board of Election Directors, the
       President of the Board of Police Commissioners, and every
       other officer and Board having the power to contract any
       demand, or to aid in the contraction of any demand against
       said treasury, to keel) an exact and full account of all pur-
       chases, expenditures, and liabilities made or contracted in
       their respective departments; and for the purpose of making
       such accounts, said officers shall hav'e power to demand and
       receive from every other city, or city and county, officer
       detailed statements in writing, whenii necessary to keel) said
       accounts, and it is hereby made the (luty of any and all
       officers to furnish said statements when demanded; such
       accounts shall be constantly posted up to date, so that it can
       be known exactly at any time what part or proportion of the
       monthly sum allowed by this chapter and existing laws has
       been contracted for, paid, oi' rendered liable to pay in tie
       present and future. Such accounts shall show every con-
       tract for street and sewer work, public buildings, purchases
       of material, or supplies, or other expenditure, in whatever
       department it is made, from its incipiency through the
       various stages of progress -o completion, with the amount
       to be paid for the same so far as the same is capable of exact
       estimation, and when not, then a sworn estimate by the
       proper officer of the probable cost. Whenever, at any time,
       the contracts performed or un)erformed, claims due, or to
       become due, exceed said one twelfth part of the amount that
        can be lawfully expended out of any fund in the current
        fiscal year, the President of the Board, head of department,
        or other officer or Board having the supervision of such
        exl)en(liture, slall give notice thereof in writing, as to his
        or their department, to the Auditor, and the Treasurer, and
        to the Municipal Council, a notice in writing, served upon
        the clerks of each branch thereof, and shall post time same
        in his or their office, from which time no further contracts
        shall be made, or expenditures authorized or allowed, until
        such time has elapsed as will allow of further proceedings
        consistent with the provisions of the law.
          SEC. 104.   Any failure or neglect on the part of any of said J",,alty for
        officers or Boards, or members of Boards, to comply 'ith ally            0.1
        of the provisions of the preceding sections, shall render such     ',.

        officer, and each member of such Board consenting thereto,
        liable personally and upon his official bond to any contractor,
        or other )erson, suffering damage by said failure or neglect;
        but such contractor or person damaged shall have no remedy
        against such city, or city and county, and the said otlicers or
        members of Boards autmorizig or ai(ing to authorize, audit-
         ing or allowing any claim or demand up on or against said
        treasury, or any fund thereof, in contravention thereof, slall
        be liabl e in plemson and on his official bond to the contractor
                     180
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 42 of 88


                                        STATUTES OF CALIFORNIA,

                      or person damaged, to tie extent of his loss. The Treasurer
                   paying any claim authorized, allowed, or audited, in contra-
                   vention of the provisions thereof, shall be liable on his
                   official bond to refund the same to such city, or city and
                   county, and it shall be the duty of the City, or City and
                   County. Attorney to sue for the same, if necessary.
      Except on to    SEC. 105. In case of any great public calamity or danger,
      ,,,ti,,, such as earthquakes, conflagrations, pestilence, invasion,
      Iw.          insurrection, or other great and unforseen emergency, the
                    lrovisions of the three preceding sections may be tempora-
                   rily suspended, as to any lawful contract, authorization, or
                   expenditure necessary to avert, mitigate, or relieve such evil;
                   prorided, that such expenditure, contract. or authorization
                   shall be passed by the mnanimous vote of a)l members elected
                   or appointed to each house of the Municipal Council, and
                   entered in the journals of each house, and the character and
                   fact of such emergency must be recited in the ordinance
                   authorizing such action; and such ordinance must be ap-
                   proved by the Mayor, Auditor, and Treasurer of such city,
                   or city and county.
      u,,,-,tl,I,
      Prnti,,guig:d     Si c. 106. All city, or city and county, official
                                                                  fiia    printing
                                                                           rntn    and
                                                                                    n
             I.
            Vat       advertising, for all departments thereof excepting that of
      tOIlowt         the Sherilr's office, shall be let by the Municipal Council
      bhhddr.         during the month of January of each year, to the lowest
                      res)onsible bidder, printing, )ublishing, and prol)osing to
                      advertise in a newspaper of general circulation in such city,
                      or city and county, and that has been in existence at the
                      time of the letting of said contract at least three years ; and
                      procided, that any such newspaper may bid for the whole or
                      any part of the advertising. Ilie bids shall be opened by the
                      Board of Aldermen, and all bidders may be present thereat.
                      No bid shall be considered in which there shall be any
                      erasure or interlineation. All such contracts, when awarded,
                      shall be entered into and bonds taken by the Clerk of the
                      Board of Aldermen, in such sunm and containing such con-
                      ditions as the Board of Aldermen shall provide.
      ('ontrcts,         SEc. 107. All contracts relating to city, or city and county,
                      affairs,
       "0"'"'                  shall be in writing, signed and executed in the name
                      of the city, or city and county, by the ollicer authorized to
                      make the same; and in cases not otherwise directed by the
                      law, such contracts slall be made and entered into by the
                      Mayor. All contracts shall be countersigned by the Auditor
                      and registered, by number and dates, in his oflice, in a book
                      to be kept by him for that purpose. Il all cases of letting
                      contracts to bidders, when for any reason a contract fails of
                      completion, new bids shall he invited, opened, and awarded,
                      as l)rovided in this chapter in the first instance, until a suffi-
                      cient contract is executed. In all cases when the Board of
                      Ahlei'mn have reason to think the l)rices too high, or that
                      bidders have combined tcgether to prevent genuine biddin,
                      or for any reason that the public interests will be subserve(,
                      it may, in its discretioi, reject any and all bids, and cause the
                      same to be readvertiscd. The provisions of this Act, as to
                      bids and contracts, shall he enforced by the Municipal Coun-
                      cil by appropriate ordinances as to all bids, proposals, and
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 43 of 88

                        TWENTY-FIFTII        SESSION.

     contracts with such city, or city and county, or any depart-
     ment thereof.
                               ARTICLE IV.
                           FXECUTIVE   I)EPART31KNT.


        SEC. 118. The Mayor shall be the chief executive officer; tions id
     shall be a qualified voter, at least twenty-flive years of age,,,or
     and shall lave been a citizen of the United States, and of ,Iyor
     this State, and a resident in such city, or city and county, for
     three years. It shall be his duty vigilantly to observe the
     oflicial conduct of all public olicers of such city, or city and
     county, and to take note of the fidelity an(1 exactitude, or
     the want thereof, with which they execute their duties and
     obligations especially in the collection, custody, adminis-
     tration, and disbursement of the public funds and property,
     for which pl)urose the books, records, and oflicial paleers of
     all Boards, olicers, and magistrates of such city, or city and
     county, shall at all times be open to his inspection. He shall
     take especial care to see that the books and records of all
     such officers are kept in legal and l)rol )er form; and any
     official defalcation, or willful neglect of duty, or ollicial mis-
     conduct which he may have discovered, or which shall have
     been reported to him, shall at the earliest op)portunity be
     laid before the Municipal Council, and before the Grand
     Jury, in order that the public interests shall be )rotected and
     the oflicer in default be proceeded against according to law.
      He shall, from time to time, give the Municipal Council
     information relative to the state of such city, or city and
      county, and shall recommend to their consiedration such
      measures as he may deem expedient in the interests of the
      city. He shall take care that the laws of the State and the
      ordinances of the Municipal Council are enforced.
         SEC. 119. Whenever and so long as the M[ayor, from aly htyor plo
      cause, is unable to perform his official duties, the Board of hli,,ohi.
      Aldermen shall designate one of their number as Mayor
      pro tempore, who shall perform the same.
         SEC. 120. The Mayor may, by due notice, call special s-4"19(.
      sessions of the Municipal Council, and shall specially slate ,ucI.
      to them, when assembled, the objects for which they have
      been specially convened, and their actions shall be confined
      to such objects.
         SEc. 121. Tile Auditor shall be the head of the linance 1,,too
      department of such city, or city and county, and as such .\,ltr.
      required to be constantly acquainted with the exact condi-
      tion of the treasury, and every lawfl (lemand upon it. le
      shall keel) a public ofhice, and give his personal atteidanlee
      there daily during the office hours fixed in this chapter, and
      shall not follow or engage in any other occupation or calling
      while lie holds said oflice. If lie absenlts himself from his
      office during such oflice hours, except on indisplusalle olicial.
      business or urgent necessity, lie shall lose his salary for the
      day; and it shall be a part of his ollicial duty to keel account
      of the times and occasions when lie shall be so absent fron
      duty. le shall be the general accountant of such city,.or
      city and county, and as such it shall be his duty to receive
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 44 of 88

        140                           STATUTES OF CALIFORNIA,

                    and preserve in his office all accounts, books, vouchers, docu-
                    ments, and papers relating to the accounts or contracts of such
                    city, or city and county; its debts, revenues, and other fiscal
                    affairs, and to adopt a proper mode and manner of double
                    entry bookkeeping, and keep the accounts of such city, or
                    cityr and county, general and special in a systematic and
                    orderly manner. He shall state and render all accounts
                    filed or kept in his office between the city and other persons
                    or body corporate, except when otherwise provided by law or
                    ordinanc        He shall have power to administer oaths, and
                    shall re(i ,, e settlements of accounts to be verified by affida-
                    vit whenever he thinks proper. He shall be responsible for
        ],utle of   all acts of his employ6s.
            ...
        iitl's         SEc. 122. The Treasurer of such city, or city and county,
                    shall receive and safely keel) in a secure fireproof vault, to
                    be prepared for that puriose, all moneys belonging to or
                    which shall be paid into the treasury, and shall not loan, use,
                    or deposit the same or any )art thereof to or with any banker
                    or other person, nor pay out any part of said moneys except
                    on demand authorized by this chapter, and after they have
                    been duly audited. He sll keep the key of said vault, and
                    not suffer the same to be opened except in his presence. At
                    the closing up of the same each day lie slall take an account
                    and enter in the proper book the exact amount of money on
                    hand, and at the end of every month he shall make and
                      'iblislh a statement of all receipts into and payments from
                    the treasury, and oni what account. If lie violates any of the
                    provisions of this section lie slall be considered a defaulter
                    and shall be deemed guilty of a misdemeanor in office, and
                    be liable to removal, and shall be proceeded against accord-
                    ingly. If he loan or deposit said moneys, or any part thereof,
                    contrary to the provisions of this section, or apply the same to
                    his own use, or the use of any other person, in any manner
                    whatsoever, or suffer the salne to go out of his persoiial
                    custody, except in l)aynent of audited demands upon the
                    trcasury, lie shall be deemed guilty ot a felony, and, on con-
                    viction thereof, shall suffer imprisonment in theState Prison
                    for a period not less than three months nor more than ten
                    years.
         i,,tte of     SEC. 123. The Treasurer slall keel) the money belongiig
        'rit,,urer. to each fund separate and distinct, and shall in no case pay
                    demands clargeable against one fund out of moneys belong-
                    ing to another, except as otherwise provided in this chapter,
                    without aii express ordinauce of the Municipal Council, which
                    can only be made during or after the end of the third cuarter
                    of the fiscal year, by a vote of two thirds of each flouse.
                    The ',aid Treasurer shall give his per'sonal attendance at ]his
                    public office, during the office hours fixed by this chaptlr,
                    aiid if lie be absmnt himself therefrom, except on account of
                    sickn ss or urgent iiecessity during such office lour3, lie shall
                    lose his salary for the entire day on which lie was absent.
        Dutleo         SEc. 124. 'The County Clerk of such city and county shall
        Cle'rk.     take charge of and safely keep , or disp~ose of according to law,
                    all books, papers, an recor ls, which are or may be filed or
                    deposited in his otfice, and of all the Courts of which he is
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 45 of 88
                            TWENTY-FIFTII     SESSION.

       Clerk ;and he shall not -allow any paper, files, or records to
       leave his custody, except when required by the Judges of the
       Courts, to be used by them or any of them.
         SEC. 125. No Judge or officer of any Court shall make any original,
                                                                      pa lvri; ,not t.,

       order for the delivery by the Cou ,ty Clerk of such city anl ho prthicd
       county, of any paper, files, or records in his custody, except il".1111,
       bills of exceptions and statements on motion for a new trial; m,,,well.
       nor shall the Courts, or Judges thereof, have any power to
       make orders for the delivery of any certificate cf incorpora-
       tion, bonds, or other papers, filed with the said County Clerk.
       Whenever any of said papers are required for evidence in
       any of the Courts within such city anl county, the County
       Clerk or his deputies, shall produce the same, undler subpcet
       or order of the Court, or furnish certified copies of the same
       on application, on payment to said Clerk for said copy, at the
       rate of ten cents per folio for each hundred words, which
       shall be paid into the city and county treasury by him.
          SEc. 126. Neither the County Clerk nor any of his depu- t,,,  Clerk ,not to
       ties shall be required to attend as witnesses, in their otficial attendas
       capacities, outside of such city and county, except in criminal H"'"' .t
       cases, unless his expenses be paid, at the rate of ten cents per ls hi'
       mile to and from the place where he may be required, and .
       three dollars a (lay for each day's attenlanee. A sufficient
       number of deputies shall be assigned by him as Court-room
       Clerks, to the various Courts of which lie is the official Clerk,
       while such Courts are in session, and to do duty in the office
       when such Courts are not in session. He shall transfer such
       deputies to duty in Court, or at his office, as the exigeney of
       the service may require, so as to efficiently perform the work
       in the most economical manner possible.
         SEc. 127. On the commencement in or removal to tile Fe"t for law
       Superior Court of such city and County of any civil action or ran. 'I
       proceeding, lie shall collect from the plaintiff, or party insti-
       tuting such proceeding or filing the first papers therein, the
       sum of one dollar, and pay over tile same at the end of each
       month to the Treasurer of tie law librarv provided for in
       this chapter; and the payment of tile sum of one dollar shall
       be a condition precedent to the commencement of such action
       or proceeding, for which sum so reqiiled to be collected, lie
       amd his sureties shall be responsible oii his otficial bond.
          Smic. 128. The Tax Collector, upon tile final settlement to T\           A.,
        be made by him as such Tax Collector, according to the ,Ig,
        requirements of the law, shall be charged with, and shall ,,os
        pay into the hands of the Treasurer, the full amountbyofhim  all c,,,ing,,to
        taxes paid to him under protest or otherwise, or                 h11hads.
        collected and not previously paid over, without any deduction
        cf commissions, fees, or otherwise ; he shall also be charged
        with and be deemed debtor to the treasury for the full amount
        of all taxes due upon the delinquent list delivered to him
        for collection, unless it, be made to. appear that it was out of
        ]is power to collect the same by levy and sale of any property
        liale to be seized and sold therefor. If tile impossibility to
        collect any portion of such delinquent taxes have resultedl
        from such negligence or defects in such assessment caused by
        the willful misconduct of tihe Assessor, then the Assessor
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 46 of 88

       142                              STATUTES OF CALIFORNIA,

                      whose duty it was to make the assessment slall be liable and
                      be deemed debtor to the treasury for the amount remaining
                      uncollected for that cause.
       Ehctli of        SEc. 129. There shall be elected by the qualified voters
       ii^ d.         of such city, or city and county, at the general State elec.
                       tion, an Assessor, who shall take office on the first Monday
                      after the first day of January next following his election,
                      and hold for the term of four years, and until his successor
                       is elected and qualified. It shall be his duty to assess all
                       taxable property within such city, or city and county.
       Shrtyff            SEc. 130. The Sheriff shall attend in person, or by deputy,
       slrt. f.      "all the Courts in and for such city and county, except the
                      Police Courts. He shall obey the lawful orders and direc-
                      tions of such Courts, and in ail other respects conform to the
                      laws regulating Sheriffs in this State.
       I",'              SEC. 131. The Recorder of such city and county shall
       I¢ec'jd"'      have the custody of all books, records, maps, and papers
                      deposited in his office. Ile, or his chief deputy, when any
                      papers are presented for registration, or to be copied, shall
                      write on the margin of each paper so presented, the number
                      of folios paid for, and shall, in his monthly return to the
                       rl   er,   certify un der oath the number of folios copied
                      or registered l)y each (luty or copyist appointedl by him ;
                      and such certificate of the Recorder or his chief deputy shall
                      be conclusive evidence to atuthorize the Auditor to audit such
                      certified accounts of such deputies or copyists monthly. He
                      shall appoint as many copyists as le shall deem niecessary to
                      the propee discharge of the duties of his office, who slill be
                      paid at the rate of twelve cents per folio of one hundred words
                      for all matters registered or copied by them respectively
       Duties,          SEC. 132. Tile )istrict Attorney is tile public prosecutor,
        DttortiCy.    and shall be an attorney of the Supreme Court, and shall
                      attend the Superior Court of this State, in and for such city
                      and county, and such      other Courts as may be hereafter
                      established in and for the same, and conduct therein, on
                      behalf of tile people, all prosecutions for public offenses. He
                      shall perform such other duties as are prescribed by law.
       City j,,d         SiE. 133. The City, or City and County Attorney, shall
        'ny"          be an attorney of the Supreme Court, and shall prosecute
       ,A,.,Ly.       and defend all suits and alctions at law and in equity, and
                      conduct all legal proceedings, in the Courts and elsewhere
                      necessary to preserve and protect such city's or city and
                      coulty's, rights, whether such suits or proceedings be con-
                      dueted in the n'ame of such city, or city and county, or in
                      tle miame of others. Ile shall give legal advice to the city
                      government, and all the oflicers, Boards, and departments
                      thereof, when required so to do, and perform such other
                      duties as such attorney as tile Municipal Council shall from
                      time to time prescribe. le shall kee )in his office well bound
                      books of registry, in which shall he entered and kept a
                      register of all actions, suits, and proceedings in which such
                      city, or city and county, is interested. Each outgoing City, or
                      City and County, Attorney shall deliver such books and all
                      other records, law reports, quarterly re)orts from Municipal
                      Boards and officers, documenits, statutes, papers, furniture,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 47 of 88

                           TWENTY-FIFT11   SESSION.

         and property, in his possession, to his successor in oflice, who
         shall give him duplicate receipts therefor, one to be filed in
         the office of the Auditor and one to be retained by the out-
         going City, or City and County, Attorney.
           Sivc 134. The Public Administrator of such city, or city V,,di,
                                                       r.        I      I   IIINt
                                                                                llr
                                                                                  I'll
                                                                                    ,


         and county, shall be subject to tie orders of the Superior tr.
         Court in and for such city, or city and county, aLnd shall
         perform all the duties prescribed by law.
            SiC 135. The Coroner of such city, or city and county, ],t,,,,
         in addition to the duties imposed by law upon every Coroner,
         shall keel a record of all inquests 11o1(1 by him, with a copy
         of all testimony and the inquisition of the jurors inl full; and
         in case of loss of the origiml records, the same shall be
         admissible in evidence with like effect as tile original would
         have been. le may allpoint such del)uties,an(l a messenger
         or messengers, as are allowed in this Act, or as may be
         hereafter allowed by the Municipal Council of such city,
         or city and county. lHe shall roceive no fees for any services
         rendered by him.
            SEc. 136. The Superintendent of Streets shall keep a """
          )ublic office, in some convenient place, to be desiglate(I by     -lit,,r
         the Municipal Council. His oflice shall be kept open as in "I"uts.
         this chapter provided. Ile shall not, during his continuance
         in oflice, follow any other profession or calling, but shall be
         require(d to devote himself exclusively to tile duties of his
         said office. He shall have under his special charge the con-
         struction, reconstruction, repairing, and cleansing of all
         public sewers, manholes, sinks, drains, cesspools, anid of the
         public streets, Ihighways, alleys, Idaces, and squares, except-
         ing the parks. It shall be ils duty to see that tile laws,
         orders, and regulations relative to the public streets and
         highways, alleys, places, and squares. are carried into execu-
         tion, and that the penalties therefor are rigidly enforced, as
         may be prescribed by the Municipal Council. le shall keep
         himself informed of the condition of all public streets,
         highways, alleys, places, and squares; alld should 1,1fail to
         see that the laws, ordinances, and regulations relating to
          the public streets, highways, alleys, places, and squares, are
         carried into execution, after notice from any citizen of a
         violation thereof, such Superintendent and his sureties shall
          be liable upon his ofllicial bond to any lperson injured in
         person or )ro erty by such official neglect.
            SEc. 137. The .City, or City and County, Surveyor shall be I,,l,,
          Engineer-in-Chief of such city, or city anl county, and of the ''
         sewerage system; shall make all necessary plans, surveys,
         malps, and drawings, and otho..r necessary tdhings, and keel)
         the same in his office; and all such maps, plans, machinery
         and drawings shall 1)0 the property of such city, or city and
         county, and remain inithmollice, anmd 1)e transferred by tIme
         outgoing to the incoming officer. lie shall do all necessary
         surveying and engineering for time streets, alleys, highways,
         and squares, at the request of the Municipal ICouncil, or of
         any committee appointed by either branch of time same, and
         all or any other surveying and engineer work that such
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 48 of 88

      144                              STATUTES OF CALIFORNIA,

                   city, or city and county, may require, and of the public
                   parks, at the request of the Park Commissioners. I
      Appoit.         SiEc. 138. Within twenty (lays after their first meeting,
      h,1tor of    the Municipal Council of such city, or city and county, shall
      Lc..s..nod appoint       a suitable person as Collector of Licenses of such
      Weld,,tic.appitasial.e
                   city, or city and county, who shall hold office for two years
                   from and after his appointment, and until his successor shall
                   be appointed and qualified. In case of a vacancy occurring
                   by death or otherwise in the office of the Collector of Licenses
                   of such city, or city and county, holding his office under the
                   provisions of this chapter, the same shall be filled for the
                   remainder of the unexpired term by appointment of the
                   Board of Aldermen; and in case of the inability of said Col-
                   lector of Licenses to act, his l:ace shall, in the same manner,
                   be temporarily filled until such disability is removed. The
                   Collector of Licenses and his deputies are hereby authorized,
                   empowered, and required to collect all the municipal licenses
                   now required to be collected, or which shall hereafter be
                   required to be collected by them, or either of them; and
                   it shall be the duty of said Collector of Licenses, and his
                   deputies, or assistant Collectors, to attend to the collection
                   of licenses, and examine all places of business and persons
                   liable to pay licenses, and to see that licenses are taken out
                   and )aid for. They shall each have and exercise, in the
                   performance of their official duties, the same powers as police
                   officers in serving process or summons, and in making
                   arrests; also, shall each have and exercise the power to admin-
                   ister such oaths and affirmations.as shall be necessary in
                   the discharge and exercise of their official duties; and they,
                   and each of them, are hereby empowered to enter any place
                   of business for which a license by law is provided and
                   required, free of charge, at their pleasure, and to demand
                   the exhibition of any license for the current time from any
                   person, or firm, or corporation engaged or employed in the
                   transaction of any business for which a license is by law
                   rendered necessary; and if such person, or firm, or corpora-
                   tion, or either of them, shall be unable, or refuse, or neglect,
                   or fail to then and there exhibit such license, he, she, or they,
                   as the case may be, shall be deemed guilty of a misdemeanor,
                   and, on conviction thereof, shall be punished accordingly.
                      SEc. 139. The Collector of Licenses shall daily pay to the
                   Treasurer of such city, or city and county, all moneys so col-
                   lected for licenses sold, or by him received as fees; and shall,
                   under oath, at least once in each calendar month, and oftener
                   when required so to do by the Auditor, make to the Auditor
                   a report of all such licenses sold and on hand, and of all
                   amounts so paid to the City or City and County Treasurer;
                   shall at such time exhibit to the Auditor all unsold licenses
                   in his hands, and the Treasurer's receipts for all moneys paid
                   into the treasury; and all licenses so signed by the License
                   Collector, or )eputy License Collector, or either of them,
                   shall be as valid as if signed by the City, or City and County,
                   Treasurer. All fees so paid 'to him shall be placed to the
                   credit of the proper fund by the Treasurer.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 49 of 88

                            TWENTY-FIFT1I    SESSION.

          SEC. 140. The Department of Police of such city, or city Deparlment
                                                                   ofPlCo.
        and county, shall consist of:
           First-A Board of Police Commissioners of such city, or 1,1'" col,,
        city and county, consisting of five members, each of whom
        shall be a qualified voter, at least thirty years of age, and ,Iv,,,,ti
        shall have been a citizen of the United States and of this
        State, and a resident of such city, or city and county, for five
        years next preceding his'appointment, four of whom shall be
        appointed by the Governor and Chief Justice of the Supreme
        Court of the State of California, within thirty days after the
        organization of such city, or city and county, under this Act,
        and who shall hold oflice for the term of four years from
        and after the first Monday next succeeding the late of their
        appointment, and until their successors are appointed and
        qualified; and in the ionfli next preceding the expiration
        of the said term, and every four years thereafter, the said
        Governor and Chief Justice of the Supreme Court shall
        appoint their successors, who shall hold office for the term of
        four years from and after the first Monday next succeeding
        the (late of their appointment: but in making such a)point-
        inents, the said Governor and Chief Justice shall select two
        qualified persons from each of the two dominant national
        political parties. Vacancies that may occur in the       oflice of v,,,,,,oo,
        any of the members so apl)ointed shall be filled by ap)oint-
                                                                           how filld.
        ment by said Governor and Chief Justice, of some suitable
        person of the same political larty as that to which the last
        incumbent belonged, and for the remainder of the vacant
        term only. The four members apl)ointed, as hereinbefore -Metigof
        provided, slall meet in such city, or city and county, on the     ei.l.

        first Monday next succeeding the (late of their appointmllnt,
        and shall forthwith organize by electing one of their number
        President, and slall appoint the other member of said Board
        who shall be the Chief of Police of such city, or city an(d
        county. Every member of said Board shall, beforelhe enters
        upon the duties of his oflice, take and subscribe the following
        oath or affirmation : "I do solemnly swear (or affirm, as oat,.
        the case may be) that I will support the Constitution of time
         United States anA the Constitution of the State of California;
        that I will faithfully discharge the duties of Police Com-
        missioner according to the best of my ability; and that in
        the discharge of my duties I will make no appointment to
        or removal from the police force for political or partisan
        reasons; and that I will, to the best of my ability, discharge
        the duties of said oflice impartially ailil uninfluenced by
        political considerations, or any consideration other than that
        of the public good." Every member of said Board       who forshall   ,
                                                                       the Hoard.
        absent himself from such city, or city and county,
        continuous period of sixty days, shall, by force thereof, cease
        to be a Police Commissioner, and his office shall become
        vacant. No member of said Board shall be eligible to any
        other office during his incumbency of the office of Police
        Commissioner. No member of sail Board shall, during his
        term of office, be a member of any convention, the purpose
        of which is to nominate candidate3 for office, nor act as a
        Judge, Inspector, Clerk, or officer of any election, or primary
                    190
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 50 of 88
       146                            STATUTES OF CALIFORNIA,
                °
        )rdot8.
            o   election, or take     ])art in any election except to deposit his
                    vote; nor shall any member of said Board, directly or indi-
                    rectly, influence, or attempt to influence or control, the
                    political action of any member of the police force of such
                    city, or city and county, or any employ6 of said depart-
                    ment; nor shall any mcmbcr of said Board collect, or suffer
                    to be collected, from any member or employe of said
                    department, any assessment or contribution for political
                    purposes. A violation of any of the provisions of this section
                    shall be a misdemeanor, and shall be cause for the imme-
                    diate removal from officc of the person guilty of such
                    violation. The said Board shall hold sessions at least once
                    a month in the oflice of Chief of Police, or in such other
                    convenient place as the Municipal Council of such city, or
                    city and county, slall designate, or in case of emergency, at
                    such place as it shall select, and the Clerk of the Chief of
                    Police, hereinafter l)rovided for, shall act as Clerk of said
                    Board. Every member of said Board, and the Clerk of said
                    Board, shall have power to administer oaths in all matters
                    pertinent to the business of their respective offices, and in all
                    investigations pending before said Board, or any member
                    thereof. The said Board shall keep a record of its pro-
                    cedings. The said Board shall have power:
        . of
       Po~vor          1. To appoint, suspend, or remove any person from the
       Board.       police force of such city, or city and county; provided, how-
                    ever, that the Chief of Police shall only be removable in the
                    manner provided by law for the removal of other municipal
                    officers.
       Preficribo     2. To prescribe all needful rules and regulations for the
                    control, government, and discipline of said police force, and
                    from time to time to alter or repeal the same, and prescribe
                    penalties for the violation of any of them.
       Dotormno       3. To hear and summarily determine all complaints of
                    misconduct, inefficiency, or other charge against any member
                    of said police force, and to take such action thereon as shall
                    be conducive to the maintenance of the discipline and effi-
                    cieney of the same.
       oGrat          4. T o grant permits to all persons desiring to engage in the
       pornlts      retail liquor business in such city, or city and county, and to
                    revoke any such permit whenever it shall be made to appear
                    to said Board that the retail liquor business of the person to
                    whom such permit was given is conducted in a disorderly or
                    improper manner, or whenever it shall be made to appear
                    that the person to whom such permit was granted has, after
                    the grant of such permit, been convicted in the Police or
                    other Court of such city, or city and county, of disorderly or
                    impropcr conduct, or of the commission of any criminal
                    offense upon the premises whereon such retail liquor busi-
                    ness is conducted; provided, howvemr, that whenever said
                    Board refuses to grant such permit, or proposes to revoke
                    such permit, the person who is refused such permit, or whose
                    1)ermit is proposed to be revoked shall be entitled to be heard
                     )efore said I3oard in person or through counsel, and to have
                    free of charge all reasonable facilities for the full, fair, and
                    impartial hearing on the merits of his application or opposi-
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 51 of 88

                               TWENTY-FIFTI     SESSION.

          tion. In such permit shall be distinctly stated and described
          the name of the person to whom tile same is given, and the
          premises on which such retail business is proposed to be
          carried on.
             5. Upon the petition of an person, firm, or corporation, to Appoint
          appoint a special officer to (?0 special service to be paid for ?j,.,I
          by such person, firm, or corporation, specifying the bound-
          arv or locality at or within which ]ic is to act as such special
          officer, which boundary or locality shall be described in his
          warrant of appointmenti proied(l, that no special officer
          shall be appointed to act in aniy part of such city, or city and
          county, commonly known as tile Chiicsc quarter; and pro-
          vided' farther, that all special officers shall report daily to the
          Chief of Police, and be subject to his orders in case of emer-
          gency; and in no event shall such officers be paid by such
           city, or city and county.
               'T lrescribe time badge of office and uniform to be wornii.
           b3 all members of the police force, amid the badge of office to
           be worn by all special officers.
              7. To allow anl order paid out of the Police Continent ( t goit
           Fund, for contingent expenses, any and all orders signca by " ".
           the Chief of Police ; provided, that the aggregate of such
           orders shall not exceed the sum of seven thousand two hun-
           dred dollars a year, vhich sum shall 17e set apart annually
           in the treasury of said city and county for this purpose.
              8. To appoint substitutes, not to exceed four per cent of,            ,
           the police force, to serve under such regulations, and sub-
           ject to such restrictions as it may prescribe, and without pay
           from such city, or city and county.
              9 To issue sublpicnas, tested in the name of its President) i)se,,i,,et.
           and to enforce obedience thereto, and punish disobedience
           thereof, in the same manner and to the like extent as the
           Justices' Court of such city, or city and county; and to exer-
           cise the same powers as the said Justices' Court in preserv-
           ing decorum in all open sessions of said Board, and to punish
           any contempt committed thereat.
              10, To designate tile prisons to be used for the reception of pi
                                                                for public
                                                                                 ° '
                                                                            D-lit1,,,e
                                                                               mr.
           all persons arrested, convicted, or sentenced
           offenses in cases not provided for by law or by ordinance-
           to establish stations and station houses, or sub-stations and
           sub-station houses, at its discretion, for the accommodation
           thereat of members of the police force, and as places of tem-
           porary detention for persons arrested.
              11. In its discretion, on conviction of a member of the DIcrlio.
           force of any legal offense, or neglect of duty, or violation of arysow,,.
           the rules of the Board, or neglect of or disobedience of
           orders, or incapacity, or absence without leave, or any con-
           duct injurious to the public peace or welfare, or other breach
           of discipline, or immoral conduct, or any conduct unbecom-
           ing an officer, to punish the offening party by reprimand,
           forfeiting and withholding pay for a special time, suspension,
            or dismissal from the force; all such lines shall be imme-
           diately paid into the treasury to the credit of the Police Life
           and Health Insurance Fund.
              12. To issue to every member of the police force a proper
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 52 of 88
       148                                 STATUTES OF CALIFORNIA,

       a. .....h,         warrant of appointment, signed by the President, and coun-
        ,1it.             tersigned by the Clerk of the Board, which warrant shall
                          contain the date of his appointment and his rank.
       sup,iv..              13. To make requisition on the Municipal Council of such
                          city, or city and county, for all supplies or necessaries that
                          may be required in the administration of the department;
                          provided, that the aggregate amount of the same, exclusive of
                          salaries, shall not, in any one fiscal year, exceed the sum of
                          five thousand dollars.
            o 1110.         14. To annually, on or before the first day of August, report
                      to the Municipal Council an estimate of the amount of money
                      that will be required to pay all salaries of the department,
                      and of the amount of money that will be required for the
                      administration and support of the department in such year,
                      specifying in detail the purposes and items for which the
                      same will be required, with the estimated cost thereof, respect-
                      ively.
       Salo of           15. To provide for the custody, care, restitution, sale, time,
       j,,opert).     place, and manner of sale of all property that may come into
                      the possession of the Property Clerk hereinafter provided
                      for.
          ,,.,
            1o           16. To control, care for, and manage the Police Life and
       Intcl.         Health Insurance Fund hereinafter mentioned, which fund
       Fund.          shall consist of the moneys retained from the monthly sal-
                      aries of the members of the police force, fines collected
                      from members of said force and of such other moneys as
                      may be contributed thereto by law, or ordinance, or by gift
                      devise, or bequest, and of all noneys to the credit of said fund
                      at the time said Board shall take office, and to invest the
                      moneys of said fund in such of the following securities as
                      shall seem most safe and profitable, viz.: the bonds of such
                      city, or city and county, the bonds of the State of California,
                      anid the bonds of tl United States of America. The
                      moneys and securities shall be held by the Treasurer of such
                      city or city and county, who shall have no )ower to deposit,
                      pledge, or in any other way )art with the same, except on
                      the order of said Board.
        i1,,,yn.t to     17. To ordler paid, upon the death of any member of the
                0,,,.  police force, out of the Police Life and Health Insurance
                       Fund, to the heirs of such member, the sun of one thousand
                      dollars.
        ltoif)iti,,,     18. To order paid, out of the Police Life and Health Insur-
       ofle.          ance Fund, to any police officer who shall reiign by reason
                       of bad health or bodily infirmity, the amount of the prin-
                       cipal sum which such officer shall have contributed thereto.
         to,,yl,,.,l      19. To order paid, out of the Police Life and Health Insur-
        tent otlceis ance Fund, to any oflicer dismissed for lere incompetency,
                       not coul)led with any offense against the laws of this State,
                       an amount not exceeding one half of the principal which
                       such oflicer may have contributed thereto; provided, that any
                       otlicer dismissel for gross neglect or violation of duty, or
                       upon conviction of any misdcineanor or felony, slall forfeit
                       all claim upon said fund.
        Regitratlon          20. In case said Police Life and Health Insurance Fund
        or (.ld,,.,,,,.    shall not be sufficient to pay the demands on it, to cause such
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 53 of 88
                                 TWENTY-FIFTII    SESSION.

          domands to be registered, ,and to be paid in their order out of
          the fund as received.
             21. When the Police Life and Health Insurance Fund lt,,ay,,ot
          shall exceed the sum of fifty thousand dollars, to allow ald(1 Cl.,i,,
          order paid out of the sam, , o any oflicer who shah I have          r.
          been permanently disabled while in the (lischarge of his duty
          as such oflicer, such sum as in their judgment they shall
          decm pro)er, not to excecd one thousand dollars; lit in no
          case shall said fund be reduced thereby below the sum of
          fifty thousand dollars. Tile President of said Board shall
          receive a salary of three thousand dollars Ir amm. Tie
          other members of sai(d Board shall each receive a salary of
          one thousand two hundred dollars 1)er annun,               )ayal)le
          monthly, at the en(l of cch an(d every month.
               Secemd-A Chief of P..ice, appointed as lercinbefore 1)1o- ch1e of
          vided, who sh.oll have power to select and designate one ',,,, .,,,
          police officer to serve as Clerk to the Chief of Police; onetal*"
          police officer to serve as lh-operty Clerk, who, before entering
          Upon his duties, shall give bond with good and sufficient
          sureties in the sum of ten thousand dollars to such city, or
          city and county, to be al)roved as in cases of other official
          bonds, which bond shiall be filed with the Auditor of such
          city, or city and county; twelve Detective officers, and thirty
          Sergeants of Police. ie shall have the sole and exclusive
          control, direction, and superintendence of the City Prisons
          of such city, or city and( county, an(l may detail to duty
          therein such number of officers'as the exigencies shall require.
          In the suppression of any riot, public tumult, disturbances of
          the public peace, or organized resistance against the laws, or
          public authorities, in the lawful exercise of their functions,
          lie shall have all the powers that now are or may be con-
          ferred upon Sheriffs by the laws of this State; and his law-
          ful orders shall b promptly executed by all police officers,
          and every citizen shall also lcnd him aid, when required, for
          the arrest of oflenders and the maintenance of public order.
           In case of great public emergency or danger, lie may al)point
          an additional number of policemen of apl)roved character
          for honesty and sobriety, who shall have the same powers as
           other police officers, but who shall act without pay. In case
           of imminent danger of riot, or actual riot, or organized resist-
          ance to the laws, hie shall have jiiowr, and it slhall be his duty
           if, in his opinion. the organized p'oice force be insulicient in
           number or unequal in stren gth to preserve the peace and
           maintain public order, to make his requisition on the Gov-
           ernor, or in case of urgency, oii the nearest military coim-
           mnander in the National Guard of California for such military
           force ats may be necessary for the occiasion; and such military
          force shall be placed under his command until the restoration
           of order and tranquillity, or until the Governor declares such
           city, or city and county, in a state of insurrection, as provided
           by law. Ie shall keep a public ollice, which shall be open,
          and at which lie, or in case of his necessary absence, a Captain
           of Police, or Sergeant of Police by him (lesignated for that
           purpose, who shall have, (luring such absence, the same
           powers as are conferred by law upon the Chief of Police, shall
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 54 of 88

     150                            STA'TUTES OF CALIFORNIA,
     1,,,of oW   be in attendance at all hours of the day and night. In case
            Mill of his absence from his office, it shall bc made known to the
           .....
     duie.       Captain or Sergeant of Police in attendance where lie can be
                 found, if needed. He shall designate one or more police
                 officers to attend constantly upon the Police Court to carry on
                 the business, and to execute the orders and process of said
                 Court. He shall command, supervise, and direct the police
                 force; and shall observe, and cause to be observed and enforced,
                 the laws and ordinances within such city, or city and county.
                  Ie shall see that all lawful orders and process of the Police
                 Court are promptly executed; and shall exercise such other
                 powers connected with his office as may be prescribed by law,
                 or by the rules and regulations adopted by the Board of
                 Police Commissioners. He shall acquaint iimself with all
                 the statutes and laws in force in this State, defining public
                 offenses and nuisances, and regulating the criminal proceed-
                 ings; and shall procure and keep in his office the statutes of
                 this State and of the United States and all elementary works
                 on those subjects. Ie shall give information and advice
                 touching said laws gratuitously to all police officers asking for
                 it. He shall have power from time to time to dispose of such
                 sum or sums for incidental expenses as in his judgment shall
                 be for the best interest of such city, or city and county; pro-
                 vided, that the aggregate of all such sums shall inot, in any
                 one fiscal year, exceed the sum of seven thousand two hun-
                 dred dollars; but all sunis so disbursed or paid shall be subject
                 to the approval of the said Board. He may, for good cause,
                 grant leave of absence for not more than thirty lays to any
                 member of the police force; but officers absent, from the city
                 within or without the State on official business shall not be
                 deemed to be absentees. As Chief of Police lie sliall hold
                 office for the term of four years from his apllointmfent, and
                 shall receive a salary of four thousand dollars per amium,
                 payablb monthly, at the end of each and every montli.
     Captainsof     Tird-Six Captains of Police, who shall be appointed by
      ,i,it.      the Board of Police Commissioners from the members of the
                  police force, who shall be assigned to such duty, and who
                  shall be subject to such rules and regulations as the Chief
                  of Police shall prescribe. They shall receive a salary of two
                  hundred dollars per month each, payable monthly, at the
                  end of each and every nionth.
     11olico0fi-
     cers, th!*fr   Foidh-As many police officers, not exceeding live hun-
             dred, as the Board of Police Commissioners may determnine
     quaiflll-
       ..... to be necessary, to be a)pointed by said Board; but itshall
     tio
     dull,        be the duty of said Board, on its first organization, to appoint
                  as members of the police force the nembers of tle police
                  force, if any, tlion in service, unless such members be incol-
                  petent or incapable to serve. Every l)erson alplying for
                  appointment to said police force, unless lie be a member of
                  the police force then existing in such city, or city and
                  county, shall produce and file with the said Board a certifi-
                  cate, signed by not loss than tw"elve freeholders and qualified
                  voters of tIme smallest political subdivision of such city, or
                  city and county, stating that they have been personally and
                  well acquainted with the applicant for one year or more next
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 55 of 88

                           TWENTY-FIFTII   SESSION.

        preceding the application and that the applicant is of good VIle offli.
        repute for honesty and soLriety,     and they believe him to be, q"""
                                                                          10,,,,..
                                                                              e- m'
                                          it for the o lice. A ll such c
        in all r s ects, com petent andin the office of said Board, and,,,te.
        tificates shall be preserved
        shall not be returned to the applicant. Every appointee to
        said police force must be a citizen of the United States, and
        of this State, able to read and write tie English language,
        and a resident of such city, or city and county, at least live
        years previous to his appointment, except such menller of
        said police force as may be in service at the time of the
        organization of said Board; every appointee shall not be
        less than twenty-live nor more than forty years of age, and
        not less than live feet and seven inches in height, and shall,
        after his nomination, and before his appointmeint, pass a
        thorough examination by the Surgeon of Police, or by any
        physician appointed by said Board, and be found on such
        examination to be sound in health, and to possess the physical
        qualifications required for recruits for the United States arny.
        Tile police officers, in subjection to the rules and regulations
        of the said Board. to the orders of the respective Captains, and
        under the general direction of the Chief of Police, slall be
        prompt and vigilant in the detection of crime, the arrest of
        public offenders, the suppression of all riots, frays, duels, and
        disturbances of the public peace, the execution of process
        from the Police Court in causing the abatement of public
        nuisances, and tie enforcement of the laws and regulations
        of the police. They shall, as soon as practicable, upon an
        arrest, under penalty of dismissal from the force, or of a fine
        of not more than one hundred dollars, or of both, at the dis-
        cretion of the Board, convey in person the offender before the
        nearest sitting magistrate. If the arrest is made during the
        hours that the magistrate does not regularly hol Court, or
        if the magistrate is not holding Court, such offender may be
        detained in a station house until tl next public sitting of tle
        magistrate, and no longer, unless discharged on bail, accord-
        ing to law. No member of the police force slall be eligible
        to any other otllce while a memner of such force, nor shall
        he take any part whatever in any convention held for the
        purposes of a political party; nor shall lie be a member of
        any political club; nor slall he be allowed to interfere with
        politics on the day of election, or at any time while employed
        on said force, except to cast his vote. No member of said
        t)olice force, while on duty, shall enter into any liquor saloon,
          arroom, or place where liquors are retailed, except when
        necessary in the discharge of his duties, on penalty of repri-
        mand, fine, suspension, or removal from office. No member
        of the police force shall devote his time to any other profes-
        sion or calling, become bail for any person charged with any
        offenso whatever, solicit counsel or attorneys for prisoners,
        receive any )resent or reward for oflicial services rendered,
        or to be rendcred, unless with the knowledge and approba-
        tion of a majority of said Board; such approbation to be
        given in writing and certified by tle Clerk of said Board.
        Police officers who shall be selected to act as Sergeants of
         Police, and police oflicers who shall be selected to act as
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 56 of 88

       152                         STATUTES OF CALIFORNIA,

      Salary.,   detective police officers, shall each receive a salary of one
                 hundred and twenty-five dollars per month, payable monthly,
                 at the end of each and every month. The police officer who
                 shall be selected to act as Clerk to the Chief of Police, and
                 the police officer wio shall be selected to act as Property
                 Clerk, shall each receive a salary of one hundred and fifty
                 dollars per month payable monthly, at the end of each and
                 every month. All other police officers shall each receive a
                 salary of one hundred and two dollars per month, payable
                 monthly, at the end of each and every month; provided, that
                 the Treasurer of such city, or city and county, is hereby
                 authorized to deduct and retain from the salary of each
                 member of said police force, two dollars from every month's
                 salary, to be paid into the fund of the Police Life and Health
                 Insurance Fund herein mentioned.
      S,,rgc.,,
           of  PiJh-A Surgeon of Police, whose duty it shall be to attend
       ,,:,,eti.    to- all eases of accident or sickness at the several police
                   stations, to attend all officers who may be taken sick or
                   injured in the discharge of their duty, to examine all appli-
                    cants for appointment on the police force, and to perform
                    such other duties as the Board of Police Commissioners may
                   from time to time prescribe. He shall be appointed by the
                    said Board, and shall hold office during its pleasure, but he
                    shall not be removed without just cause. He shall receive a
                    salary of two hundred dollars per month, payable monthly,
                    at the end of each and every month.
       Fire Com        SEc. 141. There shall be a Board of Fire Commissioners
      ,oi'r"o'"' of such city, or city and county, consisting of five persons,
      atil  te,, or possessing the same qualifications of eligibility as are herein
      ,,"ic.        prescribed for the members of the 3oard of Aldermen, who
                    shall be appointed by the Mayor, with the advice of the
                    Board of Aldereni, and shall hold office for the term of
                    four years from and after the time of their appointment, and
                    no more than three of whom shall belong to the same national
                    political party: provided, that the Fire Commissioners now
                    acting as such in such city, or city and county, shall continue
                    to hold their respective offices until the expiration of the
                    teri for which they may have been respectively elected or
                    appointed.
       rowoe,, and     SEc. 142. The said Board of Fire Commissioners shall
      dite of
      Fire coin.    supervise and control said Fire Department, its oflicers, mem-
       ,,,ii......  bers, and employ6s, subject to the laws governing tho same,
                    and shall see that the officers, members, and employ6s thereof
                    faithfully discharge their duties, and that the laws, orders,
                    and regulations relating thereto are carried into operation
                    and effect. They shall not, nor shall either of them, or the
                 Chief Engineer, or Assistant Chief Engineer, or Assistant
                 Engineers of said Fire Department, be interested in any con-
                 tracts pertaining in any manner to said Fire Department, or
                 the sale, furnishing of apparatus or supplies for the same-
                 and all contracts in violation of this section are declared
                 void, and any of said persons violating the provisions of this
                 section shall be deemed guilty of misdemeanor, and, upon
                 conviction, shall be punished accordingly. 'Ihe Municipal
                 Council of such city, or city and county, shall have power to
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 57 of 88

                           TWENTY-FIFTH   SESSION.

         contract and provide for all cisterns, hydrants, apparatus,
         horses, supplies, engine, hose, and hook and ladder houses,
         and all alterations and re)airs required; an(] said Board of
         Fire Colmnissioners shal supcrvise all contracts awarded
         and work done for the said Fire Department, and shall se
         that all contracts awarded and work done are faithfully per-
         formed. The said Board of Fire Commissioners shall have
         power to prescribe the duties of the officers, members, and
         employ6s of said Fire Department, and to adol)t rules and
         regulations for the management and discipline the'of and
         a majority of them shall certify to the correctness of all claims
         and (elnands, before the same shall be paid. And the
         Municipal Council is authorized and re(Iuired to provide
         and furnish for the use of the Board of Fire Commissioners
         a suitable room or rooms in, some of the buildings of such
         city, or city and county, to serve as an office for their meet-
         ings and the transaction of business relting to said Fire
         Department, in which their Clerk, Janitor, and Messenger
         shall be in attendance daily during oflice hours. The Chief
         Engineer, Assistant Chief Engineer and Assistant Engineer
         of said Department shall also make it their headquarters
         daily during office hours, when not otherwise engaged in offi-
         cial duties. And the said Municipal Council shall furnish
         the Chief Engineer, and also the Assistant Chief Engineer
         and Assistant Engineers hereinafter mentioned, with a horse
         and buggy, and shall provide for keeping the same.
            Sic. 143. The oflicers of the Fire Department of such city, i,",o
          or city and county, shall be:                                    Department.
            1. Five Fire Commissioners, to be appointed as aforesaid.
            2. One Chief Engineer.
            3. One Assistant Chief Engineer.
            4. Four Assistant Engineers.
            5. One Superintendent of Steam Fire Engines.
            SEC. 144. The members and emnploy6s of said Fire Depart-
          ment shall be:
              1. One Assistant Superintendent of Steam Fire Engines.
              2. One Clerk and Storekeeper for the Corporation N ard.
              3. One Corporation Yard Drayman.
              4. One Night Watchman of Corporation Yard.
              5. Two Hydrantnien.
              6. One Veterinary Surgeon.
              7. One Foreman of each company.
              8. One Engineer for each steam fire engine.
              9. One Substitute Engineer and Machinist.
            10. One Driver for each company.
            11. One Fireman for each steam engine comapany.
            12. One Carpenter.
            13. One Tillerman for each hook and ladder company.
            14. One Steward for each hose conpany.
             15. One Janitor and Messenger.
             16. One Clerk.
            Sirc. 145. All paid members of said Fire Departluent, hehrs      "l,,I,,,0
                                                                               of
          except the V eterinary Surgeo, Foremaman, Assistant Foreman, lartment
          Company Clerks, I-osemen,I Hook and Ladder men, and 10                ,.o
                                                                           entire thrieO

          Stewards of Volunteer Companies, shall give their undivided to duties.
                      20c
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 58 of 88

      154                         STATUTES OF CALIFORNIA,

               attention to their respective duties but the Foreman, Assist-
                    ant Foreman, Company Clerks, 'osemen, and Hook and
                    Ladder men, and Stewards of Volunteer Companies, shall
                    perform such duties as may be prescribed from time to time
                    by said Board of Fire Commissioners and ordered to be exe-
                    cuted by the Chief Engineer.
      Certain offi-    SEC. 146. The Chief Enginecr, the Assistant Chief Engi-
      verH,h|ow
      ,at,,1,,,,d.  neer, the Superintendent of Steam Fire Engines, the Assist-
                    ant Engineers, the Clerk, and all members and emiploy~s of
                    the Fire Department, shall be appointed by the Fire Com-
                    missioners, and retain their positions during good behavior;
                    and it shall be the duty of such Fire Commissioners, on
                    their first organization under this Act, to aprpoint as mem-
                    bers thereof the officers and members of any fire department
                    which shall be in service in any such city, or city and
                    county, at the time of its organization under this Act. No
                    officer, member, or emlnj)loy of said Fire Department shall
                    be removed for political reasons.
      Fire Deprit-     Smc. 147. The Fire Decpartment of such city, or city andl
      ,.,,.tof county, shall consist of such engine, hook and ladder, and
       ~hi.         ]lose companies as slall 1)e recommended by the Board of
                    Fire Commissioners, and determined by the Municipal Coun-
                    cil necessary to afford protection against fire; providd, that
                    as an auxiliary thereto, patent fire extinguishers may also
                    be purchased and enl)loyed,if, in the judgment of said Board,
                    deemed advisable; lo'ovidCd, that no hand engine shall 1)0
                      Surchased for the use of said (lepartment, but such as shall
                     )e in possession of such city, or city and county, prior to its
                    organization under this Act, may be used in such localities
                    and under such regulations as the Board of Fire Comnmis-
      Ogini,., sioners may )rcscribe. The companies of said department
      t1i,,,,,,     shall, be organized as follows: Each steam fire engine com-
                    pany shall consist of (1) one Foreman, one (1) Engineer, one
                    (1) )river, one (1) Fireman, and eight (8) Hosemen; one (1)
                    of whom shall act as Assistant Foreman and one (1) as Clerk.
                    Each hook and ladder company shall consist of one (1)
                    Foreman, one (1) Driver, one (1) Tillerman, and twelve (12)
                    Hook and Ladder men; one (1) of whon shall act as Assist-
                    ant Foreman, and one (1) as Clerk. Each hose company
                    shall consist of one (1) Foreman, one (1) Driver, one (1)
                    Steward, and six (6) Hosemen; one (1) of whom shall act as
                    Assistant Foreman, and one (1) as Clerk.
      Ch,,t of         SEC. 148. The Chief Engineer shall be the executive officer
      E,,g|,,,,.    of said Fire Department, and it shall be his (uty (and that of
                    the Assistant Chief Engineer and Assistant Engineers) to see
                    that the laws, orders, rules, and regulations concerning the
                    same are carried into etfct, and also to attend to such duties
                    as Fire Wardens as may be required, and to see that all laws
                    orders, and regulations established in such city, or city and
                    county, to secure protection against lire, are enforced. It
                    shall also be the duty of the Chief Engineer to enforce the
                    rules and regulations made from time to time to secure dis-
                    cil)line in said Fire Department, and he shall have power to
                    suspend any subordinate officer, member, or emiloy6 for a
                    violation of the sane, and shall forthwith report in writing,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 59 of 88

                            TWENTY-FIFTH      SESSION.

        with his reasons therefor, to the Board of Fire Commissioners
        for their action. He shall diligently observe the condition
        of the apparatus and workings of said dcpartmcnt, and shall
        report in writing, at least once in each week, to said Board
        of Fire Commissioners, utpon the Same, and make such
        recommendations (nd      suggestions respecting it, and for secur-
        ing its greater efficiency, as he may deem propcr; and in the
        absence or inability of the Chief Engineer to aet, the Assistant
        Chief Engineer shall assume the duties of said oltice of Chief
        EglllneerL.
           Si . 149. The person elected as Clerk by said Bloard of clerkof,Board, Mhi
        Fire Commissioners shall, before entering upon the discharge
        of his duties, execute a bond. with two or more sureties, in ,
        the penal sum of twelve thousand ($12,000) dollars, for the
        faithful disi harge of his duties, which bond shall be approved
        by said Board of Fire Commissioners, and the Mayor of such
        city or city and county and when so approved, shall be filed
        in the office of the Auditor. rihlme amount of said bond may
        be increased from time to time, when directed by the Board
        of Fire Commissioners, should it deem it necessary for the
        public good; said Clerk shall attend daily, during oflice
        hours at tile oflice of the Board of Fire Coliminssioners
         (whicih shall be the office of tle Chief Engineer, Assistant
        Chief Engineer, and Assistant EIgineers); shall perform the
         duties of Clerk to said Board and Chief Engineer, and shall
        perform such other duties from time to time as said Board
        may prescribe.        lThe
                                Clerk and Storekeeper for the Corpora- (Ivk nil,]
        tion Yarl shall, before entering upon his duties, furnish a ir dvlt.r.
        bond in tie sum of ten thousand ($10,000) dollars, to be
        approved in tile same manner as the bond provided for in
         this section, to be given by the Clerk of said Board of Fire
         Commissioners, anl filed with the Auditor.
            SEc. 150. The Mayor of such city, or city and county, o prtyof,
         upon the recommendation of the Board of Fire Conlmnis- h,,wtold.
         sioners, with the approval of the Municipal Council. is
         authorized to sell at private or public sale from time to time
         any or all of the engines, hose carriages, engine houses, lots
         on which such houses stand, or parts of lots (or to exchange
         any of said lots, when in their judgment demanded by the
         public good), or other property which shall not be re( uired
         for the use of the department, and to execute, acknowledge,
         an(l deliver good and sufficient deeds or bills of sale for the
         saell, paying the 1)roceeds of such sales into the county treas-
         ury, to the credit of the propelr fund.
            SEc. 151. The Municipal Council of such city, or city and ,,rproria.
         county, is hereby authorized and required to aplphrol)riate, pirhasp of
         allow, and order paid amnually out of the General Fund of r..... ,-
         such city, or city and county, the salaries hereinfter specified i..
         and allowed, and salaries at similar rates to the several
         officers an( men of any additional companies created as
         aforesaid, and tie Municipal Council is required to appropri-
         ate, allow, and order paid, out of the General Fu id, a sum
         not to exceed eighty thouIsanld ($80,000) dollars annually for
         running ex)enses, horse feed, repairs to apparatus, al for
         the construction and erection of cisterns and( hydrants, and
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 60 of 88

       156                            STATUTES OF CALIFORNIA,

                     for the crection and repair of buildings, and other expenses
                     of the Fire Department. To appropriate a sum not to exceed
                     thirty thousand ($30,000) dollars for the purchase of horscs
                     and apparatus for the Fire Department.
          o,            SC. 152. Whenever a member of the Paid Fire Depart-
       ,,wi,,r,.     ment of such city, or city and county, shall become disabled
                 by reason of injuries received at any fire, so as to be unable
                 to perform his duties, the Municipal Council, upon the recoi-
                 mendation of the Board of Fire Commissioners, is hereby
                 authorized and empowered to allow said disabled man a
                 sum not exceeding fifty ($50) dollars per month, for not to
                 exceed three (3) months, payable out of the General Fund of
                 such city, or city and( county, in the same manner and form as
                 other payments are made out of said fund.
          .ri.mal., Sjic. 153. The Municipal Council shall provide, by ordi-
                 nance, for the pau'mcnt into a " Fireman's Charitable Fund
                 of such city, or city and county, of all moneys received for
                 licenses for the storage, manufacture, or sale of gunpowder,
                 blasting powder, gun cotton, 1ireworks, nitro-glycerine, dlua-
                 line, or any explosive oils or compounds, or as a municipal
                 tax upon the same; also, all fines collected in the Police
                 Court for violations of fire ordinances. Said fund shall be
                 under the direction and control of and subject to such regu-
                 lations as may be proscribed by the Board of Fire Commis-
                 sioners.
       Ass.t,,t     Siie. 154. The Chief Engineer shall have power to al)l)oint
       andAllh,. 10one member of each company to act as Assistant Foreman;
                 also, one member to act as Clerk; said Clerk to receive five
                 ($5) dollars per month extra pay.
       )rgu,,IIIL-    Sjec. 155. The Fire Commissioners shall organize said
           and
       11,,rd        Board immediately upon their appointment, and on the first
        ....       Monday    after the first day of January of each and every
                   year thereafter,
         t ig.                        by selecting one of their number as Pres-
                   i(lent, and they shall meet at least once in each month pub-
                   licly at their oflice, to transact the business of said Fire
                   Department; and, in addition to the stated meetings, they
                   shall mect twice in each month for the purpose of investigat-
                   ing charges against officers, members, and employ6s of said
                   department for violating any of the rules and regulations
                   thereof; and shall ]l.'     such intermediate sessions as they
                   shall.deem necessary to the proper administration of the
       Eligiblity. Fire Department. No person shall be eligible to any posi-
                   tion in said department who is not a citizen of the United
                   States, or at resident of such city, or city and county, at least
                   two years, nor under twenty-one (21) years of age at the time
                   of his appointment.
       h,,vstiga-     SEc. 156. In all investigations for violation of the rules
        o,,du,,,,, and rCgulatilons of the Fire Department, the President of the
                   Board of Fire Commissioners shall have power to issue
                   subponas, and administer oaths, and compel the attendance
                   of witnesses before him by attachment or otherwise. All
                   subp nas issued by him slall be in such form as he may
                   prescribe, and shall be served by any police oflicer or by ally.
                   peace oflicer of such city, or city and county. Any person
                   who refuses to attend or testify in obedience to such subpoo-
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 61 of 88

                             TWENTY-FIFTIH    SESSION.

         nas, shall be deemed guilty of contempt, and be punished by
         him as in cases of contempt in Justices' Court in civil cases.
            Sjic. 157. No officer, member, or cmploy6. of the Fire )e- M,,,,ro,
         partmnent shall be dismissed unless for cause, nor until after .
         a trial. The accused shall be furnished with a written copy
         of the charges against him at least five (5) days previous to
         the day of trial, and he shall have an opportunit.y to examine
         witnesscs in his behalf, and all witnesses shall be examined
         under oath, and all trials shall be public.
            Sic. 158. rlhe Municipal Council of such city and county ,
         is hereby authorized and elmpowere(l to establish and ]in- Y,I.
         tain at the Corporation Yard a workshop for making repairs
         and iml)rovements upon the apparatus of tile Fire Deptart-
         inent,an(l such workshop an(l such repairs and improvements
         to be under the supervision of the Board of Fire Commis-
         sioners, and the Municipal Council shall allow and order paid,
         out of the l)roper fund, all the expenses of such workshops,
         repairs, and improvements.
            SEC. 159. No member of said Board of Fire Commissioners          r,,jc,..
                                                                  any )party 1
         shall, during his term of office, be a member of
         convention, the iirpose of which is to nominate candidates
         for political office, nor shall the officers, members, or employes
         of said Fire Department take any part whatever in any par-
         tisan convention, held for the l)urposes of a political party;
         nor shall any member of the said Board of Fire Comnis-
         sioners, directly or indirectly, attempt to control or influence
         the action of any member of said Fire Department, or any
         employc thereof, in any l)rimarN" or general election. No
         member of the Fire Depaituent shall levy, collect, or pay
         any amount of money as an assessment or contribution for
         political purposes. Any violation of the foregoing provisions
         of this section shatll be deemed a misdemeanor.
            SEc. 160. The salaries of the officers of the Fire Departrit,,r
         ment shall be paid in monthly installments, and as follows "Ji, Depart-
            1. The salary of the Fire Commissioners shall be one
          thousand two hundred dollars per amum.
            2. The salary of the Chief Engineer shall be four thousand
         dollars per annum .
            3. The salary of the Assistant Chief Engineer shall be two
          thousand four hundred dollars per annum.
            4. The salaries of the Assistant Engineers shall each be one
          thousand eight hundred dollars per annum.
            5. The salary of the Superintendent of Steam Fire Engines
         shall be twenty-four hundred dollars per annum.
           S~c. 161. The salaries of the members and employ6s of
         the Fire Department shall be paid in monthly installments,
         and as follows:
           1. Tile salary of Assistant Superintendent of Steam Fire
         Engines shall be one thousand six hundred and eighty dol-
         lArs per annum.
           2. The salary of the Clerk and Storekeeper for the Corpo-
         ration Yard shall be one thousand five hundred dollars per
         annum.
           3. The salary of the Corporation Yard Drayman shall be
         one thousand and eighty dollars per annun.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 62 of 88

      158                            STATUTES OF   CALIFORNIA,

      officfr Of       4. The salary of the Night Watchman for the Corporation
      Fire I,,,rt.   Yard shall be nine hundred dollars per annum.
      i,,ent.           5. The salary of the two Hydrantmen shall be one thou-
                     sand and ci hty dollars per annum each.
                        6. The salary of the Veterinary Surgeon shall be twelve
                     hundred dollars per annum.
                        7. The salary of the Foreman of each company shall be
                     five hundred and forty dollars per annum.
                        8. The salary of the Engineer for each Steam Fire Engine
                     Company shall be one thousand six hundred and eighty dol-
                     lars per annum.
                        9. The salary of the Substitute Engineer and Machinist
                     shall be one thousand six hundred and eighty dollars per
                     annuim.
                       10. The salary of the Driver for each company shall be
                     one thousand and eighty dollars per annum.
                       11. The salary of the Fireman for each Steam Fire Con-
                     pany shall be one thousand and eighty dollars per annum.
                       12. The salary of the Carpenter for said department shall
                     be one thousand two hundred dollars per annum.
                       13. The salary of the Tillerman for each Hook and Ladder
                     Company shall be one thousand and eighty dollars per
                     annum.
                       14. The salary of the Steward for each Hose Company
                     shall be nine hundred and sixty dollars per annum.
                       15. The salary of each Hoseman and each Hook and Lad-
                     der man shall be four hundred and eighty dollars per annum.
                       16. The salary of the Janitor and Messenger shall be
                     twelve lundred dollars per annum.
                       17. The salary of the Clerk of the Board of Fire Commis-
                     sioners shall be one thousand eight hundred" dollars per
                     annum.
      Fire A,,,,,       SEC. 162. There shall be maintained and provided for by
      Tolegraph,     the Municipal Council in such city, or city and county, a
                     Fire Alarm and Police Telegraph for municipml use, and
                     the Superintendent thereof shall be appointed by the Board
                     of Fire Commissioners, to serve during its pleasure, except
                     that he shall not be removed for political causes, reasons, or
                     purposes. Said Superintendent is authorized to appoint the
                     following officeri and employcs : One Chief Operator, thre
                     Operators, one Repairer, two Assistant Repairers, and one
                     Batteryman. It shall i'.e the duty of such Board, on their
                     first orgainization un(cr this Act, to appoint as officers and
                     eml)loy6s thereof, the oflicers and employcs of any Fire
                     Alarm and Police Telegraph which shall be in service in
                     such city, or city and county, at the time of its organization
                     under this Act.
      sirie
      office rs ofor    SEc. 163. The salaries of the officers of said Fire Alarm
      Fire .a,       and Police Telegraph shall be paid in monthly installments,
      etc.           and as follows:
                        1. The salary of the Superintendent shall be two thousand
                     four hundred dollars per anumn.
                        2. The salary of the Chief Operator shall be one thousand
                     eight hundred dollars per annum.
                        3. The salary of each of the thrce Operators herein pro-
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 63 of 88

                            TWENTY-FIFTII    SESSION.

         vided for shall be one thousand five hundred dollars per
         annum.
           4. The salary of thc Repairer shall be one thousand two
         hundred dollars per annum.
            5. The salary of each of the two Assistant Repairers herein
         provided for shall be one thousand and eighty dollars per
         annun.
            6. The salary of the Batteryman shall be nine hundred
         dollars per annum.
            SEC. 164. The Municipal Council shall appropriate such ,rI I.
         sum as may be ncc:.. sary, not exceeding fifteen thousand tu'
         dollars per annum, for the maintenance, repair, and exten-
         sion of said telegraph, and to defray the cost of instruments
         and machinery therefor, and for such horses and vehicles as
         may be necessary for the use of said Superintendent.
            SEC. 165.    ihre shall be a Board of Health for such city, I,    how
         or city and county, which Board shall consist of the Mayor c-)tltt,4t.
         of the city and county, and five physicians in good standing,
         residing in such city, or city and county, who shall be ap-
         pointed by the Governor, and who shall hold office for the
         term of four years and until their successors are appointed
         and qualified; anA in case any vacancy shall at any time
         occur in said Board by removal, or resignation, or otherwise,
         the same shall 1)e filled by appointment by the Governor.
            SEC. 166. The Mayor of such city, or city and county, shall Meetig '
         be ex officio President of the Board of Health, and' in his
         absence, at any meeting, the Board may elect a Chairman,
         who shall, for the time be clothed with all the power of the
         President. Said BoarA shall hold a regular meeting at least
         once in each month, and at other times, when called thereto
         by the President, or by a majority of the Board.
            SEC. 167. Said Board of Iealth is hereby invested with .,..
         general jurisdiction over all matters appertaining to the II.,.
         sanitary condition of such city, or city and county, and over
         all quarantine regulations and the enforcement thereof, and
         hospitals and almshouses, and all municipal institutions
         created and maintained for charitable lurposes and not
         herein enumerated, within the corporate limits of .uch city,
         or city and county, and adopt such orders and regulations
         as may be necessary to the complete exerise of the powers
         hereinbefore enumerated, and may ap)oint or discharge such
         attendants and employ6s as may seem best to promote the
         public welfare.
           SEC. 168. The members of said Board of Health shall !War
         receive no salary.
           SEC. 169. Said Board of Health shall have power to ap- s,,,,,e&of
         point the following officers and employ6s, who slall receive
         the salaries hereinafter provided, payable in monthly install-  .
         ments at the end of each month, viz.:
           1. One Health Officler, who shall be the executive officer
         of said Board, at a salary of twenty-four hundred dollars per
         annllUm1.
           2. One Quarantine Officer, at a salary of eighteen hundred
         dollars per annumn.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 64 of 88

      I6U                                 STATUTES OF CALIFORNIA,
      salarie, of     3. One Secretary, at a salary of twenty-four hundred dol-
      ith  ntdyoard
            of
      appi~hIteil) 1111'rs Six alieand.
                       4a'per  annum.
      ||"iltI.         4. Six Health Inspectors and one Market Inspector, at a
                    salary of twelve hundred dollars per annum each; one
                    Messenger, at nine hundred dollars per annum.
                       5. Oe Superintendent of the City, or City and County,
                    Hospital, wh1io shall be a physician and graduate of some
                    medical college in good standing, at a salary of twenty-four
                    hud(lred dollars per annum.
                       6. One Resident Hospital Physician, at a salary of fifteen
                    hundred dollars per annum.
                       7. One Hospital Steward, at a salary of twelve hundred
                    dollars per annum.
                       8. One Hospital Matron, at a salary of nine hundred dol-
                    lars per annum.
                       9. One Hospital Apothecary, at a salary of twelve hundred
                    dollars per annum.
                       10. One Hospital Engineer, at a salary of nine hundred
                    dollars per amum.
                       11. Two physicians and two surgeons, to be selected frum
                    the Faculty of the Medical Department of the University of
                    California, and two physicians and two surgeons, to be
                    selected from the Faculty of the Pacific Medical College, at
                    such salary as the Board of Health may designate, not to
                    oxceed twelve hundred dollars each per annum, as visiting
                    physicians and surgeons to the City, or City and County,
                    Hospital.
                       12. One Almshouse Superintendeut, at a salary of two
                    thousand four hundred dollars per annum.
                       13. One Resident Almshouse Physician, at a salary of
                    fifteen hundred dollars per annum.
                       14. One Almshouse Matron, at a salary of seven hundred
                    and twenty dollars per annum.
                       15. One City Physician, at a salary not to exceed eighteen
                    hundred dollars per annum.
                       16. One Asistant City Physician for the Industrial School
                    and House of Correction, at a salary of twelve hundred dol-
                    lars pl' annum.
                       17. One First Cook, at a salary of sixty dollars per month.
                       18. One Second Cook, at a salary of thirty-live dollars per
                    month.
                       19. One Third Cook, at a salary of thirty dollars per month.
                       20. One Baker, at a salary of seventy-five dollars per
                    month.
                       21. One Clerk, at a salary of forty dollars perimonth.
                       22. One Interl)reter, at a salary of forty dollars per month.
                       23. One Ambulance Driver, at a salary of forty dollars per
                    month.
                       24. Sixteen Nurses, at a salary of thirty-five dollars each.
      Alloint,,g       Sic. 170. The appointing power of all and every of the
                    aforesaid officers and emlploy6s is vested solely in said Board
                    of Health, and said Board shall have power to prescribe
                    the duties of every and all of said officers and employ6s,
                    and to remove the same at pleasure; and said Board of
                    Health is hereby empowered to employ such additional
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 65 of 88

                            TWENTY-FIFTIr SESSION.

        employ6s as may be necessary to carry out the purposes of
        this Act, at such compensations as said Board of IHealth may
        fix.
           SEc. 171. The salaries of the officers and employ6s of said
                                                                     by Salaries,
        Board of Health, and all other expenses legally incurred
                                                                        how pa.(I

        said Board under the provisions of this chapter, shall be
        payable out of the General Fund of the treasury of such city,
        or city and county- and the Auditor of such city, or city
        and county, is hereby directed to audit all such demands,
        and the Treasurer of such city, or city and county, is hereby
        directed to pay the same out of said General Funl. The said         ,
        Board of Health shall, annually, upon the third Monday of
        April of each year, transmit, in writing, to the Municipal
        Council of such city, or city and county, an estimate of the
        amount of money necessary to defray all of the expcndi-
        tures of said Board of Health for the next fiscal year; and
        the Board of Health shall not expend, in any ouc fiscal year,
        an amount exceeding the amount of such estimate so trans-
        mitted by said Board of Health for such fiscal year, allowed
        upon such estimate by the Municipal Council, except in ease
        of an epidemic of any contagious disease, when such Board
        of lealth is hereby authorized to increase such expense as
        may be deemed necessary for the public safety; and all such
        expenses shall be paYable out of the General Fund of such
        city, or city and county, at the same time and in the same
        manner provided for other expenses of said Board. Noth-
        ing in this Act shall be construed to authorize said Board
        of Health to contract for or purchase supplies for any of the
        charitable institutions placed under its control by this chap-
        tcr. All contracts for any of'the work authorized by this co,,tract.
        chapter to be caused to be performed by said Board of
        Health shall be awarded by said Board to the lowest responsi-
        ble bidder, after notice, for not less than five days, in two
        daily newspapers published in such city, or city and county,
        under such regulations and requirements as said Board of
        Health may adopt.
           Sm,:c. 172. It shall not be lawful for any Supeilntendent Ileariction
        or other principal officer in charge of any anlshouse in suchO ooficers.
        city, or city and county, to have or receive any perquisites,
        or to derive any income or revenue therefrom, either directly
        or indirectly, other than the salary allowed to him by the
        Board of Health ; nor shall it be allowable for any subor-
         dinate officer or cmploy6 to have or receive any perquisite,
         either directly or indirectly; and it shall be the duty of the
        Board of Health to remove any such Superinteudent, or other
        principal officer, or any subordinate officer or employ6, who "
         violates any provision of this section. All fees authorized 1%"°0'"
                                                                          ...  toalad.
        by any of t.ie provisions of this chapter, to be collected by
         any officer or employ6 of the Board of Health, shall be
         immediately paid by such officer or cmploy6 to the Secretary
         of said Board of Health, who shall, upon the first Monday
         of each month, pay the same into the treasury of such city,
         or city and' coun ty, to be credited to the proper fund.
           SEc. 173. Shipmasters bringing vessels into the harbor of
         any such city, or city and county, and all masters, owners, or
                   210
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 66 of 88

                                    STATUTES OF CALIFORNIA,

       Ileport of
                ors consignees having vessels in such harbor, which have on
                                                            11aTeo
       ,h,,,ot
       of cota. board any cases of Asiatic cholera, smaillpox, yellow, typhus,
         di'e"aso.    ship fever, or any other contagious -ligease, must report the
                      same, in writing, to the Quarantine Officer before landing
                      any passengers, casting anchor, or coming to any wharf, or
                      as soon thereafter as they, or either of them, become aware
                      of the existence of either of these diseases on board of their
                      vessels.
          Rltrictions    SEc. 174. Io captain or other officer in command of any
        ,c.           vessel sailing under a register, arriving at the port of any
                      such city, or city and county, nor any owner, consignee,
                      agent, or other person having charge of such vessel, must,
                      under a penalty of not less than one hundred dollars nor
                      more than one thousand dollars, land, or permit to be landed,
                      any freight, passengers, or other persons from such vessels,
                      until lie has reported to the Quarantine Officer, presented
                      his bill of health, and received a permit fron that officer
                      to land freight, passengers, and other persons.
       Duty of          SEC. 175. Every pilot who conducts into the port of any
       ,,lot.         such city, or city and county, any vessel sul*ject to quaran-
                     tine, or examination by the Quarantine Officer, must:
                        1. Bring the vessel no nearer such city, or city and county,
                     than is allowed by law.
                        2. Prevent any person from leaving such vessel, and any
                     communication being inade with the vessel under his charge,
                     until the Quarantine Officer has boarded her and given the
                     necessary orders and directions.
                        3. Be vigilant in preventing any violation of the quaran-
                     tine laws, and report, without delay, all such violations that
                     come to his knowledge, to the Quarantine Officer.
                        4. Present the master of ihe vessel with a printed copy of
                     the quarantine laws, unless he has one.
                        5. If the vessel is subject to quarantine, by reason of infec-
                     tion, place at the masthead a small yellow flag.
       Duty of          SEC. 176. Every master of a vessel subject to quarantine,
       master of
       Vessol        or visitation by the Quarantine Officer, arriving in the port
                     of any such city, or city and county, who refuses or neglects
                     either:
                        1.To proceed with and anchor his vessel at the place
                     assigned for quarantine, when legally directed so to (0; or,
                        2. To submit his vessel, cargo, and passengers to the Quar-
                     antine Officers their inspection, examination, and direction,
                     and furnish aft necessary information to enable that officer
                     to determine to what quarantine or other regulations they
                     might respectively be subject; or,
                        3. To report all cases of disease and of death occurring on
                     his vessel, and to comply with all the sanitary regulations of
                     such port or harbor;
                        Is liable in the sum of five hundred dollars for every such
                     neglect or refusal.
        ifectedofVes- SEC. 177.
       baster                       All vessels arriving off the port of any such cit ,
       !11must       or city and county, from ports which have been legally
       report.       declared infected ports, and all vessels arriving from ports
                     where there is prevailing, at the time of their departure, any
                     contagious, infectious, or pestilential diseases, or vessels with
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 67 of 88
                           TWENTY-FIFTH    SESSION.

        decaying cargoes, or which have usually foul or offensive
        holds, are subject to quarantine, and must be by the master,
        owner, pilot, or consignee, reported to the Quarantine Oflicer
        without delay. No such vessel must pass within the bounds
        prohibited them by the Board of Health, until the Quaran-
        tine Officer has boarded her and given the order required by
        law.
           SEC. 178. The Quarantine Officer must board every vessel )ty of
        subject to quarantine or visitation by him, immediately oil Oficr.
        her arrival, make such examinations and inspection of ves-
        sels, books, papers, or cargo, or of persons ol 'board under
        oath, as he may judge expedient, and (determine whetber the
        vessel should be ordered to quarantine, and if so, the period
        of quarantine.
           SEC. 179. No captain, or other officer, in command of any ' .
        passenger-carrying vessel of more than one hundred and f, ,,,t to
        fift tons burden, nor of any vessel of more than one hundred Il'lti
        anT fifty tons burden having passengers oil board, nor any     ... e..s
        consignee, owner, a ent, or other persons having charge Of pertllit.
        such vessel or vessels, must, under a penalty of not less than
        one hundred dollars nor more than one thousand dollars,
        land, or permit to be landed, any passenger from the vessel,
        until he has presented his bill of health to the Quarantine
        Officer a nd received a permit from that officer to land such
        passengers, except in such cases as the Quarantine Officer
        deems it safe to give the permit before seeing the bill of
        health.
           SEC. 180, Th following fees shall be collected by the .....
        Quarantine Off cer for giving a permit to land freight or pas-
        sengers, or 1)oth: From any sailing vessel of less than five
        hundred tons burden, from any port out of this State, two
        dollars and fifty cents; fi- e hundred and under one thousand
        tons burden, five dollars; each additional one thousand tons
        burden, or fraction thereof an additional two dollars and
        fifty cents; for steam vessels, propelled in whole or in part
        by steam of one thousand tons burden or less, five dollars,
        and two dollars and fifty cents additional for each additional
        one thousand tons burden or fraction thereof. But vessels
        not propelled in whole or in part by steam, sailing to and
        from any port or ports of the Pacific States, of the United
        States or Territories, and whaling vessels entering the harbor
        of any such city and county, are excepted from the provisions
        of this section.
           SEc. 181. The Board of Health may enforce compulsory 1'"Yof
        vaccination oln passengers or variola-infected ships, or com- IhuIt.
        ing from ports infected with the same.
           SEc. 182. The Board of Health shall establish quarantine s,..
        grounds at such points and places as in its judgment may
          est conduce to public safety; may provide suitable hos-
        pitals whenever the same are required for the public safety,
        and furnish and supply the same with nurses and attach6s,
        and remove thereto all persons afflicted with cholera, small-
        pox, yellow, typhus, ship fever, or other contagious diseases;
        provided, said quarantine grounds and hospitals shall not be
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 68 of 88
      164                                STATUTES OF CALIFORNIA,
                     established within one mile of the main land on the north
                     side of the Bay of San Francisco.
      Duty of            SEc. 183. The Board of Health must cause to be kept i
      Board of
      11o111h.       record of all births, deaths, and interments occurring in such
                     city, or city and county, coming, under the provisions of this
                     chapter. Such records when filed, must be deposited in the
                     office of the City, or 6ity and County, Recorder, and pro-
                     duced when required for public inspection.
      Dty or            SEC. 184. Physicians and midwives must, on or before ti
       nod ild-      fourth (lay of each month, make a return to the Health
      wVIo,.         Officer of all births, deaths, and the number of stillborn
                     children occurring in their practice during the preceding
                     month. In the absence of such attendants, the parents must
                     make such report within thirty (lays after the birth of the
                     child. Such returns must be made in accordance with rules
                     adopted by, and upon blanks furnished by, the Board of
                     Health.
      I,1,oo         .   SiEc. 185.   No person shall de)osit in any cenetery, or
      I,o,,rointer        in any such city, or city ar county any human body,
      ,.oto        without first having obtained and filedl with the Health
                  -w.
                   Officer a certificate, signed by a physician or midwife, or
                   Coroner, setting forth as near as possifle the name, age, color,
                   sex, place of birth, occupation, date, locality, and the cause
                   of death of deceased, and obtain from such Health Officer
                   a permit. The physicians, whou death occurs in their prac-
                   tice, must give the certificate herein mentioned. It shall be
                   the duty of the said Board of Health to see that the dead
                   body of a human being is not allowed to remain in any
                   public receiving vault for a longer period than five days.
                   At the expiration of that time it shall cause th body to be
                   buried, or to be placed in a vault or niel, constituted of
                   brick, stone, or iron, and hermetically sealed. It shall also
                   be the duty of said Boards to require all persons having in
                   charge the digging of graves, and the burial of the dead, to
                   see that the body of no human being who has reached ten
                   years of age shall be interred in a grave less than six feet
                   dcclp, or if under the age of ten years, the grave to be not
                   less than five feet deep. The Board of Health shall have
                   entire charge of all cemeteries belonging to such city, or city
                   and county, and may employ a Superintendent thereof, at a
                   sAlary not to exceed sOventy-live doilars per month, the same
                   to be paid out of the General Fund as the salaries of the
                   other employ6s are paid.
      Duty of         SEC. 186. Superintendents of all cemeteries in any such
      te ,dent of city, or city an d county, must return to the Health Officer,
      co,,otor,s.    on each Monday, the namlles of all persons interred or depos-
                     ited within their respective cemeteries during the preceding
                     week, and no Superintendent of a cemetery, or any other
                     person, can remove, or cause to be removed, or cause to be
                     disinterred, any human body or remains that have been
                     deposited in a cemetery, without a permit therefor from the
                     Health Officer, or by order of the Coroner.
                        SEC. 187. It shall be unlawful to disinter or exhume from
                     a grave, vault, or other burial place within the limits of such
                     city, or city and county, the body or remains of any deceased
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 69 of 88


                              TWENTY-FIFTII SESSION.

         person, unless a permit for so doing shall have first been body   Human not to,
         obtained from the Health Officer of such city, or city and ,,ht] .
         county. Nor shall any body or remains disinterred, ex- ,,r,,.
         buned, or taken from any grave, vault, or other place of
         burial or deposit, be transported in or through the streets or
         highways of any such city, or city and county, unless the
         person or persons removing or transporting such body or
         remains shall first obtain from the Health Oflicer a permit,
         in writing, therefor, as aforesaid. But when an a)plicant
         for a permit to disinter a body shall desire to remove said
         body beyond the limits of such city, or city and county, and
         shall so state on making application, the permit, if the same
         be issued, shall include the right to disinter and remove, and
         said permit shall accompany the remains.
            SEC. 188. Permits to disinter or exhume the bodies or Dicreo,of
         remains of deceased persols and to trans)ort tie same, or to Officer.
         exhume, or to transport, as in the last section provided, may
         be granted, in the discretion of tho Health Officer, and under
         suc restrictions and conditions only as he. in his judgment,
         may aflix, so as in the best possible manner to protect the
         public health. The Health Officer shall prepare a book of
         blank permits in proper form, and consecutively numbered,
         containing stubs, on which, as well as in the permit, shall
         be entered a record of the transaction, giving the name, age,
         sex, nativity, date of death, destination of remains sought to
         be removed, and upon granting each permit shall be required
         to be paid to him the sum of ten dollars therefor, for the
         use and benefit of the General Fund of such city, or city and
         county.
            SEC. 189. Any person or persons who slall dlisinter, 01,Ityof
         exhume or remove, or cause to be disinterred, exhumed, or Withot
         removed from a grave, vault, or other receptacle or burial periit.
         place, the remains of a deceased person, without a permit
         therefor, shall be guilty of a misdemeanor, and le punished
         by fine not less than fifty dollars nor more than live hundred
         dollars, or imprisonment in the county jail for not less than
         thirty days nor more than six months, or by both such fine
         and implrisonmient.
            SEC. 190. Any person or persons who shall transport,    li oor           foly,,,r
                                                                        t r ei14 qrlinlg

         cause to be transported, on or throulgh the qireets or high- bdy with-
         ways of any such city, or city and co           )y,the body or out pern i .
         remains of a deceased person which lia-;    been disinterred or
         exhumed without a permit therefor, ir. accordance with this
         chapter, slall be guilty of a misdemeanor, and be punished
         as provided in the preceding section.
            SEC. 191. Nothing in this chapter contained shall be E.cejltio,.
         taken to apply to the removal of the remains of the deceased
         person from one place of interment to another place of
         interment, or cemetery, within this ,State.
            S]Ec. 192. No person, master, captain, or conductor ill
         charge of any bo'it vessel, or railroad car, or public or pri.
         trant        yance, slall receive for transl)ortation, or shall
         transport the body of any person who lhas died within the
         limits of such city, or city and county, without said body is
         accompanied by a permit for such transportation from the
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 70 of 88


       166                         STATUTES OF CALIFORNIA,

                     Health Officer, which permit shall accompany the body to
                     its destination; and iio person, master, captain, or conductor,
                     as aforesaid, shall bring into or transport through any such
                     city, or city and county, the dead body or remains of any
                     person unless it be accompanied with a certificate from some
                     proper authority of the place from whence it came, stating
                     the name, age, sex, and cause of death, which certificate shall
                     be filed at the Health Office; provhlcd, that in no case shall
                     the body of any person who died of contagious disease be
                     brought to such city, or city and county, within one year after
                     the day of death.
       how ub,,,.       SEC. 193. Whenever a nuisance shall exist on the prop-
                     erty of any non-resident, or any property the owner or
                     owners of which cannot be found by either HYealth Inspector,
                     after diligent search, or on the property of any cner or
                     owners upon whom due notice may have been served, and
                     who shall, for three days, refuse or neglect to abate the same,
                     or any property belonging to such city or city and county,
                     it shall be the duty of the Board of Health to cause the said
                     nuisance to be at once removed or abated, and to draw upon
                     the General Fund in such sums as may be required for such
                     removal or abatement, not to exceed two hundred dollars;
                     prot,idcd, that whenever a larger expenditure is found neces-
                     sary to be made in the removal or suppression of any nui-
                     sance, the Municipal Council of such city, or city and county,
                     slall, upon the written application of the Board of Health,
                     by ordinance, appropriate, allow, and order paid, out of the
                     General Fund, such sum or sums as may be necessary for
                     that pumpose; provided further, that in all cases where such
                     expenditure will exceed five hundred dollars, no appropri-
                     ation shall be made for that purpose unless the City, or City
                     and County, Attorney shall first give his opinon, in writing,
                     that such expenditure would be a legal charge against the
                     property affected thereby. And the Auditor shall audit and
                     the Treasurer shall pay all appropriations of money made in
                     pursuance of this section, in the same manner as is now pro-
                     vided by law for auditing and paying demands upon the
                     treasury.
       Foo,ook
       01,011to pub.    SEic. 194. The Health Officer and the Quarantine Officer
       Ile w,,p,-    must each keel) a book open to public inspection, in which
        ion"         must be entered daily all fees collected by them, and they
                     must pay all fees collected to such City, or City and County,
                     Treasurer, daily, to the credit of the General Fund.
       Bon
       Hlealthof        SEC. 195. The Health Officer must execute an official
       Offcr.        bond, with two sureties, to be approved by the Board of
                     Health, in the sum of ten thousand dollars; and the Quaran-
                     tine Officer must execute a like official bond, with two sure-
                     ties, in the sum of teii thousand dollars; which bonds shall
                     be filed with the Auditor of such city, or city and county.
       whoitlay         SEC. 196. Any member of the Board of Health, the Health
       Oat,.          Officer, and the Quarantine Officer, and the Secretary of the
                       Board of Health, is hereby authorized to administer oaths
       Sl,          on business connected with the Health Department.     under any
              ,,-
       111all,,,,t,,d.of   im 197.
                         SEC
                          the      Wheneer
                              provisions      an chapter
                                          of this           action arises
                                                  cause of relating  to the  Health
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 71 of 88

                             TWENTY-FIFT11 SESSION.

          Department, suit may be maintained thereon in the name
          of the Health or Quarantine Officer, as the case may be, in
          any, Superior Court or Justice's Court of this State.
             SEC. 198. Every physician in any such city, or city and ),,tyof lhy.
          county, shall report to the Health Officer in writing, every cetan
          patient he shall have laboring under Asiatic cholera, variola,
          diphtheria, scarlatina, or other contagious diseases, immedi-
          ately thereafter, and report to the same officer every case of
          death from such disease.
             SEC. 199. Every householder in any such city or city and Duty of
          county, shall forthwith report, in writing, to the        Ofri- in, crti
                                                                    0111th
          cer, the name of every person boarding, or an inmate of his CMO"
          or her house, whom lie or she shall have reason to believe
          sick of cholera, or smallpox, and any deaths occurring at his
          or her house from such disevse.
             SEC. 200. There shall be a Board of Park Commissioners Park coni.
          of such city, or city and county, consisting of three persons
          to be appointed by the Governor of this State, who shall hold aoirtd
          their ofhce for four years, and who shall receive no compensa- lutles.
          tion for their services. In case of a vacancy, the same shall
          be filled by the remaining nembers of the Board for the resi-
          due of the term then vacant; and all vacancies .occasioned
          by expiration of terms of office, or neglect, or incapacity,
          shall be filled by the Governor aforesaid. Each of said Com-
          missioners shall be a freeholder and resident of such city, or
          city and county. Said Board shall have full and exclusive
          control and management of all the parks of such city, or city
          and county, which at the time of the organization of such
          city, or city and county, under this Act, were treated and
          improved as public parks, with the avenues and great high-
          wall's connected therewith. r wo of said Commissioners shall
          constitute a quorum to do business, but no money shall be
          expended or contract entered into authorizing the expendi-
          ture of money, without the approval of the Mayor and a
          majority of said Board of Park Commissioners.
             SEc. 201. Said Board shall have power to govern, manage, Pown,.
          and direct said parks and avenues leading thereto as have
          heretofore been operated or managed in connection there-
          with; to lay out, regulate, and improve such parks and
          avenues; to pass ordinances for the regulation and govern-
          ment of the same; to appoint one general superintendent,
          who shall perform the duties of overseer and managing
          gardener, who shall receive a salary of two thousand four
          hundred dollars per annum. The City, or City and County,
          Surveyor shall be ex officio engineer of the works, and shall
          perform such engineering work as the Commissioners may
          require of him. Prisoners over the age of twenty-one years,
          sentenced to hard labor in any of the jails risons, houses of
          correction, workhouses, or other penal establishments of such
          city, or city and county, may be ])ut to work upon the parks.
          The Commissioners may employ such other laborers as shall
          be necessary, within the amount allowed by law to be
          expended on said parks, at wages not to exceed the current
          wages paid in such city, or city and county, for labor. They
          shall in no year incur any debt or deficit, nor expend any
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 72 of 88

     ]166                           STATUTES OF CALIFORNIA,

               money beyond the amount realized by the tax herein pro-
               vided for. All persons violating any of the ordinances of the
               Commissioners regulating the parks, shall be deined guilty
               of misdemeanor, and punished accordingly.
     Taxes for    SEc. 202. The Municipal Council slia1 have the power to
     Improve.  levy and collect, in the mode prescribed by law for the levy
     ,o,.e. and collection of taxes, each year, upon al )roperty in such
               city, or city and county, the sui of one and one half
               cents upon.each one hundred dollars valuation of taxable
               property therein, for the purpose of preserving and iinprov-
               ing the parks and avenues under control and management
               of said Commissioners. Said money shall be paid into the
               treasury, and paid out for said purpose; all claims to be first
               allowed by said Commissioners and audited by the Auditor.
               Tle jurisdiction of the Park Commissioners shall not extend
               to unim)roved parks, nor squares, and places not hitherto
               treated as parks, unless extended thereto by an ordinance
               of the Municipal Council. The Commissioners may lease
               for terms not to exceed three years, any portion of said
               grounds not immediately required for improvement, the pro-
               ceeds to go to the improvement of the l)arks and avenues.
     Uoport  o
     P'ark Oom-     Siec. 203.   The Park Commissioners shall make semi-
             annual reports to the Mayor and Municipal Council of all
      ,is.ioner.
             their proceedings, and a detailed statement of all the receipts
             and expenditures.
     I),,y o   SEc. 204. The Mayor shall see that all contracts and agree-
            ments with the
     o,,iorfoi.rI                  city arcfaithfully kept and performed, and
     II           to this end le shall cause legal proceedings to be instituted
                  ant oroscted against all persons or corporations failing to
                  fulfill theiragreements. And it is the duty of any and every
                  city, or city and county, officer, when it shall come to his
                  knowledge that any contract with such city, or city and
                  county, relating to the business of any office whatever, has
                  been or is about to be violated by the other contracting party,
                  forthwith to report the fact to the Mayor. A failure to do
                  so shall be a sufficient cause for the removal of any officer of
                  any department. The Mayor shall give a certificate, on
                  demand, to any officer giving such information, that lie has
                  done so, which certificate shall be evidence in exoneration
                  from a charge of neglect of such duty. The City or City and
                  County, Attorney shall prosecute all suits so ordered by the
                  Mayor.
                                            ARTICLE V.
                                         JUDICIAL* IETA RTUF ST.
     Nni,,r midSEC. 213. There shall be inand for such city, or city and
     oj,,to, county, one Justices' Court, composed of six Justices of the
             Peace, which shall have the powers and jurisdiction pro-
             scribed and conferred by law upon Justices of the Peace and
             Justices' Courts in such city, or city and county. All actions
             suits, and proceedings whereof Justices of the Peace and
             Justices' Courts in such city, or city and county, have juris-
             diction, shall be commenced, entitled, and prosecuted in said
             Court. Such Court shall be always open, non-judicial days
             excepted, and causes therein may be tried before the pre-
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 73 of 88

                             TWENTY-FIFTII SESSION.                               IU

        siding Justice, before any one of the Justices before whom
        the original process may be made returnable, or to whom
        the cause may be assigned or transferred for trial.
                                                                      "
          SEC. 214. Tihe Board of Aldernen shall appoint one of 1'r*'IH1g
        the Justices of the Peace to be presiding Justice, who, as
        such, shall hold office until his successor shall in the same
        manner be appointed; and any one of the other Justices may
        attend, preside, and act as presiding Justice during the tem-
        porary absence or disability of the Justice so appointed. The       .Titc',
        Board of Aldermen, within ten days after its organization as Clurk.
        such Board, shall appoint a Justices' Clerk, who shall hold
        office during the l)leasure of the appointing power. The
        Clerk shall take the constitutional oath of office, and give
        bond, with at least two sufficient sureties, to be approved in
        the same manner as the official bond of other oflicers of such
        city, or city and county, in the sum of not less than fifteen
        thousand dollars, payable to the city, or city and county,
        conditioned for the faitlful discharge of the duties of his
        office, and well and truly to account for and p)ay into the
        treasury of such city, or city and county, as required by law,
        all moneys by him collected or received, and by law desig-
        nated for that use. A new or additional bond may be New ,ond.
        required by the Municipal Council whenever it deems it
        necessary; and ol failure to furnish such new or additional
        bond within live days after it shall 1e required, the office
        shall become vacant. The Justices' Clerk shall have authority ,,,thority of
        to administer o,,.ns, and take and certify aflidavits in anyClerk,
        action, suit, or l)roceeding in all Courts in such city, or city
        and county, and to appoint two Deputy Clerks, for whose acts
        he slall be responsible on his official bond; the said Deputy
        Clerks to hold office during the pleasure of said Clerk. Said
        Deputy Clerks shall have the same power as the said Clerk,
        except that of appointment.
           SEmc. 215. The Municipal Council of such city, or city and 'In'-for
        county, shall provide, in some convenient locality in the 0;lioho1o.
        city, or city and county, a suitable office, or suite of offices
        for said presiding Justice. Justices' Clerk, Deputy Clerk, and
        Deputy Sheriff, and offices suitable for holding sessions of
        said Court, and separate from one another, for each of said
        Justices of the Peace, together with attendants, furniture, fuel,
        lights, and stationery, sufficient for the transaction of busi-
        ness; and if they are not )rovided, the Court may direct the
        Sheriff to provide the same, and the expenses incurred, certi-
        fied by the Justices to be correct, shall be a charge against
        the city, or city and county, treasury,nd d paid out of the
        General Fund thereof. The said Justices, Justics' Clerk,
        and Deputy
        offices        Clerk,
                 for the      shall of
                          dispatch  be olficial businessat daily,
                                       in attendance              from te
                                                           their respective
         hour of nine o'clock h. r. until five o'clock P. i.
            SEC. 216. All legal process of every kind in actions, suits, 2Lil   pro-
                                                                          ev(,show
         or proceedings in said Justices' Court., for the issue or ser- m ,uo.
         vice of which any fee is or may be allowed by law, slall be
         issued by the said Justices' Clerk, upon the order of the pre-
         siding Justice, or upon the order of one of the Justices of
         the Peace, acting as presiding Justice, as in this chapter
                    221
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 74 of 88


     170                                STATUTES OF CALIFORNIA,

     Fees.            provided; and the fees for issuance and service of P.ll such
                      process, and all other fees which are allowed by law for any
                      official services of Justices, Justices' Clerk, or Sheriff, shall
                      be exacted and paid in advance into the hands of said Clerk
                      and be by him daily, weekly, or monthly, as the Municipal
                      Council may require, and before his salary shall be allowed,
                      accounted for in detail, under oath, and paid into the treas-
                      ury of such city, or city and count., as part of the Special
                      Fee Fund thereof; provided, that such payment in advance
                      shall not be exacted from parties who may prove, to the satis-
                      faction of the presiding Justice, that they have good cause of
                      action, and that they are not of sufficient pecuniary ability
                      to pay the legal fees; and no judgment shall be rendered in
                      any action before said Justices' Court, or any of said Jus-
                      tices, until the fees allowed therefor, and all fees for previous
                      services therein which are destined to be paid into the treas-
                      ury, shall have been paid, except in cases of poor persons, as
                      hereinbefore providd.
     Sheriffand         SEC. 217.   The Sheriff of such city and county shall be ex
     dlepilties for
     Justicu '        officio an officer of said Court, and it shall be his duty to serve
     Courts.          or execute, or cause to be served and executed, each and every
                      process, writ, or order that may be issued by said Justices'
                      Court; provided,that a summons issued from said Court may
                      be served and returned as provided in section eight hun-
                      dred and forty-nine of the Code of Civil Procedure; and that
                      subpoenas may be issued by the Justices' Clerk, and served
                      as provided in sections nineteen hundred and eighty-seven
                      and nineteen hundred and eighty-eight of the Co de of Civil
                      Procedure. The said Sheriff may appoint, in addition to the
                      other deputies allowed by law three deputies, whose duty it
                      shall be to assist said Sheriff in serving and executing the
                      process, writs and orders of the said Justices' Court. Said
                      deputies shall receive a salary ,f not to exceed one hundred
                      and twenty-five dollars per month each, payable monthly
                      out of the city and county treasury, and out of the Special
                      Fee Fund, after being first allowed and audited as other
                      demands are by law required to be audited and allowed.
                      One of said deputies shall remain in attendance during the
                      sessions of said Court, and at such other times as the said
                      Court or the presiding Justice thereof may order and direct,
                      for the purpose of attending to such duties as may be
                      imposed on said Sheriff or said deputies, as herein provided
                      or required by law. The said Sheriff shall be liable on his
                      official bond for the faithful performance of all duties
                      required of him or any of his said deputies.
     Style of            SEC. 218. All actions suits, and proceedings in such city,
                      or city and county, whereof Justices of the Peace or Jus-
                      tices' Courts have jurisdictionj except those cases of con-
                      current jurisdiction that may be commenced in some other
                      Court, shall be entitled: "In the Justices' Court of the City
                      of -     (or the City and County of - )," (inserting the name
                      of the city, or city and county), and commenced and prose-
                      cuted in said Justices' Court, which shall be always open.
                      The original process shall be returnable, and the parties sum-
                      moned required to appear before the presiding Justice, or
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 75 of 88


                               TWENTY-FIFTI[ SESSION.

          before one of the other Justices of the Peace, to be designated
          by the presiding Justice, at his office; but all complaints,
          answers, and other pleadings and papiers required to be filed,
          shall be filed and a record of all such actions, suits, and pro-
          ceedings made and kept in the Clerk's office aforesaid; and
           the presiding Justice, and each of the other Justices, shall JuMicton,.
          have power, jurisdiction, and authority to hear, try, and
          determine any action, suit, or proceeding so commnenced, and
          which shall have been made returnable before him, or may
          be assigned or transferred to him, or any motion, application
          or issue therein (subject to the constitutional righit of triai
          by jury), and to make any necessary and proper orders
          therein.
             Sm~c. 219. In case of sickness, or disability, or absence of a In c,.. of
          Justice of the Peace (on the return of a summons, or at the ,oslc,, ca
          time appointed for trial), to wlioin a cause lIas been assigned,to 1,0 tr,.d
          the presiding Justice shall reassign the cause to some other another
          Justice, who shall proceed with the trial and disposition of Jutice.
          said cause in the same manner as if originally assigned to
          him; and if, at any time before the trial of a cause or matter
          returnable or pending before any of said Justices, either
          party shall object to having the cause or matter tried before
          said Justice on the ground that such Justice is a material
          witness for either party, or ol the ground of the interest,
          prejudice, or bias of such Justice, and such objection be made
          to appear in the manner prescribed by section eight hundred
          and thirty-three of the Code of Civil Procedure, the said
          Justice shall suspend proceedings, and the presiding Justice
          on motion and production before him of the affidavit and
          proofs, shall order the transfer of the cause or matter for
          trial before some other Justice, to be designated by him. The
          presiding Justice may, in like manner, assign or transfer
          any contested motion, application, or issue in law, arising
          in any cause returnable or pending before him oi' any other
          Justice, to some other Justice, and the said Justice to whom
          ally cause, matter, motion, application, or issue shall be so as
          aforesaid assigned or transferred, shall have power, jurisdic-
          tion, and authority to hear, try, and determine the same
          accordingly.
             SEC. 220. Cases which, by the provisions of law, are        nfto be, certil-es
          required to be certified to the Superior Court, by reason of ,ledto S,oe.
           involving the question of title or possession of real property, rorCourt by
           or the legality of any tax, impost, assessment, toll, or muni- .htce,,d
           cipal fine, shall be so certified by the presiding Justice and 'lrk.
           Justices' Clerk; and for that purpose, if such question shall
           arise on the trial while the case is pending before one of the
           othr Justices, such Justice shall certify the same to the pre-
           siding Justice. All abstracts and traniscripts of judgments
           and proceedings in said Court, or in any of the dockets or
           registers of or deposited in said Court, shall be given and
           certified from any of such dockets or registers, and signed by
           the presiding Justice and Clerk, and shall have the same
           force and effect as abstracts and transcripts of Justices of
           the Peace in other cases. Appeals from judgments rendered Appeals.
           in said Court shall be taken and perfected in the manner
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 76 of 88

    1I7                               STATUTES OF CALIFORNIA,

                  prescribed by law, and the notice of a ppeal and all papers
                  required to be filed to perfect it, shall be filed with the Jus-
    Stotott               Clerk.
                  tices''Cok.Sae   Statements on appeal shall L, settled by the
    andrti      mrotie9
            Justice who tried the cause. Sureties on appeal, or on any
            bond or undertaking given in any cause or proceeding in
            said Court, when required to justify, may justify before any
            one of the Justices.
    J,,,l-,dtSo.
              &c. 221. The jurisdiction of the Justices' Court of such
            city, or city and county, extends to the limits of the city,
            or city and county, and its process may be served in any
            part thereof.
    Po,,.of   Sc. 222. The presiding Justice, whenever in his judg-
    Assoclhto
    J1,ices.      ment the prompt dispatch of business slall demand it, may
                  require the aid of one of the Justices of the Peace in the
                  discharge either of his own. duties or those of the Justices'
                  Clerk (the collection of fees, accounting for, and paying the
                  same into the treasury excepted), and each of the Justices,
                  when so required, shall, for the purpose, have the same
                  power and authority as the presiding Justice or Clerk in
                  whose aid he shall act; and any one of the Justices, when
                  required as aforesaid, may act as a Justices' Clerk pro tein-
                  pore during the temporary absence or disability of such
     Juti         Clerk, with the same powers, duties, and responsibilities.
    Docket."         SEc. 223. In a suitable book, strongly bound, the Jus-
                  tices'Clerk slall keep a permanent recordof all actions, pro-
                  ceedings, and judgments commenced, had, or rendered in
                  said Justices' Court, which book shall be a public record, and
                  be known as the "Justices' Docket," in which docket the
                  Clerk shall make the same entries as are provided for in
                  section nine hundred and eleven of the Code of Civil Proced-
                  ure, and which said docket and entries therein shall have
                  the same force and effect as is provided by law in reference
                  to dockets of Justices of the Peace. To enable the Clerk to
                  make up such docket, each of the Justices slall keep min-
                  utes of his proceedings in every cause returnable before, or
                  assigned, or transferred to him for trial or hearing; and upon
                  judlgmnent, or other disposition of a cause, such Justice slall
                  immediately certify and return the said minutes, together
                  with all pleadings and papers in said cause, to the Clerk's
                  office, who shall immediately thereupon file the same, and
                  make the proper entries under the title of the action in the
                  docket aforesaid.
    Procodro.        SEC. 224. The Justices' Court and the Justices of the Peace
                  of every such city and county slall be governed in their
                  proceedings by the provisions of law regulating proceedings
                  before Justices of the Peace, so far as such provisions are not
                  altered or modified in this chapter, and the same are or can
                  be made applicable in the several cases arising before tlem.
                  The Justices' Court of such city, or city and county, shall
                  have power to make rules, not inconsistent with the Constitu-
                  tion and laws for the government of such Justices' Court and
                  the officers thereof; but such rules shall not be in force
                  until thirty days after their publication; and no rule shall
                  be made imposing any tax or charge on any legal proceed-
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 77 of 88
                              TWENTY-FIFTII SESSION.

         ing, or giving any allowance to any Justice or officer for ser-
         vices.
           SEC. 225. All actions and proceedings pending and unde- 4 Crt a
         termined before the Justices Court of sucli city, or city and coti,,atio,
         county, if any, at the time of its organization under this 011'
         Act, shall be proceeded in, heard, and determined before the
         Court herein provided for, and execution shall be issued
         thereon, and other proceedings had therein, whether before
         or after judgment, whether on appeal or otherwise; and the
         Court provi(dTed for under this Act shall be deemed to be a
         continuation of the same Court before existing, and not a
         new Court.
           Sic. 226. It shall not be lawful for any Justice of the ,ro°dt~ion
         Peace, the Justices' Cleric, or the Shcriff, or any of his depu- iyjst1CeS.
         ties, of suci) city, or city and county, to appear or advocate,
         or in any manner act as attorney, counsel, or agent for any
         party or person in any cause, or in relation to any demand(l
         account, or claim pending, or to be sued or prosecuted
         before said Justices, or any of them, or which may be within
         their jurisdiction. A violation of the provisions of this sec-
         tion shall be deemed a misdemeanor in office.
            SEc. 227. No person, other than an attorney at law, duly Q,, tionsfiel.
                                                                              of
         admitted and licensed to practice in Courts of record, shall ,tt.....yo.
         be
         in permitted to appear
            any cause or        as attorney
                         proceeding           or agent
                                     b)efore said       for any
                                                  Justices,     party
                                                            or any  of
         them,
         effect, unless he produce
                 duly executed   anda suflicient
                                      acknowledgedpower before
                                                         of attorney
                                                                 one ofto that
                                                                          .said
         Justices, or before some other officer authorized by law to
         take   acknowledgment
         or a true   copy thereof, of deeds;
                                   duly        which
                                         certified  by power
                                                       one of ofthe attorney,
                                                                     Justices
         aforesaid (who, on inspection of the original, shall attest to
         its genuineness1, shall be filed among the papers in such
         cause or proceeding.
            SEC. 228. If, at the time of the organization of any such APo1 nt.
         city, or city and county, under this Act, there shall not be nii,t,,mai
         the complement of Justices of the Peace provided for in this ,,,ts....
         chapter, the Municipal Council of such city, or city and
         county, shall appoint a suitable person or persons to fill such
         complement, and the person or persons so appointed shall
         hold office from his or their appointnient, and until his or
         their successor or successors is or are elected or appointed
         and qualified.
           SE~c. 229.
         county,   shallT:he
                          be judicial
                              vested in power  of suchCourt,"
                                           a "Police      city, orto city and 1'oiicuCourt.
                                                                      be held
         therein  by the
         be a Court        Police Judges.
                       of record.             Theshall
                                     Said Court     Police Court shall not
                                                         have a seal. Tie
         Judges of said Court may hold as many sessions of said Court
         at the same time as there are Judges thereof. There shall be
         two departments of said Court, dlenominated resp)ctively,
         Department One and Department Two. The Court may sit
         in Departments, and shall bo alas             open forte trans-
         action of business. There shall be, as far as practicable,
         an  equal  distribution
         which   cases  shall be of  cases between
                                  alternately        the said
                                               set down    for Departments,
                                                                trial to each
         Department, in the order in which the warrants are issued
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 78 of 88
      174                            STATUTES    OF CALIFORNIA,

                    or proceedings brought before the Court. Said Judges shall,
                    as soon as may be after the commencement of the terms of
                    their office, classify themselves by lot for assignment to said
                    Departments, and shall be thereby assigned accordingly.
      Poor and
      Jousdiction     SEC. 230. All the power and jurisdiction of said Court
      of Pooie      shall be enjoyed and may be exercised in Bank, or in either
      Court.        Department thereof. All the powers of said Judges may be
                    exercised by eithcr of them.
      Salie.          SEc. 231. The Police Court of such city, or city and county,
                    shall have jurisdiction:
                      First-Of an action or proceeding for the violation of any
                    ordinance of such city, or city and county.
                      Second-Of proceedings respecting vagrants and disorderly
                    persons.
      Snue.           SEC. 232. The Police Court shall have jurisdiction of the
                    following public offenses committed in such city, or city and
                    county:
                      First-Petit larceny; receiving stolen property, when the
                    amount involved does not exceed fifty dollars.
                      Second-Assault and battery, not charged to have been com-
                    mitted upon a public officer in the discharge of his duties or
                    with intent to kill.
                       Third-Breaches of the peace, riots, affrays, committing
                    willful injury to property and of all misdemeanors punish-
                    able by a fine not exceeding one thousand dollars, or by
                    inprisonment not exceeding one year, or by both such fine
                    and imprisonment.
                    Fourth-Said Court or Judges shall have jurisdiction of
                 proceedings for security to keep the peace; and also, through-
                 out such city and county, the same powers and jurisdiction
                 in other criminal actions, cases, prosecutions, and proceedings
                 as are now or hereafter may be conferred by law upon Police
                 or Justices' Courts.
      Powerto       SEC. 233. The Judges of said Court shall have power to
      IatiollB.  hear cases for examination, and may commit and hold the
                 offender to bail for trial in the Superior Court, and may try,
                 condemn, or acquit, and carry their judgment into execution,
                 as the case may require, according to law, and shall have
                 power to issue warrants of arrest, subpoenas, and all other
                 process necessary to the full and proper exercise of their power
                 and jurisdiction.
      MYtomnYi t SEC. 234. Said Court or Judges shall also have power to
      Inebr. te, commit to the Home for the Care of the Inebriate, when any
                 such institute may be established, any person who may be
                 convicted before thei of habitual intemperance, for a term
                 not exceeding six months, or until sooner released by order
                 of the Police Judges, or by the Board of Managers of such
                 institution by a two-thirds vote of all the members of said
                 Board.
      Whonifty
      CO1II1I11t
             to     SEC. 235. The said Court or Judges shall have the power
      I,,,,tri,, to commit all offenders duly convicted, under eighteen years
       co1.      of ago, to the Industrial School of said city and county, in
                 all cases where such commitment shall by said Court or
                 Judge be deemed to be more suitable tham the punishment
                 otherwise provided by law, not to exceed six months. If,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 79 of 88
                             TWENTY-FIFTH    SESSION.

          upon any trial, it shall appear that the person on trial is under
          fourteen years of age, and has done an act, which if done by
          a person of full ago would warrant a conviction of the crime
          of misdemeanor charged, then anid in that case said Court
          or Judges shall have power to commit such child to the
          Industrial School. In either case said Court or Judges may
          sentence such person to be confined in the correctional
          department of said Industrial School for any term not exceed-
          ing six months. Upon application of the Mayor, or any
          member of the Supervisors, or of any three citizens, charging
          that any child under eighteen years of age lives an idle or
          dissolute life, and that his parents are dead, or, if living, do
          frohi drunkenness or other vices or causes, neglect to provide
          any suitable employment, or exercise salutary control over
          such child, the said Court or Judges shall have power to
          examine the matter, and upon being satisfied of the truth
          of such charges, may sentence such child to the Industrial
          School; provided, that no person shall be so sentenced for a
          longer period than until he arrive at the age of eighteen years.
             SEC. 236. In cases where, for any offense, the said Court is mY,,,-
          or Judges are authorized to impose a fine, or imprisonment ihtro
          in the county jail, or both, it or they may instead sentence 1,,,blc
          the offender to be employed at labor on the public works, '0k, et c.
          or in the House of Correction, or workhouse, as the Super-
          visors may prescribe, for a period of time equal to the term
          of imprisonment which might legally be imposed, and may,
          in case a fine is imposed, embrace as a part of the sentence,
          that in default of payment thereof, the offender shall be
          obliged to labor o! said works, at said House of Correction,
          or workhouse, or elsewhere, at the rate of one dollar a day,
          till the fine imposed is satisfied; provided, that no person
          under the age of twenty-one years, or who is to be sentenced
          on conviction for drunkenness or breach of the peace, shal
          be sentenced to labor upon the public works away from the
          House of Correction or workhouse.
             SEC. 237. The said Court and Judges may punish con- P,,l111,ont
          tempts in the same manner and to the same extent as Supe-Of contempt.
          rior Courts, and the laws concerning contempts applicable
          to Superior Courts shall be applicable to said Police Court
          and Judges.
             SEc. 238. The County Clerk shall keep a record of the Rtecordtobe
                                                                            kept by
          proceedings of the Police Court, issue all process ordered by ,oitty
          said Court, and shall render to the Auditor, monthly and Clerk.
          before any amount can be paid to him on account of his
          salary, an exact and detailed account, upon oath, of all fines
          imposed, and all bail forfeited, and moneys collected as Clerk
          of said Court, since his last account rendered. f-Ic shall
          prepare bonds, justify and accept bail, when the amount has
           been fixed by the Police Judges, in cases not exceeding one
          thousand dollars, and he shall fix, justify, and accept bail
          after arrest, in the absence of the 1 olice Judges, in all cases
          not amounting to a felony, in the same manner and with the
          like effect as if the same -had been fixed by the Police Judges
           or Police Court. The County Clerk shall appoint three
          deputy clerks, who shall act as deputy clerks of said Police
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 80 of 88

     176                            STATUTES    OF CALIFORNIA,

                   Court. The Clerk and the depaty clerks, in this section
                   mentioned, slall have authority to administer oaths and
                   affirmations, and take and certify affidavits in any proceeding
                   in said Police Court, in and for said city and county, and to
                   issue subponas.
     Omfico
        hour,.       SEc. 239. The Police Judges and the deputy clerks shall
                attend at the Court-rooms of said Court for the dispatch of
                business daily, from the hour of nine o'clock A.Al. until five
                o'clock ,.M., and during such other reasonable hours as may
                be necessary for the discharge of their respective duties, except
                on legal holidays.
      'aymontof
          by
     finles       SEC. 240. The County Clerk, as Clerk of the Police Court,
     C orkito shall pay to the Treasurer of said city and county, imme-
     treauy.       diately, all fines collected and bail forfeited, accompanied by
                  a verified written statement showing from whom each fine
                  was collected, when collected, in wlt case, specifying the
                  offense, and in what amount, and in what case, and by whom
                  such bail was forfeited. He shall, immediately upon the
                  forfeiting of any bail bond in the Police Court, transmit to
                  the District Attorney a copy of such bail bond, duly certified
                  by him under the seal of that Court to be a true copy, stating
                  in such certificate the fact of such forfeiture, and the date
                  thereof.
     J,ties   of
      the Peace
                    SEC.
                    Si,    241, Any Justice of the Peace of the said city and
      may presido county who may be designated, in writing, by the Mayor for
     Couio         the purpose, shall have power to preside in and hold the
                   Police Court of said city and county, or any department
                   thereof, in the event of the temporary absence of the Police
                   Judges, or either of them, or of their inability to act from any
                   cause; and during such temporary absence or disability, the
                   Justice so designated shall act as Police Judge, and shall have
                   and exercise all the pOivers, jurisdiction, and authority which
     Dutytoftare       or may be by law conferred upon said Court or Judges.
     Dtyaf           SEC. 242. It shall be the duty of the Assistant District
     District      Attorneys acting in the Police Court, or either and cach of
     Attorney.     them, whenever they shall have been credibly informed that
                   any person criminally injured by another is likely to die, to
                   take the dying statement of such person, and to immediately
                   reduce the same to writing. It is also hereby made the duty
                 of attending physicians, and others knowing of such cases,
                 to report the same immediately to such Assistant District
                 Attorneys.
     Attorneoy     SEC. 243. No person shall be permitted to act as attorney
     Court.or counsel before the Police Court or the Police Judges, unless
                 he shall be an attorney and counselor admitted to practice in
                 the Supreme Court of this State.
     Ciliffs for   SEC. 244. The Chief of Police shall designate two or more
                 policemen, who shall attend constantly upon the Police Court,
                 act as bailiffs therein, and execute the orders and process of
                 said Court and the Judges thereof.
     Aboition of   SEC. 245. The Police Judge's Court and the Police Judge's
     Courts and
     tranfer of Court Number Two of said city and county, and the offices of
     records,.     the Judges thereof, shall be abolished at twelve o'clock noon,
                   of the first Monday after the first day of January, in the year
                   eighteen hundred and eighty-five, and at that time all records,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 81 of 88
                              TWENTY-FIFT1I       SESSION.


         registers,
         and        dockets lodged,
              proceedings    books, deposited,
                                    papers, actions, warrants,
                                               or pending      judgments
                                                           before the said
         last mentioned Courts, or the Judges thereof, shall be by force
         hereof transferred to said Police Court, which Police Court
         and the Police Judges herein provided for shall have the
         same power and jurisdiction over them as if they had been
         in the first instance lodged, deposited, or commenced in said
         Police Court, or before the Judges last aforesaid; but nothing
         herein contained shall affect any jutdgment ren(dered or pro-
         ceeding had before that time in said Police Judge's Court or
         said Police Judge's Court Number Two, or before the Judges
         thereof, or either of them.
           SEc. 246. There shall be appointed by the Judges of the I,,orreterg.
         Superior Court of such city and county five comlpetent iersons
         deputies to act as interpreters an( translators of the following
         languages: Frelcl , German, Italian, Spanish, Portuguese,
         Chinese, and Selavonian. The said deputies slall each
         receive a salary of one thousand two hundred dollars per
         annum, which shall be paid in the same manner as the
         salaries of other officers are paid. It shall be the duty of
         each of said deputies to attend in all the Courts in and for
         such city and county, when required by any of the Judges
         thereof, without further compensation than the salaries above
         provided.
                                     ARTICLE V.
                                 EDUCATIONAL DEPARTM ENT.


             Siic. 247. There shall be a Board of Education for such onds of
          city, or city and county, which shall be composed of twelve Educ tion.
          School Dircctor , elected as provided in this chapter, who
          shall hold office for two years, and until their successors are
          elected and qualified. They shall have the same qualifica-
          tions as to eligibility requisite for mnmbers of the Board of
          Aldermen. Said Board shall organize immediately after the
          election and qualification of its members, by electing a Pres-
          ident from among the Directors elected, and annually there-
          after, and shall hold meetings monthly, and at such times as
          the Board shall determine. A majority of all the members
          elected shall constitute a quorum to transact business, but
          a smaller number may adjourn from time to time. The Board
          may determine the rules of its proceedings. Its sessions shall
          be public, and its record shall be open to public inspection.
             SEc. 248. There shall be elected by the qualified voters of si',.d,'
          such city and county, at the general State election, a Super- shoo8.
          intendent of Schools who shall take office on the first Mon-
          day after the first day of January next following his election,
          and hold office for the term of four years, and until his suc-
          cessor is elected and qualified. Hc shall perform such duties
          as are prescribed by law.
            Sc. 249.    Ihe Board of Education shall have power:               owers of
                                                                              Soard.
            First-To establish school districts, and to fix an(d alter the 1:1.,,1141
          boundaries thereof.                                                 ,,m.ricts.
            Second-To maintain public schools as organized at the Ma"tn"
                                                     and county,"H'°°l"
          time of the organization of such city, or city
                    230
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 82 of 88

     178                           STATUTES     OF CALIFORNIA,

             under this Act, and to consolidate and discontinue the same
             as the public good may require.
    Fst,,lish Third-To establish high, normal, and experimental schools
     ,gh,,c"hools, for the education of teachers.
     E'mlloy Rod     Fourth-To employ and pay and to dismiss teachers, jan-
            itors, School Census Marshals, and such mechanics and labor-
          etc.
     teachor,
                crs, and such other persons as may be necessary to carry
                into effect the powers and duties of the Board, and, unless
                otherwise provided by law, to lix, alter, and allow paid their
                salaries and compensations, and to withhold, for good and
                suflicient cause, the whole or any part of the salary or wages
                of any person or persons emlnoyed as aforesaid.
      iko a114,     ,iil-Also to make and es,,alishi and enforce all necessary
     establisht
     rule, etc. and proper rules and regulations for the government and
                elliciency of the schools, teachers, and pupils and for the
                carrying into effect of the school system; and to establish
                and'regulate, and grade the schools, the course of studies
                and mode of instruction therein; to investigate all charges
                of misconduct on the part of teachers and other employ6s of
                the Board; to administer oaths and take testimony; to sun-
                mon and enforce the attendance of and examine witnesses
                for such l)Url)ose before the Board, or a member or committee
                thereof. Any person summoned and refusing to attend and
                testify, shall be deemed guilty of a misdemeanor; and any
                person testifying falsely shall be guilty of perjury, and on
                conviction lunished accordingly.
     Po.vidofc,
     stationiory,    Sixth-To provide for the School Department of such city,
     etc,      or city and county, fuel, lights, blanks, blank books, books,
               printing, and statlionery, and such other articles, materials,
               or supplies as may be necessary and( a)lpropriatc for use in
               the schools, or in the oflice of the Superintendent.
     Po,0o
     s~chool      ,S'cicth-To build, alter, repair, rent, and provide school
     houo,.    houses, and furnish them with proper school furniture, ap-
               paratus, and appliances, and to insure any and all school
               property, and to use and control such buildings as may be
               necessary for the uses of the Board and its  committees.
     To
     soollots.    Eiyhtlh-To receive, purchase, lease, and hold in fee, in
               trust for such city, or city and county, any and all real estate
               and personal property that may have been or which hereaf-
               ter may be acquired for the use and benefit of the schools of
               such city, or city and county.
      Gndo school   Nith-To grade,     fence, and improve school lots, and in
     lots.        front thereof.
     To sit(, and1
     ho sued.     1l'n h-To sue for any and all lots lands, and l)roperty
               belonging to or claimed by the School Department of such
               city, or city and county, and to prosecute and defend all
               actions at law, or in equity, necessary to recover the full
               enjoyment and possession of said lots, lands, and property,
               and to require the services of the City or City and County
     T         Attorney in all such suits and proceedings.
     Teol,," '      leenth-To establish regulations for the just and equal
     t,,,,,,ut disbursement of all moneys belonging to the School Depart-
     1,o,,'. ment, or to the Public School Fund and to make rules and
               regulations to secure economy and accountability in the
               expenditure of school money.
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 83 of 88
                           TWENTY-FIFTH1 SESSION.

           7Tveflh-To discharge all legal incumbrances existing upon Tosellcr.,
        any school property; to dispose of and sell such personal irlol1,y.
        property used ill the schools as shall no longer be required,
        and all moneys realized by such sales shall be paid into the
        city treasury to the credit of the Public School Fund.
           Thirteenth-To lease, for the benelit of the Public School "'H'O'
        Fund, for a term not exceeding five years, any unoccu)ied
        property of the School )epartment not required for school
        purposes; to prohibit any child under six years of age from
        attending the schools; and generally to do aid )erform such
        other acts as may be necessary aml proper to carry into force
        and effect the powers conferred oi said Board.
           SiEc. 250. The President of the Board of Education, the
        Superintendent, and the Secretary, shall have power to"
        administer oatths or aftirmatious concerning any demands
        upon the treasury, payable out of the Public' School Fund
        or other matters reatiug to their oflicial duties, or the Schooi
        Department.
           Sc. 251. It shall be the duty of each Director to make Iep,,.t .
        quarterly reports to the Board of the condition of the schools
        in their respective districts.
           SEC. 252. It shall be the duty of the Board of Education ,
        to furnish all necessary supplies for the public schools. All ,u'.
        supplies, books, stationery, fuel, printing, goods, material
        building, repairs, me.rchandise, and every other article and
        thing supplied to or done for the public schools, or any of
        them, when the expenditure to be incurred is likely to exceed
        two hundred dollars slall be done by contract, let to the
        lowest responsible bidder, after advertisem(.it by the Super-
        intendent of Schools; and the contract shall be entered into
        by the Superintendent with the party to whom the contract
        is awarded; and the Superintendent shall take care that
        such contract is carried out in strict accordance with tIme
        terms thereof.
           Sc. 253. All bids or lroposals made under the )receding ,
        section shall be delivered to the Superintendent of Schools, l,,,,.,,
        and said Board shall, in open session, open, examine, and1       Udi

        publicly declare the same, and award the contract to the
         owest responsible bidder; provided, said Board may reject
        any and all bids, should they deein it for tIe public good,
        and also the bid of any party who may be proved delinquent
        or unfaithful in any former contract with such city and
        county, or said Board, and cause a rel)ublieation of the notice
        for proposals, as above specitied. Any )erson may bid for
        any one article.
           Sm.c. 254. Any School Dir-ector, olicer, or other personi s,,i li,
        officially connected with the School Dep)artment, or drawing          n,
        a salary from the Board of Education, who shall, while in
        office, or so connected, or drawing salary, be interested,
        either directly or indirectly, in, or who shall gain any benefit
        or advantage from any contract, laymelits under which are
        to be made in whole or in part of the moneys derived from
        the School Fund, or raised by taxation or otherwise for the
        support of the public schools, shall be deemed guilty of
        felony, and, on conviction, punished accordingly; and this
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 84 of 88

      180                         STATUTES    OF CALIFORNIA,

                provision shall not be construed to relieve such persons
                from any other penalty, but slall be deemed cumulative to
                and with other penalties and disabilities as to such acts and
                offenses.
      Annual       SEC. 255. Tl1e Board shall make and transmit between
      rport.    tile fifteenth day of January and the first day of February
                of each year, to the State Superintendent of Public Instruc-
                tion, and to tle Mayor and Municipal Council of such city,
                or city and county, a report, in writing, stating the wholo
                number of public schools within the jurisdiction, the length
                of time they have been kept open, the number of pupils
                taught in each school, the whole amount of money drawn
                from the treasury by the department during the year, dis-
                tinguishing the amounts drawn from the General Fund of
                the State fromtall other, and friom what sources, and the
                manner and purpose in which such money has been
                expended, with particulars, and such other infornation as
                may be required from them by the State Superintendent,
                the Municipal Council, or tie Mayor.
      Eveni""      SEc. 256. The Board shall provide evening schools, to be
      M('ho,,   hel in the public school houses, for the benefit of those un-
             able to attend the day schools. They shall make and enforce
             regulations requiring the teachers to keep records of the
             names, ages, and residences, of all pupils, and the names
             and residences of their parents, and the aggregate attend-
             ance of each pupil during the year, and to verify and report
             the same on the thirty-first day of )ccember to the Board;
             and such other rules and regulations for the purpose of
             ascertaining the attendance and efficiency of the department
             and progress of education.
         it
      s,,,'t   SEc. 257. The Superintendent of Schools shall be ex officio
      tho Itra. member of the Board of Education, without the right to vote.
      Clerk.     SEc. 258. Said Superintendent shll appoint a 1crk, sub-
                   ject to tie approval of the Board of Education, who shall act
                   as Secretary of said Board. his salary shall be two hundred
                   dollars a month. Said Clerk may be removed at the pleasure
                   of the Superintendent, and shall )erform such duties as
                   shall be required of him by the Board or the Superintendent.
      ll,,,.t,,f
      Suiiperl ii-    Sinc. 259. The Superintendent shall report to the Board
      tedert,      annually, on or before the first day of August, and at such
                   other time as the Board may require, all matters pertaining
                   to the expenditures, income, con(lition, and progress of the
                   public schools of such city, or city and county, during the
                   preceding fiscal year, with such recommendations as he may
                   deem proper. lie shall observe, and cause to be observed,
                   such general rules for the regulation, government, and
                   instruction of the schools, not inconsistent vith the laws of
                   the State, as may be established by the Board. I-e shall
                   attend the sessions of the Board, and inform himself, at each
                   session, of the condition of the schools, school houses, school
                   funds, and other matters connected therewith, and to recomi-
                    mend such measures as lie may deen necessary for the
                    advancement of education in such city or city and county.
                    He shall acquaint himself with all tile laws, rules, and
                    regulations governing tile public schoolg in such city, or city
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 85 of 88

                            TWENTY-FIFTII SESSION.

        and county, and the judicial decisions thereon, and give
        advice on subjects connected with the public schools gratu-
        itously to officers, teachers, pupils, and their parents and
        guardians.
           Sic. 260. The Superintcndcnt of Schools shall visit con-  and Shall,.k
                                                                         Nl k.
        examine the schools, and see that they are efliciently
        ducted, and that the laws and regulations of the Board are
        enforced in all things, anl that no religious or sectarian books
        or teachings arc allowed in the schools, and to report
        monthly to the Board. He shall also report to the State
        Superintendent at such times as such officer shall require.
           SEc. 261. Any vacancy in the office of School Djirector V,,,.. p .
        shall be filled for the remainder of the term by a person to
         be appointed by the Board of Aldermen.
           Sic. 262. In ease of a vacancy in the office of Superin-     of
         tendent, the Board of Aldermen may appol)int a person to fill
         the vacancy until the next regular election, when the oflice '
         shall be filled by tihe people.
           SEc. 263. The School Fund of such city, or city and q.,u,
         county, shall consist of all moneys received from the State
         School Fund; of all moneys arising froim taxes which shall
         be levied annually by the Municipal Council of such city, or
         city and county, for school purposes; of all moneys arising
         from sale, rent, or exchange of any school lprolerty, and of
         such other moneys as may, from any source whatcver, be
         paid into said School Fund. Said fund shall be kept in the
         city, or city and county, treasury, sel)arate and distinct from
         all other moneys, and shall only be used for school purposes
         under the provisions of this chapter. No fees or conimis-
         sions shall be allowed or paid for assessing, collecting, keep-
         ing, or disbursing any school moneys; and if, at the end
         of any fiscal year, any surllus remains in the School Fund
         such surplus money shall be carried forward to the School
         Fund of the next fiscal year, an( shall not be, for any
         purpose whatever, diverted or drawn from said fund, except
         under the provisions of this clapter.
           SEc. 264, The said School Fund shall be used and alplied sc1oo1I,,,,d,
                                                                      to hw,,use.
         by said Board of Education for the following 1purposes,
         wit:
           First--Forthe payment of the salaries or wages of teachers,
         janitors, School Census Marshals, and other persons who
         may be empoloyed by said Board.
           Sccod-For the erection, alteration, repair, rent, and fur-
         nishing of school houses.
           Third-For the expenses of high, normal, and experi-
         mental schools.
           Fomo'h-For the purchase money or rent of any real or
         personal property lurchased or hired by the Board.
           Fifth-For the insurance of all school property.
           Seveidh-F-or the discharge of all legal incumnbrances now
         or hereafter existing on any school property.
           Eighth-For lighting school rooms, and the office and
         rooms of the Superintendent and the Board of Education.
           Ninth-For supplying the schools with fuel, water, appa-
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 86 of 88


     16Z                          STATUTES OF CALIFORNIA,
                ratus, blanks, blank books, and necessary school appliances,
                together with books for indigent children.
                               supplyig
                                    •Thth-For
                                          books, printing, and. stationery, for
                thle use of thle Stnpcrintendcnt and B~oard of Education, and
                for the inicidenital expenses of the Board and dlepartmenlt.
                C lo enth-In grading, fencing and improving school lots.
     alo.h      SEC. 265. All claims payabie out of the School Fund
             (excepting coupons for interest on school bonds), shall be
             filed with the Secretary of the Board, and after they shall
             have been approved by a majority of all the members elect
             of the Board, upon a call of "yeas" and "nays" (which shall
             be recorded), they shall be signed by the 'resident of the
             Board and the Superintendent of the Public Schools, and be
             sent to tie Cityand County Auditor. Every dmand shall
             have indorsed upon it a certificate of its ap!,proval by the
             Board, showing the (late thereof, and the law authorizing it,
             by title, date, anl section. All demands for teachers' salaries
         .. shall be payable monthly.
     nei,,%,l
      ,,, ,,,, SEC. 2 .        ena ds on the School Fund may be audited
             and apl)roved in the usual manner, although there shall not,
             at the time, be money in the treasury for the payment of the
             same; provided, that no demand on said fund slall be paid
             out of or become a charge against the School Fund of any
             subsequent fiscal year; anod frthcr providd, that tie entire
             expenditures of the said school (epartment, for all purposes,
             shall not, in any fiscal year, exceed the revenues thereof for
     A     tie samle year.
     d,,,nt,,          The City, or City and County, Auditor shall state,
                b Si-c. 267.
     f,,i. by indorsement upon any cltim or demand audited on the
                  School Fun(, the ])articutlar money or fund ovt of which the
                  same is payable, and that it is payable from no other source.
    A,,dit"i I,     Si;c. 268. Audited bills for the current fiscal year for wages
    fortaxes. or salaries of the teachers in the public schools shall be
    All demanfls receivable for school taxes due upon real estate.
     HL, IM,,, SiE. 2(9. All lawful demands authorized by this chapter
         Iilltho for school purposes, shall be audited and ap)roved in the
     ,,Ia,,!i,,d
    pal
    .......,,l,.. usual manner, and the Auditor and Treasurer of such city,
    ... .         or city and county, are respectively authorized to audit and
                  pay the same, when so ordered paid and approved by the said
                  Board; provided, that the said Board slall not have the power
                  to contract any debt or liability, in any form whatsoever,
                  against such city, or city and county, in contravention of this
                  chapter; and provided'nrtler, that the allowance or approval
                  by the Board of demands not authorized by this chapter shall
                  be no warrant or authority to the Auditor or Treasurer to
                  audit or piay the same.
        ,"°ucatior  Si,.c. 270. It shall be the duty of the Board of Education
    to ,,,iako    of such city, or city and county, on or before tile second
    estiate.      Monday of September of each year, to report to the Municipal
                  Council an estimate of tle amount of money which will be
                  required during the year for the purpose of meeting the
                  current annual expenses of public instruction iil such city,
                  or city and county, Specifying the amount required for sup-
                  plies furnished pupils, for purchasing and procuring sites,
                  for leasing rooms or erecting buildings, and for furnishing,
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 87 of 88

                           TWENTY-FIFTII SESSION.

        fitting up, altering, enlarging, and repairing buildings; for
        the support of schools organized since the last annual appor-
        tioninent; for salary of teachers, janitors, clcrks, and other
        cmploy6s, and other expenditures authorized by law; but the
        aggregate amount so reported shall not exceed the sum of
        thirty-five dollars for each pupil who shall have actually
        attended and been taught ill    the preceding year in the schools
        entitled to participate in the apl)ortionments. Tle number
        of pupils who shall be considered as having attenldedI the
        schools during any one year, shall be ascertained by adding
        together the number of d1ays' attendance of all the pupils in
        the common schools during the year, and dividing the same
        by the number of school (lays in the year. Said Municipal
        Council is authorized and eml)owered to levy and cause to
        be collected, at the time and in the manner of levying State
        and(other city, or city and county, taxes, the aniount of tax,
        not to exceed thirty-five dollars per puliii, determined and
        reported by the Board of Education. TI o amount. so levied
        and collected shall not include the amount received annually
        fror poll taxes.
           SEC. 271. No school shall receive any portion of the of school ""...di,
                                                                      any      e
        moneys in which the religious doctrines or tenets
        particular Christian or other religious sect are taught, incul- .
        cated, or practiced, or in which any book or books, containing
        compositions favorable or prejudicial to the particular (oc-
        trines or tenets of any particular Christian or other religious
        sect, is used; nor shall any such books or teachings be per-
        mitted in the common schools.
           SEc. 272. No member• of tile Board of Education shall ever of loard
        become the disbursing agent of such Board, or handlc or pay Ft,,     (us-
        out alny of its money ullder or upon any pretense whatever.           s"'"
                                                                               c'"
        Any violation of this provision shall be a misdemeanor, andice--v gift.
        shall subject the offender, besides the pLnishm nt, to removal
        from office. Any member or officer of the Board of Educa-
        tion  who shall, while in oflicc, accept any donttion or gratuity
        in money,    or of any valuable thing, either directly or indi-
        rectly, from any teacher, or candidate, or applicant for a
        position as teacher, upon anyl)retense whatever, shall be
        dcelned guilty of a misdemeanor in office, and shall he ousted
        by the Board, or by any Court of competent jurisdiction, from
        his seat, on proof tlhercof. Any ember oroflicer of the Board Penalty.
        of Education who shall accept any mnhey, or valuable thing,
        or the promise thereof, with an agreement or understanding,
        express or iml)lied, that any person shall, in consideration
        thereof, get the vote or influence of such member or officer
        for a situation as a teacher or emplov of any kind in the
        school department, shall be deeiied guilty of a felony, and
        on conviction, shall be punished accordingly.
                                  ARTICLE VIL.
                             MISCEIIANEOUS   'tROVISIONS.


          SEc. 286. All the existing provisions of law defining the
        duties of county officers, excepting those relating to Super-
        visors and Boards of Supervisors, so far as the salne are not
Case 6:23-cv-06524-FPG Document 19-40 Filed 10/13/23 Page 88 of 88

     184                                   STATUTES OF CALIFORNIA,
     do ,,.otich    inconsistent with, repealed, or altered by the provisions of
     Metith this chapter shall be considered as applicablc to officers of any
     c,,ti.,,Id   Inconsolidated cities and counties, acting or elected under this
       ~o,          chapter. Provisions shall be made from the revenues of any
                    city, or city and county, heretofore existing and reorganized
     Payme,,t of under this Act, for the payment of the legal indebtedness of
        st,.d" the municipal incorporation to which such reorganized city,
                    or city and county, shall succeed, or of which it is a reorgan-
                    ization, as well as for that of such city, or city and county,
                    after its organization, and all funding Acts and other laws
                    providing for the )ayments of principal and interest on any
                    funded debt of such forner corporation shall remain in force.
                    The taxes which may l)e levied and collected in such city, or
                    city and county, shall be uniform throughout the same.
     Wiere plo.        SEC. 287. The provisions of this chapter concerning the
      ,:!,8,,iLptpr following named olicers, to wit: Sheriff, County Clerk,
     ,I apply.. Recorder, Coroner, and Public Administrator, shall apply
                    only to Consolidated cities and counties. The provisions of
                    this chapter relating to the District Attorney shall, except in
                    consolidated cities and counties, be dee'end to apply to the
                    City Attorney; and no Sheriff, County Clerk, Recorder, Dis-
                    trict Attorney, Coroner, or Public Administrator shall be
                    elected in any municil)al corporation under the provisions
                    of this chapter. except in consolidated cities and counties.
     Mityop         SEC. 288. The Municipal Council of any such consoli-
          ndated city and county shall perform such duties in and
       ,,coci,
     taxsof about the levy and equalization of State and county taxes
            and all other matters and things as are or may be prescribed
            by law for Boards of Supervisors of counties in like cases,
            and not inconsistent with the provisions of this chapter.

                                                   CHAPTER III.
                        MUNICIPAL CORPORATIONS OF THE SECOND CLASS.
                             for cities having a popluatlon of more tia, .30,000 and not exceeding 100,00).)
                     A charter


                                                         ARTICLE I.
                                                      GtENERAL   POWEIRS.


     iow,.,or     Sipc. 300. Every municipal corporation of the second
      ,t ,,m"lli"'
                class shall be entitled the City of -    (naming it), and by
     ofthos.cod such name shall have perpetual succession, may sue be
     cla.       sued, in all Courts and places, and in all proceedings what-
                   ever shall have and use a common seal, alterable at the
                   pleasure of the city authorities, and may purchase, lease,
                   receive, hold, and enjoy real and personal property, and con-
                   trol and dispose of the same for the common benefit; pro-
                   vided, that it shall purchase without the city no property
                   except such as shall be deemed necessary for establishing
                   hospitals, prisons, cemeteries, and industrial schools.
